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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA




       IN RE:

       FTX CRYPTOCURRENCY EXCHANGE                 23-md-03076-KMM
       COLLAPSE LITIGATION




       THIS DOCUMENT RELATES TO:

       Promoters and Digital Creators




                      [CORRECTED] ADMINISTRATIVE CLASS ACTION
                        COMPLAINT AND DEMAND FOR JURY TRIAL:
                           Promoters and Digital Creator Defendants




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            In accordance with this Court’s Order (Dkt. 61 at 1), Plaintiffs hereby file this

    Administrative Class Action Complaint and Demand for Jury Trial pursuant to Rule 42 of the

    Federal Rules of Civil Procedure as the controlling document for pre-trial purposes with regards

    to the FTX Promoter and Influencer Defendants, as named herein, and as transferred to this Court

    from the following actions:

            -   Lam v. Bankman-Fried (N.D. Cal.)

            -   Garrison v. Bankman-Fried et al (S.D. Fl.)

            -   Garrison et al v. Paffrath et al (S.D. Fl.)

            -   Norris et al v. Brady et al. (S. D. Fl.)

            -   Podalsky et al v. Bankman-Fried et al (S.D. Fl.)

            -   Garrison v. Jung (8:23-cv-01969) (D. Md.)

            -   Garrison v. Singh (2:23-cv-11764) (E.D. Mich.)

            -   Garrison v. Stephan et al (2:23-cv-01138) (D. Nev.)

            -   Garrison v. Golden State Warriors (3:23-cv-03628) (N.D. Cal.)

            -   Garrison v. Osaka et al (2:23-cv-05951) (C. D. Cal.)

            -   Garrison v. Creators Agency LLC (2:23-cv-00139) (D.Wyo)

    Plaintiffs are not otherwise joining or merging these actions, which retain their individual nature

    for all other purposes, including venue, transferor forum, personal jurisdiction, and subject matter

    jurisdiction.

            Plaintiffs use the following defined terms throughout:

            -   “Alameda” refers to Alameda Research, LLC and its subsidiaries.

            -   “Auditor Defendants” refers to Prager Metis CPAs, LLC and Armanino LLP.




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          -   “Bank Defendants” refers to Defendants Deltec Bank & Trust Company Ltd.

              (“Deltec”), Farmington State Bank d/b/a Moonstone Bank (“Moonstone”), and Jean

              Chalopin.

          -   “Domestic VC Defendants” collectively refers to Sequoia Capital Operations, LLC

              (“Sequoia”), Thoma Bravo, LP (“Thoma Bravo”), Paradigm Operations LP

              (“Paradigm”), SkyBridge Capital II, LLC (“SkyBridge”), Multicoin Capital

              Management LLC (“Multicoin Capital”), Tiger Global Management, LLC (“Tiger”),

              Ribbit Management Company, LLC (“Ribbit Capital”), Altimeter Capital

              Management, LP (“Altimeter”), and K5 Global Advisor, LLC (“K5 Global”).

          -   “FTT” refers to the native cryptocurrency exchange token of the FTX Platform

              ecosystem.

          -   “FTX” refers collectively to FTX Trading LTD and its subsidiaries d/b/a FTX (“FTX

              Trading”) and West Realm Shires Inc. and its subsidiaries (“WRS”). WRS includes,

              without limitation, its subsidiary West Realm Shires Services Inc. d/b/a FTX US (“FTX

              US”).

          -   “FTX Group” refers collectively to FTX and Alameda.

          -   “FTX Insider Defendants” refers to Samuel Bankman-Fried, Caroline Ellison, Gary

              Wang, and Nishad Singh.

          -   “FTX Platform” refers to FTX’s mobile application and/or web-based cryptocurrency

              investment service that places cryptocurrency trade orders on behalf of users.

          -   “Law Firm Defendant” refers to Defendant Fenwick & West LLP.

          -   “MDL Defendants” collectively refers to all Defendants named in the seven

              Administrative Class Action Complaints.




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           -   “Multinational VC Defendants” refers to Defendants Sino Global Capital Limited

               (“Sino Global”), Softbank Group Corp. (“Softbank Group”), and Temasek Holdings

               (Private) Limited (“Temasek Holdings”) together with its wholly owned subsidiary,

               Temasek International (USA) LLC (“Temasek USA” and, together with Temasek

               Holdings, “Temasek”).

           -   “Promoter and Digital Creator Defendants” or “Brand Ambassador Defendants” refers

               to Thomas Brady, Gisele Bündchen, Kevin O’Leary, Udonis Haslem, David Ortiz,

               Stephen Curry, Golden State Warriors, LLC, Shaquille O’Neal, William Treavor

               Lawrence, Shohei Ohtani, Noami Osaka, Solomid Corporation d/b/a Team Solomid,

               TSM and/or TSM FTX, Graham Stephan, Andrei Jikh, Jaspreet Singh, Brian Jung,

               Jeremy Lefebvre, Tom Nash, Erika Kullberg and Creators Agency, LLC.

           -   “YBAs” refers to the Yield-Bearing Accounts offered by FTX on the FTX Platform.

           Plaintiffs, on behalf of themselves and all others similarly situated, sue the MDL

    Defendants for their respective actions, as outlined herein, 1 which contributed to the collapse of

    the FTX Group, including but not limited to 1) aiding and abetting and/or actively participating in

    the FTX Group’s massive, multibillion dollar global fraud, and 2) promoting, offering, or selling

    unregistered securities such as FTX’s yield-bearing accounts (“YBA”) and FTX’s native

    cryptocurrency token (“FTT”), which caused Plaintiffs substantial harm. Plaintiffs, on behalf of

    themselves and all others similarly situated, allege the following based upon personal knowledge




    1
      At the request of the Court at the June 21, 2023 Status Conference, Plaintiffs have separated their
    complaint into seven versions, each of which contains a similar set of general allegations and the
    specific allegations as to a single group of MDL Defendants. Because certain claims, such as civil
    conspiracy, are pled across multiple groups of MDL Defendants, Plaintiffs hereby incorporate by
    reference the other versions of the complaint.


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    as to Plaintiffs and Plaintiffs’ own acts, and upon an investigation conducted by and through

    counsel.

                                            INTRODUCTION

           1.      The FTX disaster is the largest financial fraud in US history. Defendant Sam

    Bankman-Fried (“SBF”), FTX Group’s founder and former CEO, is on house arrest awaiting his

    criminal trial scheduled for October of this year. FTX Group’s new CEO—who helped wind down

    Enron—concluded the fraud here was worse than Enron. Billions of dollars have been stolen from

    investors across the globe.

           2.      SBF and his FTX Group caused billions of dollars in losses to Plaintiffs, through at

    least two separate schemes, both of which contributed to the downfall of the FTX Group.

           3.      On one hand, SBF and the FTX Group stole customer deposits and used billions of

    dollars in customer funds to support the operations and investments of FTX and Alameda, to fund

    speculative venture investments, to make charitable and political contributions, and to personally

    enrich SBF himself, all while publicly touting the safety of the investment and the segregation of

    customer funds. The FTX Platform maintained by the FTX Group was truly a house of cards, a

    Ponzi scheme where the FTX Group shuffled customer funds between their opaque affiliated

    entities, using new investor funds obtained through investments in the FTX Platform, the YBAs,

    FTT, and/or loans to pay interest and investment withdrawals to the old ones and to attempt to

    maintain the appearance of liquidity.

           4.      On the other hand, the FTX Group offered and sold securities without proper

    registration, thereby depriving Plaintiffs of financial and risk-related disclosures that would have

    impacted their calculus as to whether to invest in the FTX Group. Rather than heed the myriad

    warnings from the SEC dating as far back as 2017, the FTX Group chose instead to skirt US

    regulation through deception.


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             5.     This conduct violates numerous laws, including laws related to the sale of

    unregistered securities, consumer protection, professional malpractice, fraud, and conversion.

             6.     As outlined herein, MDL Defendants directly perpetrated, conspired to perpetrate,

    and/or aided and abetted the FTX Group’s multi-billion-dollar frauds for their own financial and

    professional gain.

             7.     Because of these schemes, the FTX Group imploded, and over $30 billion in value

    evaporated almost overnight when the FTX Group filed its emergency Chapter 11 bankruptcy

    petition in Delaware.

             8.     The first filed action transferred into this MDL was filed in Florida against the

    Brand Ambassador Defendants and resulted from the FTX Group’s multi-billion-dollar frauds. 2 It

    was revealed how these famous celebrities and influencers were paid hundreds of millions of

    dollars through bribes to promote FTX under the now admittedly false narrative that investors and

    consumers could “trust” FTX because the Brand Ambassador Defendants “knew FTX” and “were

    all in” and therefore investors should invest their money too. These defendants never denied these

    allegations out right in the multiple motions to dismiss that they filed; instead, their primary

    defense was that they were not subject to personal jurisdiction in Florida.

             9.     The Garrison plaintiffs sought to create this MDL, arguing that the MDL

    Defendants’ jurisdictional arguments would fall by the wayside when all the actions were

    consolidated.    Subsequently, the Garrison plaintiffs amended their complaint to add the

    Declaration of Dan Friedberg, making it clear that Miami was the epicenter of the FTX fraud.

    With those developments, the MDL Defendants’ must now face the merits.




    2
        Garrison v. Bankman-Fried, S.D. Fla. Case No. 1:22-cv-23753-KMM.


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           10.     Since the initial complaints in this MDL were filed, it has become even more clear

    that Florida law applies to all Class Members on the securities-related claims. Judge Rakoff’s

    recent Terraform opinion, discussed further below, demonstrates that the FTX Platform, YBAs,

    and FTT are all securities. This leaves the MDL Defendants with no defense regarding whether

    the violations occurred; they can only argue that they, personally, did not aid and abet any

    violations.

           11.     The MDL Defendants will surely point to one another in an attempt to minimize

    their involvement and absolve their liability in this lawsuit. But to be sure, every single MDL

    Defendant is responsible for the damages that Class Members have sustained. As further detailed

    herein, every MDL Defendant was a necessary player in pushing the FTX fraud to the

    unprecedented extent it reached, and all made exorbitant amounts of money in the process of doing

    so. For instance, the Law Firm Defendants suggested and implemented the plans. Just the same,

    the Bank Defendants helped move the money, the advertising agencies help create the false

    narratives, the Brand Ambassador Defendants gave them instant credibility and the Domestic and

    Multinational VC Defendants, unfortunately, stamped it with their approval.

           12.     FTX will be involved in federal bankruptcy proceedings for many years and there

    is no guarantee that any of the victims will be able to see any recovery from those proceedings.

    This class action, pending in the Southern District of Florida as a Multi-District Litigation, may be

    the only avenue for any of the victims to recover any of their damages.

           13.     What’s more, FTX would not have been successful in perpetrating this fraudulent

    scheme on Plaintiffs and Class Members around the globe without key events that took place in

    and emanated from right here in Miami, Florida, which not only eventually became FTX’s official

    headquarters but was their de facto domestic headquarters for years before FTX’s eventual




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    collapse. According to the Declaration of Dan Friedberg, attached as Exhibit A, FTX maintained

    an office in Miami, Florida, since early 2021, long before FTX eventually moved its Domestic

    headquarters to Brickell in late 2022. Id., ¶ 20. Since early 2021, FTX’s Miami office was run by

    Mr. Avinash Dabir, who was based in Miami and originally worked for Blockfolio as Director of

    Product and Partnership before FTX later acquired Blockfolio in late 2020. 3 Id. Dabir eventually

    became FTX’s Vice President of Business Development. Id. Friedberg met with Mr. Dabir often

    and is very familiar with Mr. Dabir and his activities. Id.

           14.     Mr. Dabir operated from FTX’s Miami office, and he was focused on formulating

    and executing FTX’s important celebrity partnerships. Id., ¶ 21. Mr. Dabir had a lot of prior

    experience working with some of the major sports industries, including the NBA. Id.

           15.     According to Friedberg, Mr. Dabir was very good at his job, and it was his idea to

    expend significant resources on FTX’s sports and celebrity-based partnerships. Id., ¶ 22. Mr. Dabir

    specifically started by suggesting FTX form a Partnership with the Miami Heat and the naming

    rights to the Miami Arena. Id. FTX announced the Partnership in March 2021, and included FTX

    purchasing the naming rights of the Miami Heat stadium for 19 years in a deal worth approximately

    $135 million. Id.

           16.     The naming of the “FTX Arena” served as an important centerpiece for FTX’s

    efforts to reach other FTX partnerships with celebrities and other well-known partners. Id., ¶ 23.

    Mr. Dabir was the senior FTX executive responsible for creating, consummating, and

    implementing deals between FTX and other Partners, such as Major League Baseball, the MLB




    3
      See https://www.coindesk.com/markets/2020/08/25/ftx-exchanges-150m-deal-for-mobile-first-
    blockfolio-is-a-retail-trading-play/ (accessed     May       10,     2023);    see    also
    https://www.crunchbase.com/organization/blockfolio/people (accessed May 10, 2023).


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    Umpire’s Association, TSM, the Mercedes Formula 1 team, Tom Brady, Stephen Curry, the

    Golden State Warriors, Naomi Osaka, Larry David, and Shohei Ohtani. Id.

           17.     Having Larry David agree to conduct a commercial for FTX during the 2022 Super

    Bowl was a very big event for FTX because, according to Friedberg, it was the first time that he

    had ever agreed to serve as a spokesperson for any product. Id., ¶ 24. Mr. Dabir deserves much of

    the credit for creating that idea and concept and collaborating with Mr. David and his team,

    resulting in the award-winning Super Bowl FTX commercial that aired with the Super Bowl in

    2022. Id.

           18.     Released on March 31, 2022, Mr. Dabir appeared on the popular cryptocurrency

    podcast The Joe Pomp Show, where he was interviewed by Mr. Pompliano for over half an hour

    on specifically the efforts he undertook and oversaw from his FTX base of operations in Miami,

    Florida, to create, consummate, and implement, among other things, the FTX arena deal and the

    Larry David Superbowl commercial. A transcript of the podcast is attached as Exhibit B.

           19.     Mr. Dabir begins by introducing himself as “Vice President of Business

    Development at FTX, so I handle a lot of our sports partnerships as well as doing some of the

    interesting things in real estate as well.” Ex. B at 2. He then explains that “the end goal” is really

    how does FTX “acquire more users.” Id.

           20.     After first acknowledging and agreeing with Mr. Pompliano that FTX was at that

    point the “leaders” in the sports partnership category and that “it started with Miami Heat Arena,”

    Mr. Dabir explained that he led the effort to obtain the FTX Arena deal because he “had previously

    worked at the NBA” and that he identified Miami because it had “a great market,” a “multicultural,

    great team,” and the “Crypto Buzz was like growing here in Miami.” Id., at 2–3. Dabir explained

    that a contributing factor to the deal was “the fact that this was during COVID where, you know,




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    a decent amount of live event businesses were-were short on revenue,” which “opened up the door

    where we could have that conversation” with Miami-Dade County and the Miami Heat. Id., at 4.

            21.     Mr. Dabir also explained that it was crucial “to get approval from a local

    government, plus the Heat and the NBA who had their own diligence teams looking into” the FTX

    Arena deal because it “really sort of validated not only just FTX but the cryptocurrency industry

    in general.” Id., at 4.

            22.     In order to close the FTX Arena deal, according to Mr. Dabir, FTX confidentially

    disclosed to Miami-Dade County and the Miami Heat FTX’s balance sheet—which was comprised

    almost entirely of customer funds—and he explained to Mr. Pompliano that “there are ways to

    structure these deals in a way where, you know, you can front load some of the funds, right, to-to

    provide some more comfort.” Id.

            23.     Mr. Dabir explained that there were multiple ways that FTX measured the success

    of their Brand Ambassador program, with the “obvious one [being] straight up conversion,” as in

    “[h]ow many people in Florida download the app or around the Miami area, download the app,

    register, deposit, trade, you know, it’s that standard sort of funnel that’s very easy to track.” Id., at

    6. But the other method, according to Mr. Dabir, is the “intangible element” of “trust” and

    “legitimacy” that comes from “building trust and value through brand association,” like “I’ve

    already heard of FTX because of FTX Arena, or I saw your Super Bowl spot with-with Larry

    David.” Id.

            24.     Mr. Dabir also explains how he oversaw and participated in the creation of Larry

    David’s now infamous 2022 Super Bowl ad, and recounting, “when we saw the script, we were

    like, this script is awesome. And then-then we’re like, ‘We have to get Larry David, right?’ And




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    then, you know, the teams went to work to try, and I don’t know if that commercial works, if it’s

    not Larry David, right?” Id., 7.

             25.     Crucially, all FTX employees or agents who were involved in the Larry David

    Super Bowl commercial ultimately reported to Avi Dabir, who had final approval of all aspects of

    the commercial from his base of operations in Miami.

             26.     Mr. Dabir also went into detail about his dealings with Tom Brady and Giselle

    Bündchen and how the individual FTX Brand Ambassador partnership deals worked. Id., 9.

    Importantly, not only was Mr. Dabir directly involved in negotiating and consummating the

    individual FTX Brand Ambassador partnership deals from his base in Miami, he also explains that

    Defendants Brady and Bündchen were instrumental in bringing other FTX Brand Ambassadors

    into the fold, such as Defendant Curry. Id.

             27.     The question of whether the promotion of the FTX Platform, the sale of every YBA

    and/or FTT is (or is not) the sale of “unregistered securities” has practically been answered in the

    affirmative through various regulatory statements, guidance, and actions issued by the Securities

    and Exchange Commission and other regulatory entities. For example, on November 1, 2017, in

    the “SEC Statement Urging Caution Around Celebrity Backed ICOs,” 4

                     In the SEC’s Report of Investigation concerning The DAO, 5 the
             Commission warned that virtual tokens or coins sold in ICOs may be securities,
             and those who offer and sell securities in the United States must comply with the
             federal securities laws. Any celebrity or other individual who promotes a virtual
             token or coin that is a security must disclose the nature, scope, and amount of
             compensation received in exchange for the promotion. A failure to disclose this
             information is a violation of the anti-touting provisions of the federal securities
             laws. Persons making these endorsements may also be liable for potential
             violations of the anti-fraud provisions of the federal securities laws, for

    4
          https://www.sec.gov/news/public-statement/statement-potentially-unlawful-promotion-icos
    (accessed May 11, 2023).
    5
        https://www.sec.gov/litigation/investreport/34-81207.pdf (accessed May 11, 2023).


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             participating in an unregistered offer and sale of securities, and for acting as
             unregistered brokers. The SEC will continue to focus on these types of promotions
             to protect investors and to ensure compliance with the securities laws.

             28.    The SEC and state securities regulators over the past 5 years, have already found

    liable numerous celebrities, cryptocurrency brokers and exchanges just like FTX for offering this

    exact same type of interest-bearing account and native token, finding that exchanges such as

    BlockFi, 6 Voyager, 7 and Celsius 8 all offered these same products as unregistered securities.

             29.    A second narrow issue that is common to the entire Proposed Class, whose focus is

    also solely objective, is whether these Defendants violated state consumer laws by failing to abide

    by any of the FTC’s long-established rules and regulations, specifically on what is required for a

    celebrity endorsement of cryptocurrency.

             30.    We all need to be clear. This is not a case where Plaintiffs made a “risky”

    investment in stock or cryptocurrency, or that they lost money speculating on various

    cryptocurrency projects. Plaintiffs’ claims arise simply from the purchase of and investment in the

    FTX Platform, FTT, and/or a YBA, a savings type of account with FTX that every customer who

    signed up for the FTX app received by default, and which, as explained below, was guaranteed to

    generate returns on their significant holdings in the accounts, regardless of whether those assets

    were held as USD, legal tender or cryptocurrency, and regardless of whether any trades were made

    with the assets held on the FTX Platform or in the YBA. In other words, the FTX Platform and


    6
        https://www.sec.gov/news/press-release/2022-26 (accessed May 11, 2023).
    7
          https://coingeek.com/6-us-regulators-crackdown-on-voyager-digital-over-interest-bearing-
    accounts/ (accessed May 11, 2023).
    8

    https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&cad=rja&uact=8&ved
    =2ahUKEwjvjNvg27j7AhWfRTABHfwzDe4QFnoECAsQAQ&url=https%3A%2F%2Fwww.nj.
    gov%2Foag%2Fnewsreleases21%2FCelsius-Order-
    9.17.21.pdf&usg=AOvVaw0Zd94fuhFSsOoGKM-vQ3YI (accessed May 11, 2023).


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    YBAs were portrayed to be like a bank account, something that was “very safe” and “protected.”

    That is the narrative that Defendants pushed in promoting the FTX Platform and the offer and sale

    of YBAs and/or FTT, all of which are unregistered securities. For that, Defendants are liable for

    Plaintiffs’ losses, jointly and severally and to the same extent as if they were themselves the FTX

    Group.

             31.    Literally overnight, Plaintiffs’ assets, including FTT, 9 held on the FTX Platform

    and/or in their YBAs were robbed from them as FTX imploded and former-CEO, Sam Bankman-

    Fried, filed a Chapter 11 bankruptcy petition in Delaware on an emergency basis. This happened

    because, as explained by the new CEO of the failed FTX Group:

                     I have over 40 years of legal and restructuring experience. I have been the
             Chief Restructuring Officer or Chief Executive Officer in several of the largest
             corporate failures in history. I have supervised situations involving allegations of
             criminal activity and malfeasance (Enron). I have supervised situations involving
             novel financial structures (Enron and Residential Capital) and cross-border asset
             recovery and maximization (Nortel and Overseas Shipholding). Nearly every
             situation in which I have been involved has been characterized by defects of some


    9
      Although the FTX Group purported to maintain a separation between the US and International
    platform—in large part because it knew its products offered on the international exchange were
    securities required to be registered with securities regulators—the separation was merely a farce
    and was easily circumvented (which was something that the FTX Group encouraged) through the
    use of, for instance, a VPN. See https://blockduo.com/ftx-usa/ (“FTX, like other crypto exchanges,
    uses something called geo-blocking to stop users from restricted countries from using the
    exchange. They do this by seeing where your IP address is, and if it is from one of the banned
    countries, they will block you from the site. With the now wide availability of VPNs, this can be
    bypassed”) (accessed May 11, 2023). The use of VPNs to circumvent geo-blocking for
    cryptocurrency exchanges is a well-known and widely used method encouraged by the exchanges
    to rake in as many new U.S.-based customers as possible to keep new funds loading onto their
    platform. See CFTC v. Changpeng Zhao, et al., No. 1:23-cv-01887, ECF No. 1 (N.D. Ill. Mar. 27,
    2023) (CFTC enforcement action brought because “Binance and its officers, employees, and
    agents have instructed U.S. customers to use virtual private networks (‘VPNs’) to obscure their
    location; allowed customers that had not submitted proof of their identity and location to continue
    to trade on the platform long after announcing such conduct was prohibited; and directed VIP
    customers with ultimate beneficial owners, key employees who control trading decisions, trading
    algorithms, and other assets all located in the United States to open Binance accounts under the
    name of newly incorporated shell companies to evade Binance’s compliance controls.”).


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           sort in internal controls, regulatory compliance, human resources and systems
           integrity.

                   Never in my career have I seen such a complete failure of corporate controls
           and such a complete absence of trustworthy financial information as occurred
           here. From compromised systems integrity and faulty regulatory oversight abroad,
           to the concentration of control in the hands of a very small group of inexperienced,
           unsophisticated and potentially compromised individuals, this situation is
           unprecedented.

    See In re: FTX Trading Ltd, et al., No. 22-11068 (JTD), ECF No. 24, ¶¶ 4–5 (D. Del. Nov. 17,

    2022) (emphasis added).

           32.     The Cryptocurrency National Disaster is growing by the billions almost every day.

    More crypto companies are filing new federal bankruptcy petitions each day, all running for

    protection from the billions of dollars of losses they directly caused to thousands of investors here

    in Florida and across the globe. This is by far the largest securities national disaster, greatly

    surpassing the Madoff Ponzi Scheme, and could very likely become a complex international

    litigation disaster, similar to how the hundreds of thousands of asbestos cases swamped all courts

    across the globe. Unless a workable, coordinated, and organized structure is established now, at

    the very onset of these proceedings, here in Miami, which served as the epicenter for the crypto

    fraud, the FTX victims will continue to suffer and the only people to benefit will be the

    professionals in the bankruptcy and civil courts.

           33.     The Deceptive and failed FTX Platform all emanated from here in Miami, Florida,

    FTX’s domestic headquarters and the host of the largest and most famous International World

    Cryptocurrency Conventions. FTX’s fraudulent scheme was designed to take advantage of

    unsophisticated investors from across the globe, who utilize mobile apps to make their

    investments. As a result, consumers around the globe collectively sustained billions of dollars in

    damages. FTX organized and emanated its fraudulent plan from its worldwide headquarters




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    located here in Miami, Florida. Miami became the “hot spot” for crypto companies, hosting the

    most investments in crypto startups as well as the annual Bitcoin Miami 2022 Global Forum.

    Several crypto companies, including crypto exchange Blockchain.com, Ripple and FTX.US,

    moved their headquarters to Miami. Others, including fellow exchange eToro, expanded their U.S.

    presence with offices in Miami. FTX was already very familiar with Miami, signing a deal worth

    more than $135 million dollars for the naming rights of the waterfront arena, where 3-time NBA

    Champions the Miami Heat play.

           34.     Plaintiffs also bring this action against YouTube and social media financial

    influencers and promoters who shared financial advice and actively promoted FTX and its yield-

    bearing-accounts (“YBAs”) to their millions of followers. Though FTX paid Defendants

    handsomely to push its brand and encourage their followers to invest, Defendants did not disclose

    the nature and scope of their sponsorships and/or endorsement deals, payments and compensation,

    nor conduct adequate (if any) due diligence.

           35.     With the rise to prominence of the internet and social media, a new multi-billion-

    dollar cottage industry of “Influencers” has been created. Evidence has now been uncovered that

    reveals Influencers played a major role in the FTX disaster and in fact, FTX could not have arisen

    to such great heights without the massive impact of these Influencers, who hyped the FTX Platform

    for undisclosed payments ranging from tens of thousands of dollars to multimillion-dollar bribes.10

    Indeed, the most searched companies on the internet today are cryptocurrency brands. According

    to the NBA 2021–2022 Marketing & Partnerships Annual Report by Sponsor United, the




    10
      For example, the company Coinbound touts that: We help crypto brands go viral using Web3’s
    top influencers. An influencer marketing agency built for crypto. https://coinbound.io/influencers/
    (accessed March 15, 2023).


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    cryptocurrency industry had a higher search volume during that year than the entire Alcohol &

    Beverages industry.

           36.     It is paramount to understand that the Florida state law claims asserted in this action

    do not require “reliance” or “deceit.” The law merely requires the named Plaintiffs (and

    eventually the certified class) to have suffered damages as a result of: (a) purchasing an

    “unregistered security,” and (b) that was promoted by the Defendants for their financial benefit

    and/or the financial benefit of FTX.

           37.     The reality is that anyone around the world with a computer can now be a promoter.

    Many of these paid FTX Influencers have since asked for forgiveness, because many of these

    Influencers rely mainly on their alleged independence and impartiality in attracting people to join

    their fanbase. 11 This Action is brought to hold liable those Influencers who specifically violated

    the law under these acts and will serve as precedent to warn and guide Influencers in the future.

           38.     State and federal regulators have been required to quickly modify and adjust to all

    of the changing sources of promoters and marketers. Starting with sponsors on radio, then

    television and motion pictures and today, to the wild west of the internet, the number of companies

    that specialize in promoting on social media have sky-rocketed. According to studies, those aged

    18 to 34 are more likely to build an interest in an investment specifically from social media, instead

    of traditional news websites. 12




    11
           https://www.businessinsider.com/influencers-sponsored-by-ftx-say-sorry-to-fans-2022-11
    (accessed March 15, 2023).
    12
           https://www.theguardian.com/money/2021/aug/22/as-finfluencers-spread-through-social-
    media-beware-the-pitfalls (accessed March 15, 2023).


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                                                PARTIES

           39.     Plaintiff Brandon Orr is a citizen and resident of the State of Arizona. He is a

    natural person over the age of 21 and is otherwise sui juris. Plaintiff Orr purchased or held legal

    title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through an

    FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Orr has sustained damages for which the MDL Defendants are liable.

           40.     Plaintiff Leandro Cabo is a citizen and resident of the State of California. He is a

    natural person over the age of 21 and is otherwise sui juris. Plaintiff Cabo purchased or held legal

    title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through an

    FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Cabo has sustained damages for which the MDL Defendants are liable.

           41.     Plaintiff Ryan Henderson is a citizen and resident of the State of California. He

    is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Henderson purchased or

    held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

    through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific

    allegations set forth herein, Plaintiff Henderson has sustained damages for which the MDL

    Defendants are liable.

           42.     Plaintiff Michael Livieratos is a citizen and resident of the State of Connecticut.

    He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Livieratos purchased

    or held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

    through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific

    allegations set forth herein, Plaintiff Livieratos has sustained damages for which the MDL

    Defendants are liable.




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           43.     Plaintiff Alexander Chernyavsky is a citizen and resident of the State of Florida.

    He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Chernyavsky purchased

    or held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

    through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific

    allegations set forth herein, Plaintiff Chernyavsky has sustained damages for which the MDL

    Defendants are liable.

           44.     Plaintiff Gregg Podalsky is a citizen and resident of the State of Florida. He is a

    natural person over the age of 21 and is otherwise sui juris. Plaintiff Podalsky purchased or held

    legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through

    an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Podalsky has sustained damages for which the MDL Defendants are liable.

           45.     Plaintiff Vijeth Shetty is a citizen and resident of the State of Florida. He is a

    natural person over the age of 21 and is otherwise sui juris. Plaintiff Shetty purchased or held legal

    title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through an

    FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Shetty has sustained damages for which the MDL Defendants are liable.

           46.     Plaintiff Chukwudozie Ezeokoli is a citizen and resident of the State of Illinois.

    He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Ezeokoli purchased

    or held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

    through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific

    allegations set forth herein, Plaintiff Ezeokoli has sustained damages for which the MDL

    Defendants are liable.




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           47.     Plaintiff Michael Norris is a citizen and resident of the State of New Jersey. He is

    a natural person over the age of 21 and is otherwise sui juris. Plaintiff Norris purchased or held

    legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through

    an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Norris has sustained damages for which the MDL Defendants are liable.

           48.     Plaintiff Edwin Garrison is a citizen and resident of the State of Oklahoma. He is

    a natural person over the age of 21 and is otherwise sui juris. Plaintiff Garrison purchased or held

    legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through

    an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Garrison has sustained damages for which the MDL Defendants are liable.

           49.     Plaintiff Shengyun Huang is a citizen and resident of the State of Virginia. He is

    a natural person over the age of 21 and is otherwise sui juris. Plaintiff Huang purchased or held

    legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through

    an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Huang has sustained damages for which the MDL Defendants are liable.

           50.     Plaintiff Julie Papadakis is a citizen and resident of the State of Virginia. She is a

    natural person over the age of 21 and is otherwise sui juris. Plaintiff Papadakis purchased or held

    legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through

    an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific allegations set

    forth herein, Plaintiff Papadakis has sustained damages for which the MDL Defendants are liable.

           51.     Plaintiff Vitor Vozza is a citizen and resident of the Federal Republic of Brazil.

    He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Vozza purchased or

    held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested




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    through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific

    allegations set forth herein, Plaintiff Vozza has sustained damages for which the MDL Defendants

    are liable.

            52.    Plaintiff Kyle Rupprecht is a citizen and resident of the Dominion of Canada. He

    is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Rupprecht purchased or

    held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

    through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the specific

    allegations set forth herein, Plaintiff Rupprecht has sustained damages for which the MDL

    Defendants are liable.

            53.    Plaintiff Warren Winter is a citizen and resident of the Federal Republic of

    Germany. He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Winter

    purchased or held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or

    invested through an FTX Platform. As a result of the MDL Defendants’ wrongdoing and the

    specific allegations set forth herein, Plaintiff Winter has sustained damages for which the MDL

    Defendants are liable.

            54.    Plaintiff Sunil Kavuri is a citizen and resident of the United Kingdom of Great

    Britain and Northern Ireland. He is a natural person over the age of 21 and is otherwise sui juris.

    Plaintiff Kavuri purchased or held legal title to and/or beneficial interest in any fiat or

    cryptocurrency deposited or invested through an FTX Platform. As a result of the MDL

    Defendants’ wrongdoing and the specific allegations set forth herein, Plaintiff Kavuri has sustained

    damages for which the MDL Defendants are liable.

            55.    The “Defendants” are all persons and/or companies that (1) agreed to serve as

    “Brand Ambassadors” or “Digital Creators” for FTX; (2) all admittedly advertised and promoted



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    the sale of the FTX Platform, YBAs and/or FTT, and; (3) failed to disclose, in any of their

    marketing campaigns and/or advertisements, that they were paid millions of dollars by FTX and

    profited from the sale of cryptocurrency, the FTX Platform, YBAs and/or FTT , in clear violation

    of SEC, FTC and various federal and state regulations. The “Digital Creators” are persons who

    provided investor information and advice on an array of topics, including cryptocurrency generally

    and FTX on their YouTube channels. YouTube is the second largest search engine, which

    generates content that is accessible across the globe.

           56.     Defendant Thomas Brady, former NFL quarterback for the Tampa Bay

    Buccaneers and New England Patriots, is a brand ambassador of FTX, and is a citizen and resident

    of Miami-Dade County, Florida.

           57.     Defendant Gisele Bündchen, one of the world’s highest-paid models and a brand

    ambassador for FTX, is a citizen and resident of Miami-Dade County, Florida.

           58.     Defendant Kevin O’Leary, “Mr. Wonderful,” a businessman, television

    personality appearing regularly on Shark Tank, and brand ambassador for FTX, is a citizen and

    resident of Miami Beach, Florida.

           59.     Defendant Udonis Haslem, a recently retired American professional basketball

    player for the Miami Heat of the NBA and brand ambassador of FTX, is a citizen and resident of

    Miami-Dade County, Florida.

           60.     Defendant David Ortiz, former designated hitter and first baseman in the MLB

    and a brand ambassador for FTX, is a citizen and resident of the State of Florida.

           61.     Defendant Stephen Curry, professional basketball player for the Golden State

    Warriors and brand ambassador for FTX, is a citizen and resident of the State of California.




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             62.   Defendant Golden State Warriors LLC is a professional basketball team in the

    NBA that officially launched their partnership with FTX in 2022 with the unveiling of the FTX

    logo on the court at the Chase Center. Golden State Warriors LLC is a corporation operating and

    existing under the laws of the State of California.

             63.   Defendant Shaquille O’Neal, former professional NBA basketball star, sports

    analyst, entrepreneur, and FTX brand ambassador, is a citizen and resident of Collin County,

    Texas.

             64.   Defendant William Trevor Lawrence, the quarterback for the Jacksonville

    Jaguars of the NFL and a brand ambassador for FTX, is a citizen and resident of the state of

    Mississippi.

             65.   Defendant Shohei Ohtani, a professional baseball pitcher, designated hitter and

    outfielder for the Los Angeles Angels of the MLB and a brand ambassador for FTX, is a citizen

    and resident of the State of California.

             66.   Defendant Naomi Osaka, a professional tennis player and brand ambassador for

    FTX, is a citizen and resident of Beverly Hills, California.

             67.   Defendant Lawrence Gene David, an American comedian, writer, actor,

    television producer, and FTX brand ambassador, is a citizen and resident of Los Angeles,

    California.

             68.   Defendant Solomid Corporation, d/b/a Team Solomid, TSM, and/or TSM

    FTX, a professional esports organization that inked a $210 million naming rights deal with FTX




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    Group on June 4, 2021, is a corporation operating and existing under the laws of the State of

    California. 13

            69.      Defendant, Graham Stephan, a YouTube star with over 4.1 million subscribers

    to his YouTube channels, was paid to endorse FTX, and is a citizen and resident of Las Vegas,

    Nevada.

            70.      Defendant, Andrei Jikh, a YouTube star with over 2.2 million subscribers to his

    YouTube pages, was paid to endorse FTX, and is a citizen and resident of Las Vegas, Nevada.

            71.      Defendant, Jaspreet Singh, a YouTube star with over 1.4 million subscribers to

    his YouTube channel, “Minority Mindset,” was paid to endorse FTX, and is a citizen and resident

    of Detroit, Michigan.

            72.      Defendant, Brian Jung, a YouTube star with over 1.3 million subscribers to his

    YouTube channel, was paid to endorse FTX, and is a citizen and resident of Washington, D.C.

            73.      Defendant, Jeremy Lefebvre, a YouTube star with over 700,000 subscribers to

    his YouTube page, Financial Education, was paid to endorse FTX, and is a citizen and resident of

    Las Vegas, Nevada.

            74.      Defendant, Tom Nash, a YouTube star with over 283,000 subscribers to his

    YouTube page, was paid to endorse FTX, and is a citizen and resident of Sydney, Australia.

            75.      Defendant, Erika Kullberg is, upon information and belief, a founder of

    Defendant, Creators Agency LLC (“Creators Agency”) and is currently identified on Creative

    Agency’s website as one of its “Finance/Business Creators” with 18 million social media

    followers.




    13
      Esports is short for electronic sports. It is a form of organized competition using video games,
    usually in the form of multiplayer video game competitions between individuals or teams.


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            76.     Defendant, Creators Agency is a talent management firm and digital ad network

    which promoted FTX. Upon information and belief, Creators Agency is organized and existing

    under the laws of the State of Delaware and has its principal place of business in Tokyo, Japan.

                                      JURISDICTION AND VENUE

            77.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

    1332(d)(2)(A) because this is a class action for a sum exceeding $1,000,000,000.00 (one billion

    dollars), exclusive of interest and costs, and in which at least one class member is a citizen of a

    state different than the Defendants.

            78.     This Court has jurisdiction over every Defendant in this multi-district litigation

    because every Defendant was transferred to this forum from a transferor court which had personal

    jurisdiction over that Defendant.

            79.     Under 28 U.S.C. § 1407, venue is proper pursuant to the valid transfer and Fed. R.

    Civ. P. 42 pre-trial consolidation of these cases in this District by the Judicial Panel on Multidistrict

    Litigation.

            80.     All conditions precedent to the institution and maintenance of this action have been

    performed, excused, waived, or have otherwise occurred.

                                        FACTUAL ALLEGATIONS

    A.      The Rise of FTX

            81.     In May 2019, SBF and his co-founders, Gary Wang and Nishad Singh, launched

    FTX, which, along with various subsidiaries, affiliates and related entities, operated the FTX

    Platform, which FTX purported to be a centralized digital asset exchange aimed at “the mass

    market and first-time users” of cryptocurrencies.




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            82.     FTX portrayed itself as a trustworthy and law-abiding member of the

    cryptocurrency industry, focused not only on profits, but also on investor and client protection. In

    public statements, including in testimony before the United States Senate, SBF stated that FTX

    had adopted “principles for ensuring investor protections on digital asset-platforms” including

    “avoiding or managing conflicts of interest,” and that “[a]s a general principle[,] FTX segregate[s]

    customer assets from its own assets across our platforms.” SBF spent millions on advertisements

    to portray FTX as the “safest and easiest way to buy and sell crypto” and “the most trusted way to

    buy and sell” digital assets. 14

            83.     All the while, however, FTX was doing none of these things. Instead of managing

    conflicts, the FTX Group actively embraced them, using FTX Trading, FTX.US, and Alameda

    funds interchangeably to prop up the enterprise. Contrary to SBF’s statements, FTX had no focus

    on investor protection and did not segregate customer funds. Rather, FTX used customer assets as

    an interest-free source of capital for Alameda’s and SBF’s private ventures.

            84.     FTX was conceived in Northern California before transitioning its headquarters to

    Chicago, Illinois, and ultimately landing its domestic operations in Miami, Florida, where FTX

    US was headquartered and where, in early 2021, FTX purchased the naming rights to the Miami

    Heat’s waterfront arena for more than $135 million, one of many sports venues on which FTX

    paid to have its name emblazoned and one of many extravagant purchases made with Class

    Members’ funds.

            85.     Beginning no later than early 2019, for FTX Trading, and no later than May 22,

    2020, for FTX US, Class Members could open “yield-bearing accounts” (“YBAs”) and/or other




    14
      See United States of America v. Samuel Bankman-Fried a/k/a “SBF”, S5 Cr. 673 (LAK), Dkt.
    115, Superseding Indictment at ¶ 2 (March 28, 2023).


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    accounts, and deposit a wide assortment of cryptocurrencies, as well fiat currency, including U.S.

    dollars, into the accounts (“Class Member funds”) through the FTX website or through FTX’s

    mobile app.

           86.     FTX lured Class Members to make such deposits with promises of guaranteed 8%

    annual percent yield on assets equivalent up to $10,000 USD and guaranteed 5% annual percent

    yield on amounts between $10,000 USD and $100,000 USD, each of which compounded hourly

    upon a Class Member’s deposit of funds. At no time did FTX register the YBAs pursuant to any

    federal or state securities law, as discussed more fully below.

           87.     By structuring the rates of returns in this way, FTX targeted nascent investors—

    i.e., those under the age of 30 and/or new to trading, both inexperienced and unsophisticated—by

    tying higher rates of return to lower deposit amounts with “no fees and no minimum balances.”

           88.     Unlike a traditional brokerage, FTX took custody of Class Members’ assets, which

    FTX promised to safeguard. In its terms of service, FTX represented to Class Members that “[a]ll

    cryptocurrency or dollars (or other supported currencies) that are held in your account are held by

    FTX.US for your benefit;” that “[t]itle to cryptocurrency represented in your FTX.US Account

    shall at all times remain with you and shall not transfer to FTX.US.;” and that “FTX.US does not

    represent or treat assets in your FTX.US Account as belonging to FTX.US.” FTX Trading’s terms

    of service similarly represented that no customer funds were “the property of, or shall be loaned

    to, FTX Trading,” and that FTX Trading “does not represent or treat Digital Assets in User’s

    Accounts as belonging to FTX Trading.”

           89.     FTX assured Class Members that their assets were safe and could be withdrawn at

    any time, claiming on its website that “FTX does back the principal generating the yield with its




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    own funds and equity.” SBF further promised, on Twitter in August 2021, “[FTX] will always

    allow withdrawals (except in cases of suspected money laundering/theft/etc.).”

            90.     FTX also promised to protect against the risk that any customer would engage in

    self-dealing on the exchange or otherwise try to manipulate the market. For example, FTX claimed

    to offer “wash trading protection,” representing that it implemented “exchange controls that

    actively prevent a party trading with themselves.” Additionally, FTX represented, in its terms of

    service, that “FTX.US does not permit self-trades in order to manipulate markets, reported

    statistics, or cause liquidations.”

            91.     FTX also purported to protect against the risk that any customer would become

    overleveraged or undercollateralized on the platform. For this, FTX touted its “risk-engine,” an

    automated monitoring system that required FTX customers to pledge additional collateral to their

    accounts as trades went bad and, if the customer failed to do so, liquidated that customer’s assets.

    FTX detailed its auto-liquidating “risk engine” and other purported risk management procedures

    in a public proposal to the U.S. Commodity Futures Trading Commission (“CFTC”), in which

    FTX sought permission to trade non-intermediated margin products (i.e., without any intermediary

    to hold customer funds):

            A participant’s margin level is recalculated every 30 seconds as positions are
            marked to market, and if the collateral on deposit falls below maintenance margin
            level, FTX’s automated system will begin to liquidate the portfolio. The automated
            system will liquidate 10 percent of a portfolio at a time by placing offsetting orders
            on the central limit order book. Once the liquidation process results in collateral on
            deposit that exceeds the margin requirement, the liquidation will stop. Because the
            liquidation is done automatically and positions are marked to market every 30
            seconds, these liquidations can occur at any time, on a “24-7” basis.
            92.     FTX claimed that this and other risk management procedures distinguished it from

    other cryptocurrency exchanges and ensured that Class Member funds were protected from losses

    by other users. For example, on May 11, 2022, SBF tweeted that “the margin mode is safe and


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    conservative: real time risk engines mean you neither have to preemptively liquidate days early,

    nor risk positions going underwater for days.” The next day, SBF testified before the U.S. House

    of Representatives Committee on Agriculture that:

           In our risk model the collateral is held directly at the clearinghouses, the collateral
           for all the positions. There is CFTC oversight of that collateral, and it is guaranteed
           to be there to not be used for anything else, to be segregated, and that is a difference
           with traditional models. It provides an extra guarantee of the assets backing these
           positions. (emphasis added).
    At that hearing, in response to Chairwoman Jahana Hayes’ concern that FTX’s risk monitoring

    system “could create an opening for fraud and abuse, particularly towards new customers that are

    entering the digital asset market for the first time,” SBF assured that in FTX’s model, “there is a

    lot of capital which is held directly with CFTC oversight [and] segregated accounts for margin

    for the customers’ positions, which also provides a capital backstop . . . .” (emphasis added).

           93.     More generally, in television commercials, in print advertising, through interviews

    and spokespeople, on Twitter, TikTok, Instagram, and Facebook, and in other publications, FTX

    repeatedly peddled itself as “the safest and easiest way to buy and sell crypto,” and SBF repeatedly

    promised that “our users’ funds and safety come first.” In highlighting FTX’s purported safety,

    SBF and other FTX executives falsely represented that FTX was insured by the Federal Deposit

    Insurance Corporation (“FDIC”)—including in a tweet by FTX US President Brett Harrison that

    “direct deposits from employers to FTX US are stored in individually FDIC-insured bank accounts

    in the users’ names,” and “stocks are held in FDIC-insured . . . accounts”—until the FDIC ordered

    that FTX cease and desist in a letter dated August 18, 2022.

           94.     SBF’s carefully curated public persona complemented FTX’s veneer of safety and

    was critical to FTX’s meteoric rise. SBF came to be “the best-known proponent of the ‘effective

    altruism’ social movement which believes in prioritizing donations to projects that will have the



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    largest impact on the most people.” In touting his commitment to the movement, SBF explained

    on YouTube and to journalists that “I wanted to get rich, not because I like money but because I

    wanted to give that money to charity,” and that “I pretty quickly run out of really effective ways

    to make yourself happier by spending money . . . I don’t want a yacht.”

           95.     But in truth, SBF did want a yacht, and he wanted Formula One teams, BMWs,

    beachfront condos, and cocaine-fueled parties. And he got those things—with Class Member

    funds. SBF’s association with altruism and charity, and his public denouncements of greed and

    excess, generated a false trustworthiness among the public and provided necessary goodwill for

    FTX, each critical to hide his lavish spending of Class Member funds.

           96.     On the basis of these reassurances, along with other representations described

    herein, FTX grew to become one of the largest cryptocurrency exchanges in the world—at its peak,

    the exchange’s trading volumes reached approximately $21 billion per day and its valuation topped

    $32 billion within three years of its founding.

    B.     FTX’s Key Players

           I.      Defendant Sam Bankman-Fried

           97.     The FTX Group was founded in 2019 and began as an exchange or marketplace for

    the trading of crypto assets. FTX was established by Samuel Bankman-Fried, Gary (Zixiao) Wang

    and Nishad Singh, with operations commencing in May 2019. FTX was purportedly established

    to build a digital asset trading platform and exchange for the purpose of a better user experience,

    customer protection, and innovative products. FTX built the FTX.com exchange to develop a

    platform robust enough for professional trading firms and intuitive enough for first-time users.




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           98.     Prior to that, the Silicon Valley-born, MIT-educated Bankman-Fried, also known

    as SBF, launched his quantitative crypto trading firm, Alameda, in November 2017, 15 after stints

    in the charity world and at trading firm Jane Street. 16 Quantitative trading consists of trading

    strategies based on quantitative analysis, which rely on mathematical computations and number

    crunching to identify trading opportunities.

           99.     On January 3, 2023, Bankman-Fried pled not guilty to eight criminal charges during

    a hearing before the U.S. District Court for the Southern District of California in USA v. SBF,

    1:22-cr-00673-LAK-1. On February 23, 2023, a superseding indictment was unsealed. It added

    four more charges, including charges for conspiracy to commit bank fraud and unlicensed money

    transmitting business, and money laundering. Id., Doc. 80. With his trial scheduled for October

    2023, Bankman-Fried faces over 100 years in prison for crimes predicated on his lying to investors

    and stealing billions of dollars of his customers’ money.

           II.     Defendant Caroline Ellison

           100.    By 2018, Defendant Bankman-Fried had persuaded Defendant Ellison to join him

    at Alameda. Defendant Ellison described the recruitment as follows: “This was very much like,

    ‘oh, yeah, we don’t really know what we’re doing,’” Ellison told Forbes magazine in an interview

    regarding her initial impressions of Alameda.

           101.    In late 2018, the headquarters of Alameda was relocated to Hong Kong. The team

    at Alameda included Defendant Bankman-Fried’s close friends (and later co-founders for FTX)




    15
      https://www.businessinsider.com/ftx-crypto-king-sam-bankman-fried-rise-and-fall-2022-11
    (accessed May 11, 2023).
    16
            https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-
    means-2022-11?inline-endstory-related-recommendations= (accessed May 11, 2023).


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    Nishad Singh and Gary Wang. Defendant Caroline Ellison was also part of the group and, upon

    moving to Hong Kong, the group lived like college students and fiercely traded crypto.

             102.   After Defendant Bankman-Fried established FTX in 2019, Defendant Ellison began

    taking more responsibility at Alameda.

             103.   In October 2021, Ellison was appointed as co-CEO of Alameda with Sam Trabucco

    after Bankman-Fried resigned from the firm in an effort to give the appearance of putting distance

    between the exchange and trading shop he founded. As co-CEO, Ellison helped oversee Alameda’s

    expansion beyond its initial market-neutral, but relatively low-profit business as a market maker

    for low-volume cryptocurrencies into riskier trading strategies, according to a Twitter thread

    detailing that shift. For instance, Alameda traders began exploring yield farming in decentralized

    finance (DeFi). Ellison became sole CEO in August 2022, following Trabucco’s sudden and

    unexpected departure from the firm, when he shifted his role from Co-CEO to adviser of the

    company. 17

             104.   Leading up to the collapse of FTX, Ellison lived with nine other FTX or Alameda

    colleagues in Bankman-Fried’s $30 million penthouse in the Bahamas. She reportedly paid SBF

    rent, and was occasionally in a romantic relationship with him. In 2021, Ellison tweeted about

    recreational stimulant use. Upon information and belief, Ellison left the Bahamas and moved back

    to Hong Kong.

             105.   “Young people tend to be too risk averse,” Ellison said in a more recent Alameda

    podcast episode. 18




    17
      https://www.coindesk.com/business/2022/08/24/co-ceo-of-crypto-trading-firm-alameda-
    research-sam-trabucco-steps-down/ (accessed May 11, 2023).
    18
         https://www.youtube.com/watch?v=zfcb9JAgWBs (accessed May 11, 2023).


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              106.   In December 2022, Ellison pled guilty to criminal charges stemming from FTX’s

    collapse, including conspiracy to commit wire fraud, conspiracy to commit commodities fraud,

    conspiracy to commit securities fraud, and conspiracy to commit money laundering.

              III.   Defendant Gary Wang

              107.   Wang is not like his co-founder Sam Bankman-Fried, who loves fame and putting

    himself at the center of public attention. In fact, there’s little public information about Wang, who

    has been described as a shady but critical player in the rise and fall of FTX.

              108.   Wang met Bankman-Fried at a math camp in high school. Later, they became

    college roommates at the Massachusetts Institute of Technology, where Wang got degrees in

    mathematics and computer science and Bankman-Fried received a bachelor’s in physics. 19

              109.   Before co-founding Alameda (and later FTX), Wang worked at Google. He claims

    to have built a system to aggregate prices across public flight data, according to an introduction on

    the Future Fund’s website. 20 When Bankman-Fried left the Jane Street Hedge Fund to start

    Alameda in 2017, Wang left the tech giant.

              110.   The startup has its beginnings in a three-bedroom Berkeley apartment – the

    downstairs served as its office. The firm shifted to Hong Kong, in part to take advantage of

    arbitrage opportunities in Asian bitcoin markets – including the price discrepancy between BTC

    in Japan and BTC everywhere else.

              111.   It’s there that Wang and Bankman-Fried funneled funds from Alameda to build its

    bespoke derivatives exchange. Bankman-Fried told Insider that he is not a good coder: “I don’t



    19
         https://blog.ftx.com/blog/raising-the-bar/ (accessed May 11, 2023)
    20
         https://ftxfuturefund.org/about/ (accessed May 11, 2023).


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    code. I’m trash. I have not written any of FTX’s code base. That’s all a lot of other really

    impressive people at FTX. That’s not me at all.” 21

           112.    At the age of 28, Wang topped Forbes’ 2022 list of the world’s billionaires under

    30 with a net worth of $5.9 billion in April. SBF sent his congratulations to Wang in public,

    tweeting that “I couldn’t be prouder” when the list came out. 22

           113.    In December 2022, Wang pled guilty to criminal charges stemming from FTX’s

    collapse, including conspiracy to commit wire fraud, conspiracy to commit commodities fraud,

    and conspiracy to commit securities fraud.

           IV.     Defendant Nishad Singh

           114.    Nishad Singh joined Alameda in the early days, when the five-person trading firm

    was based in a Berkeley, California, apartment. He went from finding and exploiting arbitrage

    opportunities in crypto markets to being appointed director of engineering at FTX.

           115.    Singh is and was a close confidant of Bankman-Fried, having shared multiple

    apartments with the FTX founder over the years, including most recently a 10-person luxury

    penthouse in Nassau, the Bahamas.




    21
        https://www.businessinsider.com/crypto-trading-billionaire-sam-bankman-fried-ftx-alameda-
    surprising-facts-2021-12#5-people-often-think-hes-a-programmer-but-hes-not-5 (accessed May
    11, 2023).
    22
      https://twitter.com/SBF_FTX/status/1511324242612297738?ref_src=twsrc%5Etfw%7Ctwcam
    p%5Etweetembed%7Ctwterm%5E1511324242612297738%7Ctwgr%5E8e0ce65ea02f827b72be
    96dde8f9484a3ba3e41c%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fwww.usatoday.com%2
    Fstory%2Fmoney%2F2022%2F04%2F05%2Fcryptocurrency-ceo-donate-
    charity%2F7272175001%2F (accessed May 11, 2023).


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             116.   He is rumored to be just one of three people who controlled the keys to the

    exchange’s matching engine, and admittedly was informed of a plan to backstop losses at Alameda

    with FTX customer funds. 23

             117.   Although Singh’s LinkedIn profile is down and his Twitter account is locked, the

    University of California, Berkeley graduate talked about why he left his dream job at Facebook to

    join Alameda in a FTX podcast. 24

             118.   “I spent maybe about a month doing weekends and nights at Alameda,” he said,

    discussing a period of time when his “day job” was as a software engineer working on applied

    machine learning at Facebook. “At some point, it became obvious that was kind of stupid … so I

    took some time off and really gave my 100% working at Alameda,” Singh said.

             119.   Singh visited Alameda in the first month of its existence, where he witnessed

    Bankman-Fried execute a sequence of trades that he described as “super profitable, easy to

    understand and there were lots available.” Feeling inspired, he took a job.

             120.   After spending one and a half years as a core Alameda engineer, Singh took a role

    as the head of engineering at the then-newly launched FTX derivative exchange in 2019, where he

    was allowed to code with “minimal supervision.” He has provided code to a number of Bankman-

    Fried-related projects, including the decentralized exchange Serum on Solana.

             121.   “Nishad was one of my brother’s best friends in high school. He’s shown the fastest

    and most sustained professional growth I’ve ever witnessed,” Bankman-Fried wrote in a company




    23
        https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
    customer-funds-11668264238?mod=latest_headlines (accessed May 11, 2023).
    24
         https://www.youtube.com/watch?v=rl0Rq2cUSIQ (accessed May 11, 2023).


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    blog. 25 Singh also assisted Wang in building most of FTX’s “technological infrastructure” and

    managed the development team.

              122.   Although pitched as a community-run and- organized exchange, people familiar

    with the matter told CoinDesk the true power over Serum rested with FTX Group, which then held

    the program’s access keys. 26 A similar relationship may be in place at FTX’s core properties. 27

              123.   On February 28, 2023, Nishad Singh, who was one of SBF’s best friends, a core

    Alameda engineer, and head of FTX’s engineering, also pled guilty to criminal counts for

    conspiracy to commit fraud and conspiracy to commit money laundering. He agreed to cooperate

    with prosecutors’ investigation into Bankman-Fried and apologized for his role in FTX’s scheme.

              124.   November 12, 2022, The Wall Street Journal reported that Bankman-Fried, Ellison,

    Wang, and Singh were aware that FTX had used customer assets to cover Alameda’s trading losses

    and repay its outstanding debts.

    C.        The Basics of a Cryptocurrency Exchange

              125.   In many ways, centralized cryptocurrency exchanges, including FTX, are

    analogous to banks albeit for the cryptocurrency industry. There is a big difference, however, in

    regards to the way a cryptocurrency exchange and a bank are and should be authorized to utilize

    customer assets.




    25
         https://blog.ftx.com/blog/raising-the-bar/ (accessed May 11, 2023).
    26
            https://www.coindesk.com/business/2022/11/12/ftx-hack-spooks-solana-defi-community-
    igniting-revolution-at-alameda-controlled-serum-dex/ (accessed May 11, 2023).
    27
        https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
    customer-funds-11668264238?mod=latest_headlines (accessed May 11, 2023).


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           126.    More specifically, cryptocurrency exchanges accept deposits of cryptocurrency,

    and often fiat currency on behalf of their customers. Once that cryptocurrency is received by the

    exchange then it has dominion and control over those assets.

           127.    The exchange then credits the applicable customer account with the appropriate

    amount of cryptocurrency or fiat assets the exchange received. This credit can be regarded as a

    liability of the exchange to its customer.

           128.    If, for example, cryptocurrency was deposited to the customer’s exchange account,

    the customer could then take that credit received from the exchange, and:

               a) Trade it for another cryptocurrency

               b) Trade it for fiat currency

               c) Leave it as a balance on the exchange account (leaving an open liability of the
                  exchange to the customer)

               d) Withdraw it (withdrawal could be done prior to or after a trade or conversion)

    These things could be done in whole or in part. Ledger entries would (and should) be made

    internally by the exchange to account for changes in positions and applicable balances.

           129.    The exchange accounts should very much be regarded as being custodial in nature.

    This means that the customer does not control access to the assets ‘in’ their account. The customer

    needs to make a request to the exchange to be able to access and send those balances. The exchange

    then debits the user account and sends the assets. Whether or not such requests are processed are

    dependent on the willingness, ability, and approval of the exchange.

           130.    One major factor the affects the exchange’s ability to process such requests is

    whether or not they have the assets and/or capital necessary to do so.

           131.    For any non-yield-bearing account, this shouldn’t be a problem, since exchanges

    should have enough assets in custody for the benefit of their customers to cover their liabilities to


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    their customers, and on a 1:1 basis. FTX’s terms of service seems to guarantee this, although FTX

    clearly violated their own terms of service:

                   “Title to your Digital Assets shall at all times remain with you and shall not
                   transfer to FTX Trading. As the owner of Digital Assets in your Account,
                   you shall bear all risk of loss of such Digital Assets. FTX Trading shall have
                   no liability for fluctuations in the fiat currency value of Digital Assets held
                   in your Account.”

                   “None of the Digital Assets in your Account are the property of, or shall or
                   may be loaned to, FTX Trading; FTX Trading does not represent or treat
                   Digital Assets in User’s Accounts as belonging to FTX Trading.”

                   “You control the Digital Assets held in your Account. At any time, subject
                   to outages, downtime, and other applicable policies (including the Terms),
                   you may withdraw your Digital Assets by sending them to a different
                   blockchain address controlled by you or a third party.” 28

           132.    While FTX violated their own terms of service, it would also have been true that

    some of these claims would have been demonstrably false to begin with even if there was

    hypothetically no wrongdoing on the part of FTX. This is because FTX exchange accounts (or any

    exchange account with any centralized custodial exchange, including Coinbase for example) are

    custodial in nature. Id. This means that the customer does not control access to the assets ‘in’ their

    account. The customer needs to make a request to the exchange to be able to access and send those

    balances. It is very much the exchange that controls the assets, not their customer. However, it

    should also be noted that the digital assets aren’t technically ‘in’ the account at all. At a technical

    level, an exchange account cannot hold or store cryptocurrency. The account stores a record of a

    liability or an IOU to the exchange’s customer. When a user purchases cryptocurrency on an

    exchange, they aren’t technically purchasing that cryptocurrency; they are purchasing an IOU for


    28
            https://help.ftx.com/hc/article_attachments/9719619779348/FTX_Terms_of_Service.pdf
    (accessed May 11, 2023).


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    that cryptocurrency. Because this concept of buying and storage can be difficult to understand, it’s

    somewhat common for newcomers to associate such IOUs as being the same as storing

    cryptocurrency assets ‘on’ their account, even though it’s not technically true.

            133.    With any yield-bearing account, it could generally be expected for an exchange to

    take those customers and leverage, loan or invest them in some way, and hopefully receive enough

    assets back to be able to pay out their customers back their principal, in addition to yield or interest

    earned, when applicable customers attempt to redeem or withdraw those funds.

            134.    While the existence of such loans associated with assets deposited to yield-bearing

    accounts was known, the substantial risks associated with such loans, and by extension the yield-

    bearing accounts in general was not adequately represented.

            135.    The main functional differences between banks and cryptocurrency exchanges is

    such that exchanges are largely unregulated, and that exchanges (and by extension exchange

    accounts and the users who use them) are subject to a lot of additional risks compared to that of a

    bank account.

            136.    Banks are, of course, subject to a variety of capital control requirements to ensure

    protection of consumer assets. Banks are regulated with regards to the type of assets that they can

    invest customer assets in. Banks are subject to regular financial audits. Banks have regulatory

    oversight to ensure the protection of consumer assets. And of course, bank accounts have FDIC

    insurance so that bank account holders have coverage in case a bank, despite such measures,

    becomes insolvent. Id.

            137.    Exchanges, on the other hand, are not subject to capital control requirements. While

    almost all exchanges will indicate that they ‘securely’ store all customer assets 1:1 in ‘cold

    storage,’ there is no regulatory requirement in most jurisdictions (including the US) for exchanges



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    to do so, nor is there any requirement for exchanges to offer any transparency regarding their

    solvency or use of customer assets to regulators or to the general public.

           138.    Other than by an exchange’s own terms of service (which wasn’t adhered to in this

    case), exchanges are not prevented from whether they invest customer assets elsewhere, and if so,

    what types of investments they enter into, or loans they provide, regardless of the inherent level of

    risk. And exchanges have no requirement to have any type of insurance equivalent to FDIC

    insurance. While some exchanges will sometimes claim they have ‘insurance,’ the terms and

    conditions associated with that insurance are typically completely unknown to investors, and often

    this insurance will bear little to no resemblance to FDIC insurance; in essence the term ‘insurance’

    is used as a marketing ploy to help instill customer confidence in the exchange, even when such

    confidence may not be warranted.

           139.    Due to the aforementioned reasons and risks surrounding the lack of regulation, as

    well as various types of cybersecurity-related risks that aren’t applicable to banks but are critically

    important for exchanges, cryptocurrency exchanges are generally not and should not be considered

    a ‘safe’ place to store assets, whether cryptocurrency assets or fiat assets.

           140.    The inherent riskiness associated with storing assets on a cryptocurrency exchange

    is well-known to the vast majority of well-educated and knowledgeable cryptocurrency users. This

    is evidenced by the frequent expression ‘not your keys, not your coins,’ essentially meaning that

    if you don’t control the cryptocurrency in your account, it’s not really yours. ‘Your’

    cryptocurrency belongs to the exchange if you elect to store it ‘on’ the exchange, and if they renege

    or are unable to fulfill their liability to you, you as the beneficial cryptocurrency owner of the

    cryptocurrency, have effectively lost your money.




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             141.   This is further referenced by the extensive track record of the many cryptocurrency

    exchanges that have shut down and ultimately failed, 29 often in spectacular fashion. The most

    common reasons for an exchange’s failure include:

                 a) The exchange borrowing against customer assets (either to fund business operations
                    or lending them out in an effort to generate a profit) leading to insolvency;

                 b) The exchange trading or leveraging customer assets in an effort to generate a profit,
                    leading to insolvency;

                 c) A hack or theft by an external actor;

                 d) Embezzlement, or theft by an internal actor, typically founder(s) of the exchange;
                    or

                 e) Disappeared suddenly, for no apparent reason (typically taking customer assets
                    with them).

             142.   When exchanges do shut down (and this happens relatively frequently) it rarely

    happens in an organized and orderly fashion, and it’s incredibly rare for customers that had assets

    on the exchange to get all their assets back; in many cases, they end up getting nothing back.

             143.   Suffice to say cryptocurrency exchanges are generally not a safe place to store

    assets, even amongst exchanges that don’t offer a yield-bearing program. When exchanges have a

    yield-bearing program, or otherwise elect to leverage or loan our customer assets (with or without

    customer consent), it significantly increases the risk of the exchange failing and becoming

    insolvent. Cryptocurrency exchanges can do a variety of things to minimize such risks and improve

    safety. However, what an exchange says, and what they actually do are two different things

    entirely. It is common for CEOs and executives of exchanges that have failed or in the process of

    failing to describe their exchange as ‘safe,’ ‘secure,’ ‘well-regulated,’ ‘compliant,’ ‘transparent,’

    or in a good financial position even when the exact opposite is true. Id. FTX was not an exception


    29
         https://www.cryptowisser.com/exchange-graveyard/ (accessed May 11, 2023).


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    to this trend. One should not assume or believe that an exchange is any of these things just because

    they say it.

            144.   This is not to suggest that exchanges cannot be a much safer place to store assets.

    They can be with appropriate regulation and oversight. In fact, it appears that for FTX Japan 30

    specifically, those investors will be made whole or almost whole due to sensible regulations that

    were put in place in light of the lessons learned from the failures of Mt. Gox and Coincheck

    exchanges in Japan.

    D.      The Mechanics of the Fraudulent Scheme

            145.   The FTX fraud was straightforward, albeit thoroughly concealed from unsuspecting

    Class Members.

            146.   With the promise of higher-than-average returns and leading-edge safeguards, and

    by way of FTX’s material omissions further detailed herein, FTX lured Class Members to deposit

    U.S. dollars and crypto-based assets into speculative investments, including YBAs, on the FTX

    exchange.

            147.   Contrary to FTX’s representations to its customers that “FTX.US does not represent

    or treat assets in your FTX.US Account as belonging to FTX.US,” and unlike many of its

    competitors, including Coinbase Global, the largest U.S.-based exchange, FTX did not segregate

    customer funds or designate them for the customer’s benefit, instead commingling those funds in

    several “omnibus” accounts held by FTX.

            148.   Under the cloak of this wide-ranging con game, FTX insiders including SBF

    facilitated the routing of billions of dollars in purported profits of FTX, which were in reality Class



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       https://www.coindesk.com/consensus-magazine/2022/12/13/japan-was-the-safest-place-to-be-
    an-ftx-customer/


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    Member funds, to the insiders, and their families, friends, and other acquaintances through

    purported personal “loans,” bonuses, “investments,” and all other means of transfer, including real

    estate purchases and hundreds of millions of dollars in charitable and political contributions. Class

    Member funds were also used to fuel uncapped spending on illicit drugs, naming rights to sports

    arenas, concert sponsorships, luxury cars, and private jets.

           149.    Frequently, SBF routed his fraudulent scheme through Alameda LLC (“Alameda”),

    a cryptocurrency hedge fund that he independently owned. SBF and Mr. Wang formed Alameda

    two years before launching FTX and split ownership of Alameda 90% and 10%, respectively. SBF

    led Alameda as CEO until October 2021, from which time he continued to control the company

    and maintained ultimate authority over its trading, borrowing/lending, and investment activity.

           150.    Until his scheme collapsed, SBF, along with a number of his lieutenants, publicly

    maintained that Alameda and FTX were “wholly separate entitit[ies] . . . at arm’s length,” and,

    despite their overlapping ownership by SBF, the companies were kept “separate in terms of day-

    to-day operations” by way of “a Chinese wall . . . to ensure that [Alameda wouldn’t get] any sort

    of special treatment from FTX.”

           151.    Contrary to these representations, SBF operated FTX and Alameda as a common

    enterprise. The two companies shared offices for some time, as well as key personnel and other

    resources critical to the companies’ operations.

           152.    SBF routinely funneled Class Member funds through Alameda and/or other entities

    that SBF separately owned, sometimes as bogus “related party transactions.” For example,

    financial statements for FTX Trading, now available to the public for the first time, disclose “a

    related party receivable” valued at $1.2 billion (equivalent to 44% of the company’s assets); a $362

    million “related party payable”; $250 million in payments (equivalent to 25% of the company’s




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    revenues) to a related party for “software royalties;” and a series of related party transactions

    described only as “currency management” activities. The same financial statements identify that

    these transactions were for the benefit of SBF, noting that the “primary shareholder [i.e., SBF] is

    also the primary shareholder of several related entities which do business with the company.”

           153.    Other times, SBF misappropriated Class Member funds as “loans, including for

    example, a $1 billion ‘loan’ to himself; a $543 million ‘loan’ to Mr. Singh; and a $55 million ‘loan’

    to Ryan Salame, another FTX executive.” SBF and other insiders received billions in dollars in

    purported “loans” from Alameda. None of these “loans” have ever been repaid, nor was there any

    reason to believe at the time the “loans” were made that they would or could be repaid. The FTX

    insiders effectively looted the company. Even during the crypto boom, the FTX insiders could not

    reasonably have repaid these loans, and no reasonable lender would have loaned such large

    amounts. In fact, none of these loans were ever repaid, nor upon information and belief was any

    interest ever paid on the loans.

           154.    More often, SBF looted Class Member funds directly, without the cover of sham

    related party transactions or insider loans. For many years, SBF directed that FTX customer funds

    be wired to bank accounts held by North Dimension, a wholly owned subsidiary of Alameda.

    North Dimension was a fake electronics retailer created by SBF to disguise its ties to FTX. North

    Dimension shared an address with FTX US in Berkeley, California, and published a website

    through which customers often “had trouble actually purchasing products” and was “rife with

    misspellings and bizarre product prices,” including “sale prices that were hundreds of dollars

    above a regular price.” For example, North Dimension advertised a $410.00 “Ipad 11 ‘ich Cell

    Phone” for the sale price of $899.00:




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    Once wired to North Dimension’s accounts, Class Member funds were commingled with

    Alameda’s and misappropriated by SBF. SBF has admitted to looting Class Member funds in

    this way, explaining to reporters after the fraud was revealed that “people wired $8b to Alameda

    and . . . it was never delivered to FTX.”

           155.    SBF found diverse ends for which to misappropriate Class Members funds,

    including to pay for Alameda’s leveraged trades and investments, which had grown riskier over

    time. Initially, Alameda primarily traded in high-risk arbitrage, purchasing cryptocurrencies on

    one exchange and quickly selling them on other exchanges for higher prices. Later, Alameda

    pivoted to “yield farming,” investing in cryptocurrencies that paid interest-like returns. Alameda’s

    entrée into yield farming was not without internal controversy—in early 2021, Caroline Ellison,

    Alameda’s CEO, expressed concerns about the riskiness of Alameda’s yield farming investment

    strategy to no avail. Ms. Ellison was correct to observe that Alameda’s bets had grown dodgier.

    At the time, Sam Trabucco, another Alameda executive, tweeted that Alameda’s investing

    strategies increasingly relied on “intuition” and other unconventional measures, including “Elon

    Musk’s social media posts.” As noted above, Ms. Ellison has since pleaded guilty to

    misappropriating FTX customer assets to fund Alameda’s risky bets and to cover Alameda’s

    colossal losses.




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           156.    SBF used Class Member funds to underwrite Alameda’s risky operations in other

    ways. Though SBF publicly claimed that Alameda was a “regular user” of FTX, contrary to that

    representation, FTX exempted Alameda from the automated “risk engine” described above,

    allowing Alameda to avoid liquidation under the monitoring system. Compounding FTX’s—and,

    though they did not know it, Class Members’—exposure to Alameda, SBF allowed Alameda to

    maintain a negative balance in its FTX accounts and steadily increased Alameda’s negative

    balance cap over time. Through these cheats, Alameda was not only able to evade collateralizing

    its position on the exchange; Alameda also was able to maintain a negative balance on the

    exchange and utilize the exchange to trade and withdraw assets without limit, giving it an estimated

    “line of credit” of $65 billion, collateralized by the customer deposits on the exchange. Alameda

    lacked any ability to repay this line of credit, having spent the money on insider transfers and

    purported “loans,” gifts, and questionable investments.

           157.    With these exemptions—exemptions offered to no other customers on the

    exchange—FTX extended Alameda a de facto limitless line of credit, which Alameda used to

    invest $8 billion in risky startups and esoteric cryptocurrencies—highly illiquid investments

    purchased on credit from FTX, funded with Class Member assets. SBF also misappropriated Class

    Member funds to inflate the balance sheets of Alameda, which were largely backed by FTT, a

    cryptocurrency that FTX contrived from thin air and issued to Alameda at no cost. FTX represented

    that, as “the backbone of the FTX ecosystem,” FTT was widely distributed, but contrary to that

    representation, most FTT tokens issued were held by FTX and/or Alameda. As of June 30, 2022,

    Alameda’s largest assets were tied to FTT, including “unlocked FTT” totaling $3.66 billion, and

    “FTT collateral” totaling $2.16 billion. Using Class Member funds and to the benefit of Alameda,

    SBF manipulated the value of FTT by implementing a “rolling program of buying back and




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    burning [FTT] tokens,” a process which consumed a third of FTX’s revenue. By artificially

    increasing the value of FTT in this way, SBF increased the value of collateral available to Alameda,

    with which SBF was able to borrow billions of dollars from third party lenders in furtherance of

    his fraudulent scheme.

           158.    Upon information and belief, SBF also employed Alameda to funnel Class Member

    funds from FTX US to his other companies. Just days before FTX filed for bankruptcy protection,

    Alameda withdrew over $200 million from FTX US; Alameda then transferred $142.4 million of

    those funds to FTX Trading’s international accounts, exhibiting, according to industry experts,

    that Alameda had been serving as a “bridge between FTX US and FTX [Trading]” for some time.

           159.    The improper relationship between Alameda and FTX was well known to the

    companies’ insiders, and completely concealed from Class Members. As Ellison, former co-CEO

    of Alameda, told a federal judge in Manhattan when entering her guilty plea:

           From approximately March 2018 through November 2022, I worked at Alameda
           Research, a cryptocurrency trading firm principally owned by Sam Bankman-Fried.

           From 2019 through 2022, I was aware that Alameda was provided access to a
           borrowing facility on FTX.com, the cryptocurrency exchange run by Mr.
           Bankman-Fried. I understood that FTX executives had implemented special
           settings on Alameda’s FTX.com account that permitted Alameda to maintain
           negative balances in various fiat currencies and crypto currencies. In practical
           terms, this arrangement permitted Alameda access to an unlimited line of credit
           without being required to post collateral, without having to pay interest on negative
           balances and without being subject to margin calls or FTX.com’s liquidation
           protocols. I understood that if Alameda’s FTX accounts had significant negative
           balances in any particular currency, it meant that Alameda was borrowing funds
           that FTX’s customers had deposited onto the exchange.

           While I was co-CEO and then CEO, I understood that Alameda had made numerous
           large illiquid venture investments and had lent money to Mr. Bankman-Fried and
           other FTX executives. I also understood that Alameda had financed these
           investments with short-term and open-term loans worth several billion dollars from
           external lenders in the cryptocurrency industry. When many of those loans were
           recalled by Alameda’s lenders in and around June 2022, I agreed with others to
           borrow several billion dollars from FTX to repay those loans. I understood that


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            FTX would need to use customer funds to finance its loans to Alameda. I also
            understood that many FTX customers invested in crypto derivatives and that most
            FTX customers did not expect that FTX would lend out their digital asset holdings
            and fiat currency deposits to Alameda in this fashion. From in and around July 2022
            through at least October 2022, I agreed with Mr. Bankman-Fried and others to
            provide materially misleading financial statements to Alameda’s lenders. In
            furtherance of this agreement, for example, we prepared certain quarterly balance
            sheets that concealed the extent of Alameda's borrowing and the billions of dollars
            in loans that Alameda had made to FTX executives and to related parties. I also
            understood that FTX had not disclosed to FTX’s equity investors that Alameda
            could borrow a potentially unlimited amount from FTX, thereby putting customer
            assets at risk. I agreed with Mr. Bankman-Fried and others not to publicly disclose
            the true nature of the relationship between Alameda and FTX, including Alameda’s
            credit arrangement.

            I also understood that Mr. Bankman-Fried and others funded certain investments in
            amounts more than $10,000 with customer funds that FTX had lent to Alameda.
            The investments were done in the name of Alameda instead of FTX in order to
            conceal the source and nature of those funds. I am truly sorry for what I did. I knew
            that it was wrong. And I want to apologize for my actions to the affected customers
            of FTX, lenders to Alameda and investors in FTX. Since FTX and Alameda
            collapsed in November 2022, I have worked hard to assist with the recovery of
            assets for the benefit of customers and to cooperate with the government’s
            investigation. I am here today to accept responsibility for my actions by pleading
            guilty. 31

            160.     The Wall Street Journal recently reported that Ellison told Alameda staffers in a

    video call that she was one of four people (along with Sam Bankman-Fried, Gary Wang, and

    Nishad Singh) who were aware of the decision to send FTX customer funds to Alameda, to help

    the fund meet its liabilities. 32




    31
             https://www.johnreedstark.com/wp-content/uploads/sites/180/2022/12/Ellison-Hearing-
    Transcript.pdf (accessed May 11, 2023)
    32
        https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
    customer-funds-11668264238 (accessed May 11, 2023).


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           161.    Similarly, Nishad Singh, head of FTX’s engineering and one of SBF’s best friends,

    has admitted that he knew by mid-2022 that Alameda was borrowing FTX customer funds and

    that customers were not aware. 33

           162.    FTX co-founder Gary Wang likewise explained his knowledge of the companies’

    interconnectedness in his guilty plea:

           Between 2019 and 2022, as part of my employment at FTX, I was directed to and
           agreed to make certain changes to the platform’s code. I executed those changes,
           which I knew would Alameda Research special privileges on the FTX platform. I
           did so knowing that others were representing to investors and customers that
           Alameda had no such special privileges and people were likely investing in and
           using FTX based in part on those misrepresentations. I knew what I was doing was
           wrong. I also knew that the misrepresentations were being made by telephone and
           internet, among other means, and that assets traded on FTX included some assets
           that the U.S. regulators regard as securities and commodities.

           163.    FTX had a handful of insiders and employees with virtually limitless power to

    direct transfers of fiat currency and crypto assets and to hire and fire employees, with no effective

    oversight, internal controls, or checks on the exercise of these powers. FTX failed to establish or

    maintain any semblance of fundamental financial and accounting controls. This is particularly

    shocking given that at its peak, FTX operated in hundreds of jurisdictions, controlled billions of

    dollars of assets, engaged in as many as 26 million transactions per day, and had millions of users.

    Board oversight was effectively non-existent. With few exceptions, FTX lacked independent or

    experienced finance, accounting, human resources, information security, and cybersecurity

    personnel or leadership. Nor was there any effective internal audit function. Some FTX entities

    did not produce any financial statements. Some were deemed impossible to audit.




    33
           https://www.reuters.com/legal/ftxs-singh-agrees-plead-guilty-us-criminal-charges-lawyer-
    says-2023-02-28/ (accessed May 11, 2023).


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           164.    FTX insiders paid out millions of dollars in hush money to keep whistleblowers

    from exposing the fraud, money laundering, and price manipulation. FTX even hired the attorneys

    of these whistleblowers to help keep these complaints from the public.

           165.    At no time did FTX disclose the foregoing to Class Members, including that:

           I.     SBF was siphoning Class Member funds to his friends and family members or for
           his own personal use;

           II.   FTX was not segregating Class Member funds, instead commingling those funds
           in FTX’s omnibus accounts and treating those funds as FTX’s own;

           III.   FTX directed that Class Member funds be wired directly into accounts held by
           North Dimension, a subsidiary of Alameda;

           IV.   FTX and Alameda were not, in fact, “wholly separate entities at arm’s length,”
           and were instead operated as a common enterprise;

           V.      SBF was looting Class Member funds under the guise of non-arm’s length
           “related party transactions” and “loans” often by way of Alameda;

           VI.    SBF routinely transferred Class Member funds out of accounts held by FTX to
           those held by Alameda;

           VII. SBF was using Class Member funds to underwrite his speculative personal
           investments at Alameda, and his charitable and political contributions;

           VIII. Alameda was exempt from the “risk engine” and other FTX protocols in place to
           prevent a user from becoming undercollateralized or overleveraged on the exchange;

           IX.    With the foregoing exemption, Alameda engaged in margin trading on the FTX
           platform, exposing Class Members to the risk of Alameda’s loss;

           X.     FTX used Class Member funds to manipulate the price of FTT, which was not
           “widely distributed,” but instead concentrated in the hands of FTX and Alameda; and

           XI.    FTX did not have in place fundamental internal controls, including an
           independent board of director or a CFO.

           166.    Had Class Members known of these material omissions, they would not have

    deposited funds into accounts on the FTX exchange and SBF’s fraud would not have succeeded.

    In late 2022, the fraud finally collapsed, and the misconduct was revealed.




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    E.     The Fraud’s Collapse

           167.    The FTX.com exchange was extremely successful since its launch in May 2019. In

    2022, around $15 billion of assets were traded daily on the platform, which represented

    approximately 10% of global volume for crypto trading. The FTX Group’s team grew to over 300

    employees globally. Although the FTX Group’s primary international headquarters is in the

    Bahamas, its domestic US base of operations is located in Miami, Florida. 34

           168.    FTX quickly became one of the most utilized avenues for nascent investors to

    purchase cryptocurrency. By the time FTX filed for bankruptcy protection, customers had

    entrusted billions of dollars to it, with estimates ranging from $10-to-$50 billion dollars.

           169.    Bankman-Fried got rich off FTX and Alameda, with the two companies netting

    $350 million and $1 billion in profit, respectively, in 2020 alone, according to Bloomberg.

           170.    At his peak, Bankman-Fried was worth $26 billion. At 30, he had become a major

    political donor, gotten celebrities like the Co-Defendants in this action to vociferously promote

    FTX, and secured the naming rights to the arena where the NBA’s Miami Heat play. 35

           171.    Beginning in mid-2022, the value of cryptocurrencies rapidly declined, and SBF

    began to bail out troubled crypto firms that, if they were to fail, would bring down FTX with them

    and reveal SBF’s fraud. For example, in the summer of 2022, FTX extended a $400 million

    revolving credit facility to BlockFi, a crypto lender. At the time, BlockFi held as collateral for

    loans hundreds of millions of dollars in FTT, the cryptocurrency that FTX had engineered to prop

    up Alameda. If BlockFi failed, the liquidation of those tokens would crash FTT, and in turn,



    34
              https://www.coindesk.com/business/2022/09/27/crypto-exchange-ftx-is-moving-its-us-
    headquarters-from-chicago-to-miami/ (accessed May 11, 2023).
    35
            https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-
    means-2022-11?inline-endstory-related-recommendations= (accessed May 11, 2023).


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    Alameda, whose assets were primarily backed by the token. FTX’s $400 million loan kept BlockFi

    temporarily afloat, and FTX engaged in a number of similar transactions, propping up failing

    crypto companies in order to keep the fraud alive, as 2022 progressed.

           172.    Despite SBF’s attempts to keep troubled crypto firms afloat, the value of digital

    currencies continued to decline throughout 2022, and FTX’s liquidity crunch tightened. By the end

    of summer 2022, SBF needed another $1 billion to keep his fraudulent scheme running. He looked

    to Silicon Valley and to sovereign wealth funds in the Middle East, but he was unable to

    successfully close any further investments in FTX, despite many solicitations. Without this influx

    of capital, FTX’s exposure to margin calls heightened and, in November 2022, SBF’s house of

    cards finally collapsed.

           173.    In early November 2022, crypto publication CoinDesk released a bombshell report

    that called into question just how stable Bankman-Fried’s empire really was. 36 On November 2,

    2022, news broke that Alameda’s balance sheet was propped up by the FTX-manipulated FTT,

    revealing the close ties between FTX and Alameda to the public for the first time. FTX had lent

    billions, including most of its cryptocurrency reserves, to Alameda, first as capital for trading, and

    eventually to cover Alameda’s massive losses.

           174.    Prior to the collapse of the FTX Group, Bankman-Fried’s cryptocurrency empire

    was publicly ostensibly broken into two main parts: FTX (his exchange) and Alameda (his trading

    firm), both giants in their respective industries. But even though they are two separate businesses,

    the division breaks down in a key place: on Alameda’s balance sheet, which was full of FTX –

    specifically, the FTT token issued by the exchange that grants holders a discount on trading fees



    36
            https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-
    means-2022-11?inline-endstory-related-recommendations= (accessed May 11, 2023).


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    on its marketplace. It shows Bankman-Fried’s trading giant Alameda rests on a foundation largely

    made up of a coin that a sister company invented, not an independent asset like a fiat currency or

    another crypto. The situation adds to evidence that the ties between FTX and Alameda are

    unusually close. 37

           175.    Days later, on November 6, 2022, Changpeng Zhao, CEO of Binance, the world’s

    largest cryptocurrency exchange and FTX’s most powerful competitor, tweeted that he intended

    to sell Binance’s $580 million holding of FTT, which threatened to crash the price of FTX’s token

    and, in turn, Alameda’s balance sheet. Mr. Zhao’s announcement triggered demand for $5 billion

    in customer withdrawals, which FTX promptly halted due to a lack of funds. The value of FTT

    plunged 32%, but rallied once again with Bankman-Fried’s surprise announcement on Tuesday,

    November 8, that Binance would buy FTX, effectively bailing it out. 38

           176.    But, after a 24-hour diligence period, Binance backed out of the deal, denying a

    critical capital injection to SBF. Mr. Zhao explained his reasons for the about-face: “Sam, I’m

    sorry. We won’t be able to continue this deal. Way too many issues. CZ.” Binance cited findings

    during due diligence, as well as reports of mishandled customer funds and the possibility of a

    federal investigation. 39 In truth, there were always too many issues—issues with the

    interconnectedness between Alameda and FTX, issues with FTX’s total lack of internal controls,

    issues with SBF’s looting of Class Member funds, the news of which sent FTT plunging even




    37
           https://www.coindesk.com/business/2022/11/02/divisions-in-sam-bankman-frieds-crypto-
    empire-blur-on-his-trading-titan-alamedas-balance-sheet/ (accessed May 11, 2023).
    38
       https://markets.businessinsider.com/news/currencies/ftx-6-billion-withdrawals-72-hours-sam-
    bankman-fried-binance-2022-11 (accessed May 11, 2023).
    39
        https://markets.businessinsider.com/news/currencies/ftx-crash-sec-cftc-probes-asset-liability-
    shortfall-6-billion-2022-11 (accessed May 11, 2023).


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    further — Bankman-Fried saw 94% of his net worth wiped out in a single day. 40 This triggered

    panic selling of FTT and a run on FTX, thereby ensuring the firm’s swift demise.

             177.   Bankman-Fried issued a 22-tweet-long explanation of where he believed he and the

    FTX Group went wrong: 41




    40
         https://www.businessinsider.com/ftx-ceo-crypto-binance-sam-bankman-fried-wealth-wiped-
    out-2022-11 (accessed May 11, 2023).
    41
         https://twitter.com/SBF_FTX/status/1590709189370081280 (accessed May 11, 2023).


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    F.        FTX Files for Bankruptcy

              178.   On November 11th, unable to obtain a bailout, and facing an insurmountable

    liquidity crisis, the FTX Group filed for Chapter 11 bankruptcy and Bankman-Fried resigned as

    CEO. 42

              179.   At or around the same time as Bankman-Fried’s mea culpa tweets and discussions

    with reporters, an FTX balance sheet was leaked which shows that FTX held approximately $900

    million in liquid assets against $8.9 billion of liabilities, with a negative $8 billion entry described

    as a “hidden, poorly internally labeled fiat@ account.” 43

              180.   Later, The Wall Street Journal reported that in a video meeting with Alameda

    employees on November 9, 2022 (the day prior to Bankman-Fried’s November 10, 2022 litany of

    tweets), Alameda CEO Caroline Ellison said that she, Bankman-Fried, and two other FTX

    executives, Singh and Wang, were aware of the decision to send customer funds directly to

    Alameda. Ellison even admitted that “FTX used customer money to help Alameda meet its




    42
        https://markets.businessinsider.com/news/currencies/ftx-bankruptcy-sam-bankman-fried-ceo-
    crypto-binance-alameda-markets-2022-11 (accessed May 11, 2023).
    43
      https://www.bloomberg.com/opinion/articles/2022-11-14/ftx-s-balance-sheet-was-
    bad#xj4y7vzkg (last accessed February 22, 2023)


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    liabilities.” 44 Ellison elaborated on these statements on the record when pleading guilty to eight

    counts of conspiracy to commit wire fraud, securities fraud, and money laundering, among other

    conspiracies. 45

            181.       The same source explained that FTX’s biggest customer was Alameda, which,

    instead of holding money, was borrowing billions from FTX users using FTX’s in-house

    cryptocurrency, FTT token, as collateral, then trading it. When the price of the FTT nosedived

    75% in a day, making the collateral insufficient to cover the trade, both FTX and Alameda suffered

    massive liquidity crises. Id.

            182.       On December 13, 2022, the SEC filed a civil action against Bankman-Fried for

    securities fraud in the United States District Court for the Southern District of New York. SEC v.

    SBF, 1:22-cv-10501, Doc. 1 (S.D.N.Y.) In that complaint, the SEC alleged:


             When prices of crypto assets plummeted in May 2022,
             Alameda’s lenders demanded repayment on billions of dollars of loans. Despite
             the fact that Alameda had, by this point, already taken billions of Bankman-Fried
             of FTX customer assets, it was unable to satisfy its loan obligations. Bankman-
             Fried directed FTX to divert billions more in customer assets to Alameda to
             ensure that Alameda maintained its lending relationships, and that money could
             continue to flow in from lenders and other investors. Id. ¶ 4
             Through     the   summer     of   2022,    he   directed   hundreds   of
             millions more in FTX customer funds to Alameda, which he then used for
             additional venture investments and for “loans” to himself and other FTX
             executives.
            183.       The SEC alleged that “Bankman-Fried diverted FTX customer funds to Alameda

    in essentially two ways: (1) by directing FTX customers to deposit fiat currency (e.g., U.S. Dollars)




    44
        https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
    customer-funds-11668264238 (last accessed February 22, 2023)
    45
        https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
    customer-funds-11668264238 (last accessed December 16, 2022).


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    into bank accounts controlled by Alameda; and (2) by enabling Alameda to draw from a virtually

    limitless “line of credit” at FTX, which was funded by FTX customer accounts.” Id. ¶ 32.

           184.    The bankruptcy court appointed John J. Ray III, a 40-year industry veteran who

    oversaw the liquidation of Enron, to replace SBF as FTX’s CEO. Mr. Ray quickly uncovered

    fundamental deficiencies in basic accounting, corporate governance, and other controls by FTX.

    These deficiencies were so startling that Mr. Ray remarked he had never “seen such a complete

    failure of corporate controls and such a complete absence of trustworthy financial information as

    occurred here.” Moreover, Mr. Ray uncovered that:

           First, customer assets from FTX.com were commingled with assets from the Alameda
           trading platform.

           Second, Alameda used client funds to engage in margin trading which exposed customer
           funds to massive losses.


           Third, the FTX Group went on a spending binge in late 2021 through 2022, during which
           approximately $5 billion was spent buying a myriad of businesses and investments, many
           of which may be worth only a fraction of what was paid for them.

           Fourth, loans and other payments were made to insiders in excess of $1 billion.

           Fifth, Alameda’s business model as a market maker required deploying funds to various
           third-party exchanges which were inherently unsafe, and further exacerbated by the limited
           protection offered in certain foreign jurisdictions.

           185.    On April 9, 2023, Ray III filed in the FTX Bankruptcy his First Interim Report to

    the Independent Directors on Control Failures at the FTX Exchanges. See In re: FTX Trading Ltd.,

    No. 1:22-bk-11068-JTD, ECF No. 1242-1 (Bankr. Dist. Del. Apr. 9, 2023), attached as Exhibit C

    (the “First Interim Rpt.”).

           186.    Defining the “FTX Group” as a de facto singular entity comprised of FTX Trading,

    FTX.US, and Alameda, collectively, Mr. Ray begins by explaining that:




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           the Debtors have had to overcome unusual obstacles due to the FTX Group’s lack
           of appropriate record keeping and controls in critical areas, including, among
           others, management and governance, finance and accounting, as well as digital
           asset management, information security and cybersecurity. Normally, in a
           bankruptcy involving a business of the size and complexity of the FTX Group,
           particularly a business that handles customer and investor funds, there are readily
           identifiable records, data sources, and processes that can be used to identify and
           safeguard assets of the estate. Not so with the FTX Group.

           Upon assuming control, the Debtors found a pervasive lack of records and other
           evidence at the FTX Group of where or how fiat currency and digital assets could
           be found or accessed, and extensive commingling of assets. This required the
           Debtors to start from scratch, in many cases, simply to identify the assets and
           liabilities of the estate, much less to protect and recover the assets to maximize the
           estate’s value. This challenge was magnified by the fact that the Debtors took over
           amidst a massive cyberattack, itself a product of the FTX Group’s lack of controls,
           that drained approximately $432 million worth of assets on [November 11, 2022,]
           the date of the bankruptcy petition (the “November 2022 Breach”), and threatened
           far larger losses absent measures the Debtors immediately implemented to secure
           the computing environment.

           Despite the public image it sought to create of a responsible business, the FTX
           Group was tightly controlled by a small group of individuals who showed little
           interest in instituting an appropriate oversight or control framework. These
           individuals stifled dissent, commingled and misused corporate and customer funds,
           lied to third parties about their business, joked internally about their tendency to
           lose track of millions of dollars in assets, and thereby caused the FTX Group to
           collapse as swiftly as it had grown. In this regard, while the FTX Group’s failure is
           novel in the unprecedented scale of harm it caused in a nascent industry, many of
           its root causes are familiar: hubris, incompetence, and greed.

    First Interim Rpt., 2-3.

           187.    After summarizing the history of the three main FTX Group entities, the current

    efforts to retain advisors to assist in investigating the FTX Group’s available financial records and

    interview witnesses, Mr. Ray provides a comprehensive review of the FTX Group’s control

    failures that led to its eventual collapse, including (1) lack of management and governance

    controls; (2) lack of financial and accounting controls; and (3) lack of digital asset management,

    information security and cybersecurity controls. Id., 11–37.




                                                     61
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           188.    According to Mr. Ray, “[t]he FTX Group lacked appropriate management,

    governance, and organizational structure," and the “management and governance of the FTX

    Group was largely limited to Bankman-Fried, Singh, and Wang. Among them, Bankman-Fried

    was viewed as having the final voice in all significant decisions.” Id., 11. The trio “controlled

    nearly every significant aspect of the FTX Group,” despite being “not long out of college and with

    no experience in risk management or running a business,” and “[b]oard oversight, moreover, was

    effectively non-existent.” Id.

           189.    The FTX Group also “lacked an appropriate organizational structure. Rather than

    having an ultimate parent company able to serve as a central point for decision-making that could

    also direct and control its subsidiaries, the FTX Group was organized as a web of parallel corporate

    chains with various owners and interest, all under the ultimate control of Bankman-Fried.” Id., 8.

    The FTX Group dd not even have a comprehensive organizational chart until the end of 2021,

    lacked any tracking of intercompany relationships and ownership of particular entities, and “did

    not even have current and complete lists of who its employees were.” Id., 8–9.

           190.    The FTX Group also suffered from a near complete failure to observe corporate

    formalities, especially when it came to managing the finances of the FTX Group, for instance:

               a) Failure to maintain “personnel who were experienced and knowledgeable enough

                   to account accurately for assets and liabilities, understand and hedge against risk,

                   or compile and validate financial reports,” Id., 11;

               b) Failure to maintain adequate “policies and procedures relating to accounting,

                   financial reporting, treasury management, and risk management,” Id.;

               c) Failure to maintain an accurate and appropriate accounting system, in that 56 FTX

                   Group entities did not produce financial statements of any kind, 35 used




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                QuickBooks in conjunction with Google documents, Slack communications, shared

                drives, and Excel spreadsheets, Id., 12–13;

             d) Recordkeeping was so poor that Bankman-Fried described Alameda as “hilariously

                beyond any threshold of any auditor being able to even get partially through an

                audit,” adding:

                Alameda is unauditable. I don’t mean this in the sense of “a major
                accounting firm will have reservations about auditing it”; I mean this in the
                sense of “we are only able to ballpark what its balances are, let alone
                something like a comprehensive transaction history.” We sometimes find
                $50m of assets lying around that we lost track of; such is life.

                Id., 14;
             e) “Key accounting reports necessary to understand the FTX Group’s assets and

                liabilities, such as statements of cash flows, statements of equity, intercompany and

                related party transaction matrices, and schedules of customer entitlements, did not

                exist or were not prepared regularly,” Id., 14–15;

             f) “Copies of key documentation – including executed loan agreements, intercompany

                agreements, acquisition and investment documents, bank and brokerage account

                statements, and contract and account information of all types – were incomplete,

                inaccurate, contradictory, or missing entirely.” Id., 15;

             g) the FTX Group "did not maintain reliable lists of bank or trading accounts,

                cryptocurrency wallets, or authorized signatories,” and let “[t]housands of deposit

                checks . . . collect[] like junk mail,” Id., 15;

             h) “Although the FTX Group consisted of many, separate entities, transfers of funds

                among those entities were not properly documented, rendering tracing of funds

                extremely challenging,” including using Slack, Signal, and Telegram with




                                                   63
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                “disappearing messages” enabled, and often approving expenses and invoices on

                Slack by “emoji,” Id.;

             i) “The FTX Group did not observe any discernable corporate formalities when it

                came to intercompany transactions. Assets and liabilities were routinely shuffled

                among the FTX Group entities and insiders without proper process or

                documentation. Alameda routinely provided funding for corporate expenditures

                (e.g., paying salaries and other business expenses) whether for Alameda, for various

                other Debtors, or for FTX DM, and for venture investments or acquisitions whether

                for Alameda or for various other Debtors. Alameda also transferred funds to

                insiders to fund personal investments, political contributions, and other

                expenditures—some of which were nominally ‘papered’ as personal loans with

                below-market interest rates and a balloon payment due years in the future.” Id., 17;

             j) Often times, intercompany and insider transfers were recorded in a manner “that

                was inconsistent with the apparent purpose of the transfers,” for instance, tens of

                millions of dollars being transferred from Alameda to Bankman-Fried, personally,

                but recorded in the general ledger as “Investment in Subsidiaries: Investments-

                Cryptocurrency,” often times recorded in a way that intercompany transactions did

                not balance across relevant entities, nor were they recorded with specificity

                regarding which digital assets were involved in the transfer and their value when

                transferred, Id.;

             k) On both FTX International and US exchanges, Alameda was a customer that traded

                “for its own account as well as engaging in market-making activities, and, in that

                capacity, it was granted extraordinary privileges by the FTX Group,” such as




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                   granting Alameda “an effectively limitless ability to trade and withdraw assets from

                   the exchange regardless of the size of Alameda’s account balance, and to exempt

                   Alameda from the auto-liquidation process that applied to other customers,”

                   effectively allowing it to borrow and/or withdraw up to $65 billion from the FTX

                   Platform, Id., 18–22; and finally

               l) There were “extensive deficiencies in the FTX Group’s controls with respect to

                   digital asset management, information security, and cybersecurity,” which was

                   “particularly surprising given that the FTX Group’s business and reputation

                   depended on safeguarding crypto assets,” and “[a]s a result of these control

                   failures,” which included (i) maintaining the majority of customer assets in “hot”

                   wallets that are easily hacked, (ii) failing to safeguard private keys but storing them

                   in an Amazon Web Services account, (iii) failing to employ multi-signature

                   capabilities or Multi-Party Computation, (iv) failing to restrict FTX Group

                   employee user access to sensitive infrastructure, such as omnibus wallets holding

                   billions of dollars in assets, and (v) failing to enforce multi-factor authentication

                   for employees and other commonsense safeguards to protect customer assets and

                   sensitive data—all of which leads to the irrefutable conclusion that “the FTX Group

                   exposed crypto assets under its control to a grave risk of loss, misuse, and

                   compromise, and lacked a reasonable ability to prevent, detect, respond to, or

                   recover from a significant cybersecurity incident, including the November 2022

                   Breach.” Id., 22–37.

           191.    Mr. Ray concludes that “[t]he FTX Group’s profound control failures placed its

    crypto assets and funds at risk from the outset.” Id., 39.




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    G.      Crypto Sector a Hotbed for Illicit Activity and Fraudulent Conduct

            192.    From its inception, cryptocurrency has been fueled by illicit activity and the crypto

    sector continues to be rife with frauds and scams. For a detailed breakdown on the illicit use of

    cryptocurrency, see the U.S. Department of Justice’s report from September 2022 titled: “The Role

    of Law Enforcement In Detecting, Investigation, And Prosecuting Criminal Activity Related to

    Digital Assets.”￼ The report was issued pursuant to the March 9, 2022 Executive Order on

    Ensuring Responsible Development of Digital Assets and is the latest report on cryptocurrency

    released by 46 dating back to 2018, all of which detail the dire harms caused by cryptocurrency.

    DoJ notes that “[t]he rise of the Bitcoin network paralleled the development of Silk Road,

    AlphaBay, and other illegal online marketplaces…” and the department classified digital asset

    crime into three categories: “(1) cryptocurrency as a means of payment for, or manner of

    facilitating, criminal activity; (2) the use of digital assets as a means of concealing illicit financial

    activity; and (3) crimes involving or affecting the digital assets ecosystem.” The September report

    details several high-profile cases involving the illicit use of cryptocurrency. One case is the darknet

    marketplace Silk Road, which accepted payment only in Bitcoin, and was shut down by the FBI

    in 2013 after having facilitated sales revenue totaling over 9.5 million Bitcoin, equivalent to

    roughly $1.2 billion at the time.

            193.    Cryptocurrency is increasingly being used by organized crime syndicates and

    nation states for illicit purposes. In January 2022, the Government Accountability Office (GAO)

    issued a report finding that “[v]irtual currency is increasingly used illicitly to facilitate human and




    46
             https://www.justice.gov/opa/pr/justice-department-announces-report-digital-assets-and-
    launches-nationwide-network (accessed May 11, 2023).


                                                       66
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    drug trafficking.” 47 Cryptocurrency is also being used by Iran, Russia, and North Korea to bypass

    U.S. economic and financial sanctions. 48 According to the United Nations, “money raised by North

    Korea’s criminal cyber operations are helping to fund the country’s illicit ballistic missile and

    nuclear programs.” 49 North Korea’s brazenness was revealed to the public earlier this year when

    a well-known “Web 3” video game, Axie Infinity, was hacked and $620 million in the

    cryptocurrency ether was stolen. “Chainalysis estimates that North Korea stole approximately $1

    billion in the first nine months of 2022 from decentralized crypto exchanges alone,” one of the

    reasons why Anne Neuberger, US deputy national security adviser for cyber security, said in July

    2022 that North Korea “uses cyber to gain …. up to a third of their funds for their missile

    program.” 50

               194.   Cryptocurrency has also fueled a surge in ransomware that has victimized

    American businesses, health care systems, and state and local governments. In May of 2022, the

    majority staff on the Homeland Security & Governmental Affairs Committee released a startling

    report on ransomware. 51 The report notes that in 2021, “ransomware attacks impacted at least

    2,323 local governments, schools, and healthcare providers in the United States” and that the FBI



    47
      Virtual Currencies: Additional Information Could Improve Federal Agency Efforts to Counter
    Human and Drug Trafficking [Reissued with Revisions Feb. 7, 2022] | U.S. GAO (accessed May
    11, 2023).
    48
       Russia Could Use Cryptocurrency to Mitigate U.S. Sanctions - The New York Times
    (nytimes.com) (accessed May 11, 2023), Iran Plans Uses Crypto for Imports to Get Around
    Sanctions (gizmodo.com) (accessed May 11, 2023), This is how North Korea uses cutting-edge
    crypto money laundering to steal millions | MIT Technology Review(accessed May 11, 2023).
    49
      How North Korea became a mastermind of crypto cybercrime | Ars Technica (accessed May 11,
    2023).
    50
         Id.
    51
      HSGAC Majority Cryptocurrency Ransomware Report.pdf (senate.gov) (accessed May 11,
    2023).


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    “received 3,729 ransomware complaints with adjusted losses of more than $49.2 million.” The

    report acknowledges that these numbers underestimate the true scale of the problem because many

    ransomware victims do not report to authorities. As evidence, they cite data from blockchain

    analytics company Chainalysis that found “malign actors received at least $692 million in

    cryptocurrency extorted as part of ransomware attacks” in 2020. The report notes that

    “cryptocurrency, typically Bitcoin, has become a near universal form of ransom payment in

    ransomware attacks, in part, because cryptocurrency enables criminals to extort huge sums of

    money from victims across diverse sectors with incredible speed.” The link between

    cryptocurrency and ransomware became clear to the public in the wake of the Colonial Pipeline

    hack in May 2021, which disrupted gasoline supplies in the southeastern U.S. In the wake of that

    breach, several commentators argued for a ban, or heavy regulation, of cryptocurrency. 52

               195.   Everyday consumers have also fallen victim to various cryptocurrency-related

    scams. The Consumer Financial Protection Bureau (CFPB) published 2,404 cryptocurrency related

    consumer complaints in its Consumer Complaint Database during 2021, and more than 1,000

    cryptocurrency-related complaints during 2022 year-to-date. 53 According to the September DoJ

    report: “The CFPB has also received hundreds of servicemember complaints involving

    cryptocurrency assets or exchanges in the last 12 months, approximately one-third of which

    concerned frauds or scams.” 54 In June 2022, the Federal Trade Commission issued a report finding

    that “since the start of 2021 more than 46,000 people have reported losing over $1 billion in crypto

    to         scamshttps://www.ftc.gov/news-events/data-visualizations/data-spotlight/2022/06/reports-


    52
         Ban Cryptocurrency to Fight Ransomware - WSJ (accessed May 11, 2023).
    53
     Justice Department Announces Report on Digital Assets and Launches Nationwide Network |
    OPA | Department of Justice (accessed May 11, 2023).
    54
         Id.


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    show-scammers-cashing-crypto-craze – that’s about one out of every four dollars reported lost,

    more than any other payment method.” 55 The median individual loss was a staggering $2,600.

             196.   Another September 2022 report from the Treasury Department, issued pursuant to

    the Executive Order, also called out the risks and harms to consumers from cryptocurrency:

             “Consumers and investors are exposed to improper conduct in the crypto-asset
             ecosystem for a variety of reasons, including a lack of transparency as well as the
             fact that crypto-assets have relatively novel and rapidly developing applications.
             This leads to frequent instances of operational failures, market manipulation,
             frauds, thefts, and scams. While the data for populations vulnerable to disparate
             impacts remains limited, available evidence suggests that crypto-asset products
             may present heightened risks to these groups, and the potential financial inclusion
             benefits of crypto-assets largely have yet to materialize.” 56

             197.   There is also a long history of consumer losses associated with centralized

    exchanges, FTX being the latest. One of the first cryptocurrency exchange failures was Japan-

    based Mt. Gox in 2014. Mt. Gox was handling over 70% of bitcoin transactions worldwide by the

    time it ceased operations after the exchange was hacked and the majority of cryptocurrency held

    by the exchange on behalf of customers was stolen. Creditors to Mt. Gox are still waiting for their

    funds, a sign that does not bode well for FTX creditors, to the extent they seek recovery directly

    from the FTX Group through the bankruptcy proceedings. 57

             198.   All of the above-mentioned problems with cryptocurrency are well known and one

    of the big reasons why consumers are hesitant to purchase or use cryptocurrency. According to

    Pew Research, 16% of Americans have invested in cryptocurrency while another 71% are not




    55
       Reports show scammers cashing in on crypto craze | Federal Trade Commission (ftc.gov)
    (accessed May 11, 2023).
    56
     Crypto-Assets: Implications for Consumers, Investors, and Businesses (treasury.gov) (accessed
    May 11, 2023).
    57
         What to Watch in the FTX Bankruptcy as Details Remain Scarce - WSJ


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    invested although they have heard at least a little about cryptocurrency. 58 For those in the latter

    group, concerns around fraud and scams are likely playing a role in their resistance to crypto

    investing.

              199.   For those who choose to invest in cryptocurrency, the damages can be

    overwhelming, as with the FTX fraud. The losses sustained by SBF’s victims are staggering. FTX

    stole more than $8 billion in Class Member funds, the bulk of which has now vanished. Many

    Class Members came of working age in the recession and, later, the COVID-19 pandemic, and as

    a result have spent their lives working long hours for low wages, often across multiple jobs or in

    the gig economy. Unlike Defendants, these Class Members do not have money to burn. They are

    not “crypto-bros.” They are financially vulnerable, and SBF, with the help of his co-conspiring

    Defendants, exploited their vulnerability for tremendous financial gain. Now, while SBF rests

    comfortably at his parents’ home in Palo Alto, flush with the resources to post $250 million bail,

    SBF’s victims are left with nothing.

    H.        The SEC’s Approach to Cryptocurrency.

                     I.     Overview

              200.   Despite the crypto industry’s cries for “regulatory clarity,” the SEC’s stance on

    cryptocurrency has been clear and consistent from the beginning. Critics of the SEC’s stance

    toward cryptocurrency overlook an important aspect of U.S. securities law – securities regulation

    is not meant to be precise but is instead intentionally drafted to be broad and all-encompassing;

    clarity is not just uncommon; it is deliberately avoided. This is why the definitions of “security”

    in Section 2(a)(1) of the Securities Act of 1933 (Securities Act), 15 U.S.C. 77b(a)(1), and Section

    3(a)(10) of the Securities Exchange Act of 1934 (Exchange Act), 15 U.S.C. 78c(a)(10), include


    58
         46% of cryptocurrency investors in US say it did worse than expected | Pew Research Center


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    not only conventional securities, such as “stock[s]” and “bond[s],” but also the more general term

    “investment contract.”

           201.    Along these lines, in Reves v. Ernst & Young, the Supreme Court stated that:

           “The fundamental purpose undergirding the Securities Acts is ‘to eliminate serious
           abuses in a largely unregulated securities market.’ United Housing Foundation,
           Inc. v. Forman, 421 U.S. 837, 421 U.S. 849 (1975). In defining the scope of the
           market that it wished to regulate, Congress painted with a broad brush. It
           recognized the virtually limitless scope of human ingenuity, especially in the
           creation of ‘countless and variable schemes devised by those who seek the use
           of the money of others on the promise of profits, SEC v. W.J. Howey Co., 328
           U.S. 293, 328 U.S. 299 (1946), and determined that the best way to achieve its goal
           of protecting investors was ‘to define the term ”security” in sufficiently broad and
           general terms so as to include within that definition the many types of instruments
           that in our commercial world fall within the ordinary concept of a security.’ . . .
           Congress therefore did not attempt precisely to cabin the scope of the Securities
           Acts . . . Rather, it enacted a definition of ‘security’ sufficiently broad to encompass
           virtually any instrument that might be sold as an investment.” (emphasis added)” 59

           202.    Crafted to contemplate not only known securities arrangements at the time, but also

    any prospective instruments created by those who seek the use of others’ money on the promise

    of profits, the definition of “security” is broad, sweeping, and designed to be flexible to capture

    new instruments that share the common characteristics of stocks and bonds. As Supreme Court

    Justice (and former SEC Commissioner (1935) and Chair (1936-37)) William O. Douglas opined

    in Superintendent of Insurance v. Bankers Life and Casualty Co.:

           “We believe that section 10(b) and Rule 10b-5 prohibit all fraudulent schemes in
           connection with the purchase or sale of securities, whether the artifices employed
           involve a garden type variety fraud, or present a unique form of deception. Novel
           or atypical methods should not provide immunity from the securities laws.”

           203.    Federal courts have already confirmed the SEC’s jurisdiction in numerous crypto-

    related emergency asset freeze hearings where the issue is always considered and affirmed, same


    59
     https://scholar.google.com/scholar_case?case=18068523124125938239&q=Reves+v.+Ernst+
    %26+Young&hl=en&as_sdt=400006&as_vis=1 (accessed May 11, 2023).


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    as it has been by hundreds of federal courts across the country since the Howey Decision, which

    the Supreme Court adopted over 75 years ago. 60 That decision resulted in the Howey Test, which

    is used to determine the presence of an investment contract. The Howey Test stipulates that an

    investment contract exists if there is an “investment of money in a common enterprise with a

    reasonable expectation of profits to be derived from the efforts of others.” 61 The Howey Test is the

    principal method used by the SEC to determine if a given cryptocurrency is a security.

               204.   The SEC has used multiple distribution channels to share its message and concerns

    regarding crypto, digital trading platforms, initial coin offerings, and other digital asset products

    and services over the past decade. The SEC first made investors aware of the dangers of investing

    in cryptocurrency in 2013 when the Office of Investor Education and Advocacy issued an Investor

    Alert on “Ponzi Schemes Using Virtual Currencies.” 62

               205.   A year later, the same office issued an Investor Alert on “Bitcoin and Other Virtual

    Currency-Related Investments.” 63 In 2017, the Commission took the rare step of releasing a

    Section 21(a) Report of Investigation that looked at the facts and circumstances of The DAO,

    which offered and sold approximately 1.15 billion DAO Tokens in exchange for a total of

    approximately 12 million Ether (“ETH”) over a one-month period in 2016. 64 The SEC applied the

    Howey Test to the DAO tokens and concluded they were securities under the Securities Act of

    1933 (“Securities Act”) and the Securities Exchange Act of 1934 (“Exchange Act”). While The



    60
         https://supreme.justia.com/cases/federal/us/328/293/ (accessed May 11, 2023).
    61
         Id.
    62
         ia_virtualcurrencies.pdf (sec.gov) (accessed May 11, 2023).
    63
     Investor Alert: Bitcoin and Other Virtual Currency-Related Investments | Investor.gov (accessed
    May 11, 2023).
    64
         https://www.sec.gov/litigation/investreport/34-81207.pdf (accessed May 11, 2023).


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    DAO, and DAO tokens, were no longer operational at the time due to a high-profile hack that

    resulted in the theft of most DAO tokens, the Commission chose to release the report so as “to

    advise those who would use a Decentralized Autonomous Organization (“DAO Entity”), or other

    distributed ledger or blockchain-enabled means for capital raising, to take appropriate steps to

    ensure compliance with the U.S. federal securities laws.” 65

             206.   In 2019, the SEC released a “Framework for “Investment Contract” Analysis of

    Digital Assets” which provided additional details on when a digital asset has the characteristics of

    an investment contract and “whether offers and sales of a digital asset are securities transactions.”66

             207.   In addition, the SEC has publicized its position on cryptocurrency in

    countless enforcement      actions, 67   multiple speeches, 68 Congressional      testimony,69     and

    several official SEC statements 70 and proclamations. 71 Current SEC Chairman, Gary Gensler, has

    spoken frequently about the perils and illegality of crypto lending platforms and decentralized




    65
     Report of Investigation Pursuant to Section 21(a) of the Securities Exchange Act of 1934: The
    DAO (accessed May 11, 2023).
    66
      SEC.gov | Framework for “Investment Contract” Analysis of Digital Assets (accessed May 11,
    2023).
    67
         SEC.gov | Crypto Assets and Cyber Enforcement Actions (accessed May 11, 2023).
    68
      https://www.sec.gov/news/speech/gensler-aspen-security-forum-2021-08-03 (accessed May 11,
    2023).
    69
         https://www.sec.gov/news/testimony/gensler-2021-05-26 (accessed May 11, 2023).
    70
      https://www.sec.gov/news/public-statement/statement-clayton-2017-12-11 (accessed May 11,
    2023).
    71
         https://www.sec.gov/news/public-statement/enforcement-tm-statement-potentially-unlawful-
    online-platforms-trading (accessed May 11, 2023).


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    finance, 72 warning that their failure to register with the SEC may violate U.S. securities laws. 73 In

    one interview, Gensler said:

               “The law is clear, it’s not about waving a wand. Congress spoke about this in 1934 . . .
               When a [digital] platform has securities on it, it is an exchange, and it’s a question of
               whether they’re registered or they’re operating outside of the law and I’ll leave it at
               that.” 74

               208.   On September 8, 2022, Chair Gensler gave a speech reflecting on the flexibility of

    the securities laws and the SEC’s consistency in applying these laws to cryptocurrency. 75 Gensler

    noted that of the 10,000 different cryptocurrencies in the market, “the vast majority are securities,”

    a position that was also held by his predecessor, Jay Clayton. 76 Gensler went on to note that the

    SEC has spoken with a “pretty clear voice” when it comes to cryptocurrency “through the DAO

    Report, the Munchee Order, and dozens of Enforcement actions, all voted on by the Commission”

    and that “[n]ot liking the message isn’t the same thing as not receiving it.” 77

               209.   The judicial record supports Chair Gensler’s assertions. The SEC has taken over

    100 crypto-related enforcement actions and has not lost a single case. 78

               210.   What follows are summaries of five cases that will help inform this litigation.




    72
       https://www.theblock.co/post/113416/gensler-speech-crypto-defi-lending-sec (accessed May
    11, 2023).
    73
         https://ca.finance.yahoo.com/news/crypto-platforms-dont-register-with-sec-outside-the-law-
    gensler- 164215740.html (accessed May 11, 2023).
    74
       https://www.theblock.co/post/113416/gensler-speech-crypto-defi-lending-sec (accessed May
    11, 2023).
    75
         SEC.gov | Kennedy and Crypto (accessed May 11, 2023).
    76
         Id.
    77
         Id.
    78
         SEC Cryptocurrency Enforcement: 2021 Update (cornerstone.com) (accessed May 11, 2023).


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                    II.     SEC v. KIK

             211.   In Kik 79, the SEC’s complaint 80, filed in the U.S. District Court for the Southern

    District of New York on June 4, 2019, alleged that Kik sold digital asset securities to U.S. investors

    without registering their offer and sale as required by the U.S. securities laws. Kik argued that the

    SEC’s lawsuit against it should be considered “void for vagueness.” 81

             212.   The court granted the SEC’s motion for summary judgment on September 30, 2020,

    finding that undisputed facts established that Kik’s sales of “Kin” tokens were sales of investment

    contracts (and therefore of securities) and that Kik violated the federal securities laws when it

    conducted an unregistered offering of securities that did not qualify for any exemption from

    registration requirements. The court further found that Kik’s private and public token sales were a

    single integrated offering.

                    III.    SEC v. Telegram

             213.   In Telegram, 82 the SEC filed a complaint 83 on October 11, 2019, alleging that the

    company had raised capital to finance its business by selling approximately 2.9 billion “Grams” to

    171 initial purchasers worldwide. The SEC sought to preliminarily enjoin Telegram from

    delivering the Grams it sold, which the SEC alleged were securities that had been offered and sold

    in violation of the registration requirements of the federal securities laws.




    79
         https://www.sec.gov/news/press-release/2020-262 (accessed May 11, 2023).
    80
         https://www.sec.gov/news/press-release/2019-87 (accessed May 11, 2023).
    81
          https://www.financemagnates.com/cryptocurrency/news/sec-seeks-to-block-kik-subpoenas-
    refutes-void-for-vagueness-claim/ (accessed May 11, 2023).
    82
         https://www.sec.gov/news/press-release/2020-146 (accessed May 11, 2023).
    83
         https://www.sec.gov/news/press-release/2019-212 (accessed May 11, 2023).


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            214.    Telegram argued 84 that the SEC has “engaged in improper ‘regulation by

    enforcement’ in this nascent area of the law, failed to provide clear guidance and fair notice of its

    views as to what conduct constitutes a violation of the federal securities laws, and has now adopted

    an ad hoc legal position that is contrary to judicial precedent and the publicly expressed views of

    its own high-ranking officials.”

            215.    On March 24, 2020, the U.S. District Court for the Southern District of New York

    issued a preliminary injunction 85 barring the delivery of Grams and finding that the SEC had

    shown a substantial likelihood of proving that Telegram’s sales were part of a larger scheme to

    distribute the Grams to the secondary public market unlawfully.

            216.    Without admitting or denying the allegations in the SEC’s complaint, the

    defendants consented to the entry of a final judgment enjoining them from violating the registration

    provisions of Sections 5(a) and 5(c) of the Securities Act of 1933. The judgment ordered the

    defendants to disgorge, on a joint and several basis, $1,224,000,000.00 in ill-gotten gains from the

    sale of Grams, with credit for the amounts Telegram pays back to initial purchasers of Grams. It

    also ordered Telegram Group Inc. to pay a civil penalty of $18,500,000. For the next three years,

    Telegram is further required to give notice to the SEC staff before participating in the issuance of

    any digital assets.




    84
          https://www.financemagnates.com/cryptocurrency/news/sec-vs-telegram-will-gram-tokens-
    ever-be-distributed/ (accessed May 11, 2023).
    85
      SEC v. Telegram: A Groundbreaking Decision in Cryptocurrency Enforcement? | Insights |
    Greenberg Traurig LLP (gtlaw.com) (accessed May 11, 2023).


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                     IV.    SEC v. BlockFi

              217.   In BlockFi Lending LLC, the first SEC case ever involving a crypto-lending

    program, on February 22, 2022, the SEC charged BlockFi 86with failing to register the offers and

    sales of its retail crypto-lending product and also charged BlockFi with violating the registration

    provisions of the Investment Company Act of 1940.

              218.   BlockFi argued for “increased regulatory clarity” but lost. 87

              219.   To settle the SEC’s charges, BlockFi agreed to pay a $50 million penalty, cease its

    unregistered offers and sales of the lending product, BlockFi Interest Accounts (BIAs), and bring

    its business within the provisions of the Investment Company Act within 60 days. BlockFi’s parent

    company also announced that it intends to register under the Securities Act of 1933 the offer and

    sale of a new lending product. In parallel actions, BlockFi agreed to pay an additional $50 million

    in fines to 32 states to settle similar charges.

                     V. SEC Wells Notice to Coinbase
              220.   In 2021, Coinbase began marketing a cryptocurrency lending product called Lend.

    The Lend program purported to allow some Coinbase customers to ”earn interest on select assets

    on Coinbase, starting with 4% APY on USD Coin (USDC).” 88 According to Coinbase, its lawyers

    reached out to the SEC to discuss its Lend product, at which point SEC staff instead served

    Coinbase with a Wells Notice, informing Coinbase of their intention to seek approval from the

    SEC Commissioners to file a civil enforcement action against Coinbase for violating the federal

    securities laws.


    86
         https://lnkd.in/d-Xy45ec (accessed May 11, 2023).
    87
         https://blockfi.com/pioneering-regulatory-clarity (accessed May 11, 2023).
    88
      The SEC has told us it wants to sue us over Lend. We don’t know why. - Blog (coinbase.com)
    (accessed May 11, 2023).


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               221.   According to Coinbase, the SEC issued the Wells Notice because of Coinbase’s

    failure to file a registration statement with the SEC for the offering of its Lend product, which the

    SEC believed was a security. 89

               222.   The two cases that Coinbase claims the SEC cites as support for its Wells Notice

    are SEC v. Howey and Reves v. Ernst & Young. Reves addressed the question of whether a product

    is a “note” and hence a security (applying the so-called “Familial Resemblance Test”).

               223.   Under the Lend program, Coinbase customers were clearly investing “money” at

    Coinbase and placing their faith in Coinbase to generate a profit for them. Lend investors would

    have no say in how Coinbase runs the Lend program and Coinbase was not going to permit Lend

    investors to participant in Lend-related decisions. Given these facts, Lend was clearly an

    investment contract.

               224.   Under Reves, Lend may have also been a “note” and hence a security. Although the

    term “note” is included in the statutory definition of a security, case law has determined that not

    every “note” is a security. The definition specifically excludes notes with a term of less than nine

    months and courts have carved out a range of exemptions over the years for commercial paper

    type notes such as purchase money loans and privately negotiated bank loans. To reconcile these

    varying cases, the U.S. Supreme Court in Reves established the “family resemblance test,” to

    determine whether a note is a security.

               225.   Per the “family resemblance test,” a presumption that a note is a security can only

    be rebutted if the note bears a resemblance to one of the enumerated categories on a judicially

    developed list of exceptions, as follows: 1) a note delivered in consumer financing; 2) a note

    secured by a mortgage on a home; 3) a short-term note secured by a lien on a small business or


    89
         Id.


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    some of its assets; 4) a note evidencing a character loan to a bank customer; 5) a short-term note

    secured by an assignment of accounts receivable; and 6) a note which simply formalizes an open-

    account debt incurred in the ordinary course of business (such as a trade payable for office

    supplies); and vii) a note evidencing loans by commercial banks for current operations.

             226.   The “family resemblance” analysis requires:

         •   A consideration of the motivation of the seller and buyer (e.g. is the seller looking for

             investment and the buyer looking for profit?);

         •   The plan of distribution of the note (e.g. is the product being marketed as an investment?);

         •   The expectation of the creditor/investor (e.g. would the investing public reasonably expect

             the application of the securities laws to the product); and

         •   The presence of an alternative regulation (e.g. will the product be registered as a banking

             product and the offered registered as a bank?).

             227.   Applying the family resemblance test to Lend reveals the presence of a note. First,

    Coinbase likened the Lend program to that of a savings account, where the Lend customer is

    looking for a profitable investment and Coinbase is looking for investors. Second, Coinbase

    marketed the Lend program as an investment. Third, investors would expect that securities

    regulation applies. Fourth, Coinbase is not a bank, so their so-called savings account falls under

    no other regulatory jurisdiction and protection.

             228.   Given the clear facts of the case, Coinbase decided to cancel the Lend program. 90




    90
      https://www.theverge.com/2021/9/20/22684169/coinbase-crypto-lend-feature-discontinued-
    sec-lawsuit-threats (accessed June 27, 2023).


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                     VI. SEC v. Binance
              229.   In Binance, the SEC filed a complaint 91 on June 5, 2023, in the United States

    District Court for the District of Columbia against several of the Binance entities including

    Binance.com, U.S.-based affiliates, and the founder Changpeng Zhao. The SEC alleges that

    Binance.com and the other defendants violated thirteen securities laws, including selling various

    unregistered securities and a staking-as-a-service program; operating an unregistered exchange,

    broker-dealer, and clearing agency across interstate lines; covertly controlling Binance.US to

    evade U.S. securities laws; secretly allowing U.S. high-value traders to remain on the international

    platform; and commingling billions of U.S. assets with Zhao-owned entities. The SEC seeks a

    preliminary injunction to, among other relief, freeze and repatriate defendants’ U.S. assets. The

    SEC also seeks to permanently enjoin defendants from directly or indirectly violating the

    Exchange and Securities Acts, disgorge illegal gains, and award civil damages.

                     VII. SEC v. Coinbase
              230.   In Coinbase, the SEC filed a complaint 92 on June 6, 2023, in the United States

    District Court for the Southern District of New York against Coinbase and Coinbase Global. The

    SEC alleges that the Coinbase entities have violated multiple securities laws, including making

    billions of dollars from selling various unregistered securities and a staking-as-a-service program;

    and operating an unregistered exchange, broker-dealer, and clearing agency across interstate lines.

    The SEC seeks to permanently enjoin defendants from directly or indirectly violating the Exchange

    and Securities Acts, disgorge illegal gains, and award civil damages. “Coinbase was fully aware




    91
         https://www.sec.gov/files/litigation/complaints/2023/comp-pr2023-101.pdf.
    92
          https://www.sec.gov/litigation/complaints/2023/comp-pr2023-102.pdf.


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    of the applicability of the federal securities laws to its business activities, but deliberately refused

    to follow them,” stated Gurbir S. Grewal, Director of the SEC’s Division of Enforcement. 93

                    VIII. SEC v. Terraform Labs Pte. Ltd.

             231.   In one of the most recent developments in the crypto space, on July 31, 2023, Judge

    Jed Rakoff in the Southern District of New York entered an order denying a motion to dismiss

    claims that defendants, a crypto-assets company and its founder, were responsible for a

    multibillion-dollar fraud that involved the development, marketing, offer and sale of crypto-assets

    that the SEC alleged were unregistered securities. SEC v. Terraform Labs Pte. Ltd., et al., No 1:23-

    cv-01346-JSR, ECF No. 51 (S.D.N.Y. July 31, 2023). 94

             232.   This is a significant ruling for several reasons.

             233.   First, it supports the fact that YBAs and FTT are unregistered securities.

             234.   Second, Judge Rakoff explicitly rejects a key component of his colleague, Judge

    Analisa Torres’ reasoning in her order on cross-motions for summary judgment in SEC v. Ripple

    Labs, Inc., et al., No. 1:20-cv-10832, ECF No. 874 (S.D.N.Y. July 13, 2023), which drew a

    distinction between crypto-assets sold directly by the issuer and on the secondary market. 95

             235.   Third, Judge Jed Rakoff is a highly regarded jurist who is considered an expert in

    securities law and business law. In fact, Todd Baker, an attorney and Senior Fellow at the Richman

    Center for Business, Law & Public Policy at Columbia Business and Law Schools called Judge




    93
         https://www.sec.gov/news/press-release/2023-102.
    94

    https://storage.courtlistener.com/recap/gov.uscourts.nysd.594150/gov.uscourts.nysd.594150.51.0
    _1.pdf (accessed August 6, 2023).
    95
         https://assets.bwbx.io/documents/users/iqjWHBFdfxIU/rVqyLFyEZnz8/v0


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    Rakoff, in a Financial Times article, the “[T]he most respected securities authority in the federal

    judiciary.” 96

             236.    The relevant points of comparison in Judge Rakoff’s decision to the FTX MDL are

    his analysis around the Luna token and UST stablecoin, which bear similarities to the FTT token

    and YBAs, respectively.

             237.    With respect to the Luna token, Judge Rakoff found that a common enterprise and

    expectation of profit existed because Terraform labs used proceeds from LUNA coin sales to

    develop the Terraform blockchain and represented that that these improvements would increase

    the value of the Luna tokens. This is similar to the FTT token, which was an exchange token.

    Given FTT’s features, it was clearly designed to go up in value as the FTX platform grew and

    became more popular with crypto traders. In fact, in their complaint alleging, amongst other things,

    that FTT is an unregistered security, the SEC states:

             FTX used the pooled proceeds from FTT sales to fund the development, marketing,
             business operations, and growth of FTX, depending on the success of FTX and its
             management team in developing, operating, and marketing the trading platform. If
             demand for trading on the FTX platform increased, demand for the FTT token could
             increase, such that any price increase in FTT would benefit holders of FTT equally
             and in direct proportion to their FTT holdings. The large allocation of tokens to
             FTX incentivized the FTX management team to take steps to attract more users
             onto the trading platform and, therefore, increase demand for, and increase the
             trading price of, the FTT token. 97
             The SEC makes a similar allegation with respect to Luna in the Terraform Labs action and

    Judge Rakoff sides with the SEC. From his decision:

             The SEC’s theory for horizontal commonality as to these other coins, however,
             rests on a different but equally plausible theory. As to the LUNA tokens, for
             instance, the SEC has demonstrated horizontal commonality by alleging that the
             defendants’ used proceeds from LUNA coin sales to develop the Terraform

    96
         https://www.ft.com/content/5e5a3c4a-7508-4db8-ab23-1ff17c87c880
    97
         comp-pr2022-234.pdf (sec.gov)


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              blockchain and represented that these improvements would increase the value of
              the LUNA tokens themselves. See Amended Complaint ¶¶ 46-47, 49-51. In other
              words, by alleging that the defendants “pooled” the proceeds of LUNA purchases
              together and promised that further investment through these purchases would
              benefit all LUNA holders, the SEC has adequately pled that the defendants and the
              investors were joined in a common, profit-seeking enterprise. 98

              238.       Also, of relevance to the FTX MDL is Judge Rakoff’s conclusion that the

    algorithmic stablecoin, UST, also met the Howey standard for investment contracts. Note that this

    is the first time the SEC has alleged that a stablecoin is an investment contract, and the SEC’s

    reasons for making this allegation also support the assertion that YBAs are securities.

              239.       While UST, like most stablecoins, was supposed to be tied one-for-one to the US

    dollar, Terraform and Kwon marketed “UST coins as profitable investment opportunities—as

    opposed to just stable stores of value—in meetings with U.S. investors, investment conferences in

    major U.S. cities, and on social media platforms.” 99

              240.       Then, in 2021, Terraform launched the “Anchor Protocol” which was an

    “investment pool into which owners of UST coins could deposit their coins and earn a share of

    whatever profits the pool generated.”

              241.       Judge Rakoff found that “the fact that most of the UST coins were deposited in the

    Anchor Protocol independently rendered these tokens investment contracts, indeed investments

    that were touted as being capable of being able to generate future profits of as much as 20%.”100

    Judge Rakoff goes on to say:

              In essence, the UST tokens were allegedly “pooled” together in the Anchor Protocol
              and, through the managerial efforts of the defendants, were expected to generate



    98
         https://assets.bwbx.io/documents/users/iqjWHBFdfxIU/rwwEEo0YbENc/v0 at 36
    99
         Id. at Page 4
    100
          Id. at Page 34


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              profits that would then be re-distributed to all those who deposited their coins into
              the Anchor Protocol—in other words, on a pro-rata basis.” 101

              242.    This closely resembles the facts surrounding YBAs and Judge Rakoff’s finding that

    UST met the requirements for an investment contract supports the conclusion that YBAs are also

    unregistered securities.

              243.    Judge Rakoff also explicitly rejects a key element of Judge Torres’ analysis in the

    Ripple decision, stating:

              It may also be mentioned that the Court declines to draw a distinction between these
              coins based on their manner of sale, such that coins sold directly to institutional
              investors are considered securities and those sold through secondary market
              transactions to retail investors are not. In doing so, the Court rejects the approach
              recently adopted by another judge of this District in a similar case, SEC v. Ripple
              Labs Inc., 2023 WL 4507900 (S.D.N.Y. July 13, 2023). 102

              244.    Judge Rakoff goes on to explain that Howey and its progeny never made such a

    distinction, nor does it matter, for purposes of Howey analysis, whether a purchaser “bought the

    coins directly from the defendants or, instead, in a secondary resale transaction.” 103

              245.    After noting that “in theory, the tokens, if taken by themselves, might not qualify

    as investment contracts,” Judge Rakoff evaluated—“as the Supreme Court did in Howey”—

    “whether the crypto-assets and the ‘full set of contracts, expectations, and understandings centered

    on the sales and distribution of [these tokens]’ amounted to an ‘investment contract’ under federal

    securities laws.” 104




    101
          Id. at Page 36
    102
          Id. at 40
    103
          Id. at 41
    104
          Id. at 32–33.


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             246.   Judge Rakoff’s rejection of the Ripple decision’s secondary market distinction and

    fulsome Howey analysis support Plaintiffs’ assertion that FTT and YBAs are unregistered

    securities. FTT purchasers, on the FTX Platform or elsewhere, did not necessarily know who the

    seller was. But, as Judge Rakoff explains, knowledge of the seller’s identity is not necessary to

    prove that purchasers expected profits based on the efforts of FTX, who is the issuer of these

    assets, and not simply a platform where the assets traded.

    I.       FTX’s offer and sale of YBAs, which are unregistered securities.

             247.    Beginning in 2019, the FTX Group began offering the YBAs to public investors

    through its Earn program. Plaintiff and other similarly situated individuals invested in FTX’s

    YBAs.

             248.   The details of the Earn program are still listed on the FTX website, 105 and additional

    information on Earn is described in a declaration submitted in the Voyager Chapter 11 proceedings

    by Joseph Rotunda, Director of Enforcement of the Texas State Securities Board, on October 14,

    2022. 106

             249.   Under the section titled “How can I earn yield on my FTX deposits?” on the FTX

    website, the company describes the Earn program thusly:

             “You can now earn yield on your crypto purchases and deposits, as well as your
             fiat balances, in your FTX app! By opting in and participating in staking your
             supported assets in your FTX account, you’ll be eligible to earn up to 8% APY on
             your assets.” 107

             250.   On the same webpage, the company also states:



    105
          FTX App Earn – FTX Exchange (accessed May 11, 2023).
    106
          1175310142280000000134.pdf (stretto.com) (accessed May 11, 2023).
    107
          FTX App Earn – FTX Exchange (accessed May 11, 2023).


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                The first $10,000 USD value in your deposit wallets will earn 8% APY. Amounts
                held above $10,000 up to $100,000 USD in value (subject to market fluctuations)
                will earn 5% APY. 108

                251.   Nowhere on the website does FTX describe how this yield will be generated;

    readers are given the impression that the yield will come from “staking your supported assets in

    your FTX account” although nowhere does the company describe what staking actually is.

                252.   Staking is a technical concept that applies to the blockchain consensus mechanism

    called Proof of Stake, which some cryptocurrencies utilize. 109 Staking serves a similar function to

    cryptocurrency mining, in that it is the process by which a network participant gets selected to add

    the latest batch of transactions to the blockchain and earn some crypto in exchange. While the

    exact mechanism will vary from project to project, in general, users will put their token on the line

    (i.e., “stake”) for a chance to add a new block onto the blockchain in exchange for a reward. Their

    staked tokens act as a guarantee of the legitimacy of any new transaction they add to the

    blockchain. The network chooses validators based on the size of their stake and the length of time

    they’ve held it. Thus, the most invested participants are rewarded. If transactions in a new block

    are discovered to be invalid, users can have a certain amount of their stake burned by the network,

    in what is known as a slashing event. 110

                253.   Some within the crypto community argue that staking is not a security because it is

    simply part of the code by which specific cryptocurrencies operate. In other words, some argue

    that staking programs are different from lending programs because user assets are not actually

    being “lent” out to third parties. But in September 2022, SEC Chairman Gary Gensler told


    108
          Id.
    109
          For example, Ethereum, Tezos, Cosmos, Solana, and Cardano all use Proof of Stake.
    110
      The staking definition comes from the Coinbase website: What is staking? | Coinbase (accessed
    May 11, 2023).


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    reporters that “cryptocurrencies and intermediaries that allow holders to ‘stake’ their coins might

    pass” the Howey Test. 111 According to Gensler, “From the coin’s perspective…that’s another

    indicia that under the Howey test, the investing public is anticipating profits based on the efforts

    of others.” The Wall Street Journal noted that if an intermediary such as a crypto exchange offers

    staking services to its customers, Mr. Gensler said, it “looks very similar—with some changes of

    labeling—to lending.” 112

                254.   Based upon information – included and not included – on the FTX website, it does

    not appear that the company is adhering to the technical, commonly understood, definition of

    staking. See Ex. A ¶¶ 36–42. The most telling indicator is that the company permits any

    cryptocurrency listed on their platform to be eligible for staking, even coins that do not use Proof

    of Stake. Id. ¶ 39. The FTX website specifically states that Bitcoin and Dogecoin can generate

    yield under the Earn program, even though these coins use the Proof of Work consensus

    mechanism (meaning you CANNOT technically stake Bitcoin or Dogecoin). Therefore, it is not

    at all clear where the promised yield is coming from.

                255.   Applying Howey to the FTX Earn program reveals that Earn is an investment

    contract. An investment contract is present because users are clearly entrusting their funds to FTX.

    Users have to “opt-in” so that FTX may take possession over user assets and deploy them in a

    manner that will generate yield. As noted above, it is not clear how that yield is generated, but it

    is clear that FTX is deploying customer assets in a discretionary manner. Therefore, the efforts of

    FTX are instrumental in generating the users’ yield and of course users have an expectation of

    profit because FTX is advertising yields of up to 8% APY:



    111
          Ether’s New ‘Staking’ Model Could Draw SEC Attention - WSJ (accessed May 11, 2023).
    112
          Id.


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                 From a securities perspective, the Howey Test defines an investment contract as:
                    a. An investment of money
                          i.    Cryptocurrency is a medium of exchange and way of transferring
                                value in a measurable and quantifiable way. It is increasingly used
                                as a means of payment, although it is more commonly used as a
                                speculative investment at this point in time. Whether or not
                                cryptocurrency can be defined as ‘money’ is in part a matter of
                                semantics that can vary based on considers the fundamental features
                                of money to be, and what criteria needs to be achieved in order for
                                something to be considered money. Suffice to say, when examining
                                aspects such as fungibility, durability, portability, divisibility,
                                scarcity, transferability, acting as a medium of exchange, acting as
                                a unit of account, and acting as a store of value, it could be argued
                                that some cryptocurrencies fulfill many of these criterion as good as
                                or even better than fiat currencies.
                    b. In a common enterprise
                          i.    FTX customer assets are almost always consolidated in wallets
                                operated an controlled by FTX at least initially. These wallets are
                                typically referred to as ‘hot wallets’ or ‘consolidation wallets.’ From
                                these wallets, cryptocurrency can be move to other FTX-controlled
                                wallets, or it can be used to pay back other customers performing
                                withdrawals, but FTX can and did send (and loan) out such assets to
                                other entities, including Alameda ‘Alameda.’ The blockchains data
                                contains an immutable and verifiable record of data that shows that
                                FTX customer deposits went into accounts operated by a common
                                enterprise, namely, FTX.
                    c. With the expectation of profit
                          i.    FTX customers are promised yield when they participate in the Earn
                                program. And at up to 8% yield, that is a considerable amount that
                                would be considerably in excess to that of a savings account at a
                                bank. But it was also far riskier than investing money in a savings
                                account at a bank. FTX goes out of their way to advertise this yield,
                                and indicate that such earnings are to be calculated on the
                                “investment portfolio” that is stored ‘in’ the FTX app. 113
                    d. To be derived from the efforts of others
                          i.    The FTX Yield-bearing account was portrayed as passive income
                                stream. A customer needs to do nothing more than ensure they are
                                subscribed to the yield program, and that they have deposited assets
                                (of crypto or even fiat) in order to earn the 5% or 8% yield, which


    113
       https://help.ftx.com/hc/en-us/articles/10573545824532-FTX-App-Earn (accessed May 11,
    2023).


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                                    they clearly indicate is counted hourly. There is no further work or
                                    action needed on the part of the user.
                              ii.   The work that ‘others’ (namely FTX) would need to do would
                                    including, at a baseline, sending transactions. But it would also
                                    require FTX to make an effort by leveraging and investing the
                                    money elsewhere which could theoretically come about either via
                                    giving out loans, employing trading strategies, ‘staking,’ making
                                    other investments, or giving out loans to entities (such as Alameda)
                                    that would employ such strategies.

              256.   The FTX Earn program was most likely a note per Reves as well. First, FTX offered

    Earn to obtain crypto assets for the general use of its business, namely, to run its activities to pay

    interest to Earn investors, and users purchased YBAs and were automatically opted-in to Earn to

    receive interest on their crypto assets. Second, Earn was offered and sold to a broad segment of

    the general public. Third, FTX promoted Earn as an investment; on their website, FTX notes that

    Earn users will receive “yield earnings” on their “investment portfolio.” 114 Fourth, no alternative

    regulatory scheme or other risk reducing factors exist with respect to Earn. Note that the above

    analysis mirrors that provided by the SEC in their BlockFi order. 115

              257.   FTX maintains that it does not offer for sale any product that constitutes a

    “security” under federal or state law. Under federal securities laws as construed by the United

    States Supreme Court in its decision SEC v. W.J. Howey Co., 328 U.S. 293 (1946) and by the

    SEC, an investment contract is a form of security under United States securities laws when (1) the

    purchaser makes an investment of money or exchanges another item of value (2) in a common

    enterprise (3) with the reasonable expectation of profits to be derived from the efforts of others.

              258.   The YBAs were “securities” as defined by the United States securities laws and as

    interpreted by the Supreme Court, the federal courts, and the SEC. The FTX Group offered variable


    114
          FTX App Earn – FTX Exchange (accessed May 11, 2023).
    115
          https://www.sec.gov/news/press-release/2022-26 (accessed May 11, 2023).


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    interest rewards on crypto assets held in the YBAs on the FTX Platform, which rates were

    determined by the FTX Group in their sole discretion. In order to generate revenue to fund the

    promised interest, the FTX Group pooled the YBA assets to engage in lending and staking

    activities from which they derived revenue to pay interest on the YBAs. These activities make the

    YBAs a “security” under state and federal law.

            259.    On October 14, 2022, Director of Enforcement of the Texas State Securities Board,

    Joseph Rotunda, filed a declaration in the Chapter 11 bankruptcy proceedings pending in

    connection with the collapse of the Voyager Digital cryptocurrency exchange, In re: Voyager

    Digital Holdings, Inc., et al., Case No. 22-10943 (MEW), ECF No. 536 (Bankr. S.D.N.Y. Oct. 14,

    2022), in which he explained how the YBAs are in fact “an offering of unregistered securities in

    the form of yield-bearing accounts to the residents of the United States.” Id., at 6. In his declaration,

    the pertinent portions of which are reproduced in full for ease of reference, Rotunda explains:

                    I am also familiar with FTX Trading LTD (“FTX Trading”) dba FTX as described
            herein. As more fully explained throughout this declaration, I am aware that FTX Trading,
            along with West Realm Shires Services Inc. dba FTX US (“FTX US”), may be offering
            unregistered securities in the form of yield-bearing accounts to residents of the United
            States. These products appear similar to the yield-bearing depository accounts offered by
            Voyager Digital LTD et al., and the Enforcement Division is now investigating FTX
            Trading, FTX US, and their principals, including Sam Bankman-Fried.

                    I understand that FTX Trading is incorporated in Antigua and Barbuda and
            headquartered in the Bahamas. It was organized and founded in part by Mr. Bankman-
            Fried, and FTX Trading appears to be restricting operations in the United States. For
            example, domestic users accessing the webpage for FTX Trading at ftx.com are presented
            with a pop-up window that contains a disclaimer that reads in part as follows:

                           Did you mean to go to FTX US? FTX US is a US licensed
                    cryptocurrency exchange that welcomes American users.



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                          You’re accessing FTX from the United States. You won’t be able to
                   use any of FTX.com’s services, though you’re welcome to look around the
                   site.

                   FTX US claims to be regulated as a Money Services Business with FinCEN (No.
           31000195443783) and as a money transmitter, a seller of payment instruments and in other
           non-securities capacities in many different states. It is not, however, registered as a money
           transmitter or in any other capacity with the Texas Department of Banking and it is not
           registered as a securities dealer with the Texas State Securities Board.

                   FTX US owns 75 percent or more of the outstanding equity of FTX Capital Markets
           (CRD No. 158816) (“FTX Capital”), a firm registered as a broker-dealer with the United
           States Securities and Exchange Commission, the Financial Industry Regulatory Authority
           Inc., and 53 state and territorial securities regulators. FTX Capital’s registration as a dealer
           in Texas became effective on May 7, 2012, and the registration continues to remain in force
           and effect.

                   FTX US maintains a website at https://ftx.us that contains a webpage for
           smartphone applications for FTX (formerly Blockfolio)116 (the “FTX Trading App”) and
           FTX US Pro. Users appear able to click a link in this webpage to download the FTX
           Trading App even when they reside in the United States.

                   On October 14, 2022, I downloaded and installed the FTX Trading App on my
           smartphone. I created an account with FTX Trading through the FTX Trading App and
           linked the FTX account to an existing personal bank account. During the process, I
           provided my full first and last name and entered my residential address in Austin, Texas. I
           also accessed hyperlinks in the FTX Trading App that redirected to the Privacy Policy and
           Terms of Service. Although I was from the United States and was using the application




    116
       Based upon information and belief, FTX Trading acquired Blockfolio LLC (“Blockfolio”) in
    or around August 2020. At the time, Blockfolio managed a cryptocurrency application. FTX
    Trading appears to have thereafter rebranded Blockfolio and its smartphone application as FTX.
    Now, users can download the FTX Trading App from Apple’s App Store or Google’s Google Play
    Store. Although FTX rebranded Blockfolio, the application listing in Apple’s App Store still shows
    the application with developed by Blockfolio.


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          tied to FTX Trading, the Privacy Policy and Terms of Service were from FTX US - not
          FTX Trading.

                 I thereafter used the FTX Trading App to initiate the transfer of $50.00 from my
          bank account to the FTX account and then transferred .1 ETH from a 3.0 wallet to the FTX
          account. The transfer of funds from my bank account to the FTX account will take up to
          six days to complete but the transfer of ETH was processed within a few minutes.

                 The FTX Trading App showed that I was eligible to earn a yield on my deposits. It
          also explained the “Earn program is provided by FTX.US” – not FTX Trading. It also
          represented that “FTX Earn rewards are available for US users on a promotional basis.”

                 I recall the FTX Trading App’s default settings were automatically configured to
          enable the earning of yield. The application also contained a link for additional information
          about yield. I accessed the link and was redirected to a recent article published by
          “Blockfolio Rebecca” under help.blockfolio.com. The article began as follows:

                 You can now earn yield on your crypto purchases and deposits, as well as
                 your fiat balances, in your FTX Trading App! By opting in and participating
                 in staking your supported assets in your FTX account, you’ll be eligible to
                 earn up to 8% APY on your staked assets. THIS APY IS ESTIMATED
                 AND NOT GUARANTEED AS DESCRIBED BELOW.

                 The article also described the payment of yield. It contained a section titled How
          do you calculate APY? Does my balance compound daily? that read, in part, as follows:

                         FTX will deposit yield earnings from the staked coins, calculated
                 hourly, on the investment portfolio that is stored in your FTX Trading App.
                 Yield will be compounded on principal and yield you have already earned.
                 Any cryptocurrency that you have deposited on FTX as well as any fiat
                 balance you may have on your account, will earn yield immediately after
                 you have opted into the program.

                         The first $10,000 USD value in your deposit wallets will earn 8%
                 APY. Amounts held above $10,000 up to $10MM USD in value (subject to
                 market fluctuations) will earn 5% APY. In this scenario, your yield earned
                 on the coins will look something like the examples below the table.

                 The article also contained a section titled Is this available in my country? This
          section explained that “FTX Trading App Earn is available to FTX Trading App customers



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          that are in one of the FTX permitted jurisdictions.” It contained a hyperlink to an article
          titled Location Restrictions published by FTX Crypto Derivatives Exchange under
          help.ftx.com. This article described various restrictions on operations in certain countries
          and locations and read in part as follows:

                 FTX does not onboard or provide services to corporate accounts of entities
          located in, established in, or a resident of the United States of America, Cuba,
          Crimea and Sevastopol, Luhansk People’s Republic, Donetsk People’s Republic,
          Iran, Afghanistan, Syria, or North Korea. FTX also does not onboard corporate
          accounts located in or a resident of Antigua or Barbuda. FTX also does not onboard
          any users from Ontario, and FTX does not permit non-professional investors from
          Hong Kong purchasing certain products.

                  FTX does not onboard or provide services to personal accounts of current
          residents of the United States of America, Cuba, Crimea and Sevastopol, Luhansk
          People’s Republic, Donetsk People’s Republic, Iran, Afghanistan, Syria, North
          Korea, or Antigua and Barbuda. There may be partial restrictions in other
          jurisdictions, potentially including Hong Kong, Thailand, Malaysia, India and
          Canada. In addition, FTX does not onboard any users from Ontario, does not permit
          non-professional investors from Hong Kong purchasing certain products, and does
          not offer derivatives products to users from Brazil.

                 FTX serves all Japanese residents via FTX Japan.

                 (emphasis in original)

                 Despite the fact I identified myself by name and address, the FTX Trading App
          now shows that I am earning yield on the ETH. The yield is valued at 8 percent APR.

                 Based upon my earning of yield and an ongoing investigation by the Enforcement
          Division of the Texas State Securities Board, the yield program appears to be an investment
          contract, evidence of indebtedness and note, and as such appears to be regulated as a
          security in Texas as provided by Section 4001.068 of the Texas Securities Act. At all times
          material to the opening of this FTX account, FTX Trading and FTX US have not been
          registered to offer or sell securities in Texas. FTX Trading and FTX US may therefore be
          violating Section 4004.051 of the Texas Securities Act. Moreover, the yield program
          described herein has not been registered or permitted for sale in Texas as generally required
          by Section 4003.001 of the Securities Act, and as such FTX Trading and FTX US may be
          violation Section 4003.001 by offering unregistered or unpermitted securities for sale in
          Texas. Finally, FTX Trading and FTX US may not be fully disclosing all known material


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           facts to clients prior to opening accounts and earning yield, thereby possibly engaging in
           fraud and/or making offers containing statements that are materially misleading or
           otherwise likely to deceive the public. Certain principals of FTX Trading and FTX US may
           also be violating these statutes and disclosure requirements. Further investigation is
           necessary to conclude whether FTX Trading, FTX US and others are violating the
           Securities Act through the acts and practices described in this declaration.

                  The Enforcement Division of the Texas State Securities Board understands that
           FTX US placed the highest bid for assets of Voyager Digital LTD et al., a family of
           companies variously accused of misconduct in connection with the sale of securities similar
           to the yield program promoted by FTX Trading and FTX US. FTX US is managed by Sam
           Bankman-Fried (CEO and Founder), Gary Wang (CTO and Founder) and Nishad Singh
           (Head of Engineering). The same principals hold the same positions at FTX Trading, and
           I was able to access the yield-earning product after following a link to the FTX Trading
           App from FTX US’s website. The FTX Trading App also indicated the Earn program is
           provided by FTX US. As such, FTX US should not be permitted to purchase the assets of
           the debtor unless or until the Securities Commissioner has an opportunity to determine
           whether FTX US is complying with the law and related and/or affiliated companies,
           including companies commonly controlled by the same management, are complying with
           the law.

                  I hereby authorize the Texas Attorney General’s Office and any of its
           representatives to use this declaration in this bankruptcy proceeding.

                  I declare under penalty of perjury that the foregoing is true and correct.
                  Executed on October 14, 2022 in Austin, Texas.
                                                                 /s Joseph Jason Rotunda
                                                                 By: Joseph Jason Rotunda

    J.     FTX’s offer and sale of FTT Tokens, which are unregistered securities.

           260.   The FTT token that contributed to FTX’s demise is also an investment contract per

    the Howey Test. FTT is an exchange token created by FTX that entitles holders to benefits on the

    FTX exchange. According to crypto news site CoinDesk, “such benefits often include trading fee


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    discounts, rebates and early access to token sales held on the platform.” 117 Exchange tokens can

    be very profitable for their issuers because the exchanges that issue them tend to keep a significant

    number of tokens for themselves, which they can pump in price through speeches, social media

    posts, and other announcements. Economically, exchange tokes are akin to equity, although the

    holders of exchange tokens have no legal rights or interests in the issuer. As the exchange issuer

    grows in size and prominence, and trading volume increases on the exchange, the value of the

    exchange token will likely increase. Thus, the value of FTT increased as the FTX exchange became

    more well-known and utilized. 118

              261.   FTT passes the Howey Test because the token was controlled by FTX; the company

    could create or destroy FTT at will. And the value of FTT was based upon the success of FTX,

    therefore the “efforts” of others prong of the Howey Test is implicated. It is also clear that investors

    bought FTT because they thought it would go up in price; this is the same reason why most, if not

    all, investors buy any given cryptocurrency. In fact, Binance CEO Changpeng “CZ” Zhao agreed

    to accept FTT tokens as part of FTX’s buyout of Binance’s equity stake in FTX. 119

    K.        Using the FTX Platform itself necessarily required transacting in unregistered

              securities.

              262.   Another avenue through which FTX users may have been exposed to a securities

    transaction was through the basic structure of the FTX Platform.




    117
          https://www.coindesk.com/learn/what-is-an-exchange-token/ (accessed May 11, 2023).
    118
      See FTT price history here: https://coinmarketcap.com/currencies/ftx-token/ (accessed May 11,
    2023).
    119
           https://www.investors.com/news/binance-to-buy-ftx-international-operations-as-liquidity-
    crunch-sparks-crypto-selloff/ (accessed May 11, 2023).


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            263.    Despite cryptocurrency and blockchain’s foundational premise being the ability to

    transmit value peer-to-peer using a trustless and decentralized database that cannot be censured by

    any third party, cryptocurrency exchanges operate more like traditional banks.

            264.    When you buy Bitcoin through a centralized cryptocurrency exchange, there is no

    corresponding transaction to the Bitcoin blockchain. Rather, the exchange simply maintains its

    own database that indicates which cryptocurrencies it owes to its customers. This is similar to how

    banks operate. Money deposited in a checking account is not actually “ours.” The money becomes

    the bank’s and we are owed a debt by the bank which is governed by the terms and conditions of

    the account.

            265.    Cryptocurrency exchanges should then be in custody of enough cryptocurrency on

    the blockchain to cover what it owes customers. Custody can be done using hot or cold digital

    wallets (hot wallets are connected to the internet, cold wallets are not) with best practice being for

    exchanges to hold the majority of cryptocurrency (crypto which they are holding on behalf of

    customers) in multiple cold wallets. Best practice would also dictate that exchanges hold customer

    assets in separate wallets from exchange assets, and that each customer’s assets would be held in

    a distinct wallet.

            266.    According to the first day declaration by John Ray, FTX kept its crypto in a

    common pool used to fund undisclosed and unreasonably risky investments:

            The FTX Group did not keep appropriate books and records, or security controls,
            with respect to its digital assets. Mr. Bankman-Fried and [Alameda co-founder
            Gary] Wang controlled access to digital assets of the main businesses in the FTX
            Group (with the exception of LedgerX, regulated by the CFTC, and certain other
            regulated and/or licensed subsidiaries). Unacceptable management practices
            included the use of an unsecured group email account as the root user to access
            confidential private keys and critically sensitive data for the FTX Group companies
            around the world, the absence of daily reconciliation of positions on the blockchain,
            the use of software to conceal the misuse of customer funds, the secret exemption



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               of Alameda from certain aspects of FTX.com’s auto-liquidation protocol, and the
               absence of independent governance as between Alameda (owned 90% by Mr.
               Bankman-Fried and 10% by Mr. Wang) and the Dotcom Silo (in which third parties
               had invested).

               The Debtors have located and secured only a fraction of the digital assets of the
               FTX Group that they hope to recover in these Chapter 11 Cases. The Debtors have
               secured in new cold wallets approximately $740 million of cryptocurrency that the
               Debtors believe is attributable to either the WRS, Alameda and/or Dotcom Silos.
               The Debtors have not yet been able to determine how much of this cryptocurrency
               is allocable to each Silo, or even if such an allocation can be determined. These
               balances exclude cryptocurrency not currently under the Debtors’ control as a result
               of (a) at least $372 million of unauthorized transfers initiated on the Petition Date,
               during which time the Debtors immediately began moving cryptocurrency into cold
               storage to mitigate the risk to the remaining cryptocurrency that was accessible at
               the time, (b) the dilutive ‘minting’ of approximately $300 million in FTT tokens by
               an unauthorized source after the Petition Date and (c) the failure of the co-founders
               and potentially others to identify additional wallets believed to contain Debtor
               assets. 120

               267.   In the declaration, Mr. Ray presents several rough balance sheets for the various

   FTX silos, while noting that he does not have confidence in them, and that “the information therein

   may not be correct as of the date stated.” 121 Most telling is a footnote that appears on the balance

   sheets for the exchange businesses: “Customer custodial fund assets are comprised of fiat customer

   deposit balances. Balances of customer crypto assets deposited are not presented.” 122 Ray notes

   that U.S. and overseas exchanges “may have significant liabilities” but that “such liabilities are

   not reflected in the financial statements prepared while these companies were under the control of

   Mr. Bankman-Fried.” 123




   120
         042020648197.pdf (pacer-documents.s3.amazonaws.com) (accessed May 11, 2023).
   121
         Id.
   122
         Id.
   123
         Id.


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               268.   To further complicate matters, recent statements given by Sam Bankman-Fried to

   the Wall Street Journal (WSJ) suggest that about half of the balance owed by Alameda to FTX

   was from wire transfers that customers made to FTX via Alameda in the early days before FTX

   had a bank account. 124 This money was intended to fund customers’ accounts at FTX. Bankman-

   Fried claims some customers continued to use that route after FTX had a bank account and that

   over time, “FTX customers deposited more than $5 billion in those Alameda accounts.” 125 The

   WSJ acknowledged that these funds “could have been recorded in two places—both as FTX

   customer funds and as part of Alameda’s trading positions” and that “such double-counting would

   have created a huge hole in FTX’s and Alameda’s balance sheets, with assets that weren’t really

   there.” 126

               269.   The relationship between FTX and Alameda was critical to the exchange’s eventual

   collapse. After suffering large losses in the wake of several high profile crypto-firm failures in the

   spring and summer of 2022 (Alameda most likely was exposed to crypto hedge fund Three Arrows

   Capital), FTX.com lent out some of its customer assets that it did control to Alameda. 127

   Presumably, the exchange benefitted from the interest paid by Alameda for the loaned crypto assets

   – although some have suggested that the loans were made for free. 128 Alameda could then use the



   124
             https://www.wsj.com/articles/ftx-founder-sam-bankman-fried-says-he-cant-account-for-
   billions-sent-to-alameda-
   11670107659?st=g35ia0eu0bjwqzn&reflink=desktopwebshare_permalink (accessed May 11,
   2023).
   125
         FTX customers deposited more than $5 billion in those Alameda accounts.
   126
         Id.
   127
      https://newsletter.mollywhite.net/p/the-ftx-collapse-the-latest-revelations (accessed May 11,
   2023).
   128
       https://www.cnbc.com/2022/11/13/sam-bankman-frieds-alameda-quietly-used-ftx-customer-
   funds-without-raising-alarm-bells-say-sources.html (accessed May 11, 2023).


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   customer assets as cheap collateral for margined trades with other parties (obtaining collateral from

   other sources would have been much more expensive). 129

          270.    It appears that Alameda did post collateral to secure the loans of customer crypto

   assets that it received, but that collateral took the form of FTT tokens. FTT tokens were the so-

   called “native token” of the FTX exchange: FTX created FTT and issued it to both institutional

   and retail investors without registering with any regulator or undergoing any audit or other external

   due diligence. FTX could create unlimited amounts of FTT if it wished.

          271.    In short, there appear to have been two sets of leveraged transactions involved.

   First, Alameda borrowed assets from FTX’s customers, providing FTT tokens as collateral for

   those loans. Second, Alameda engaged in margin trading, essentially borrowing money to execute

   risky trading strategies: these trades were secured by the assets Alameda had borrowed from FTX

   customers’ accounts. Leverage makes trades potentially more lucrative, but also makes them more

   vulnerable to adverse market movements. In an Alameda balance sheet linked to CoinDesk in early

   November, Alameda’s largest asset holdings were listed as being FTT tokens (it is possible that it

   received these in a kind of bailout from FTX). Other assets listed on that balance sheet included

   SOL tokens (issued by the Solana blockchain, in which Sam Bankman-Fried was an early investor)

   and SRM tokens (issued by the Serum exchange that Sam Bankman-Fried co-founded). 130

   Alameda had few assets that hadn’t been created out of thin air by FTX or FTX-related entities.




   129
       For a more general discussion of the conflicts of interest inherent in these relationships, see
   https://www.coppolacomment.com/2022/11/the-ftx-alameda-nexus.html (accessed May 11,
   2023).
   130
          https://www.coindesk.com/business/2022/11/02/divisions-in-sam-bankman-frieds-crypto-
   empire-blur-on-his-trading-titan-alamedas-balance-sheet/ (accessed May 11, 2023).


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   L.     FTX Aggressively and Deceptively Marketed its Platform

          272.    These valid concerns are one reason why crypto firms like FTX turn to celebrity

   endorsers. The FTX advertising campaign is particularly pernicious because it implicitly

   acknowledges cryptocurrency’s problems while holding FTX out as the “safe” place to invest in

   cryptocurrency (note statements by O’Leary, Brady, and Curry, below). These statements were

   untrue, as FTX turned out to be a house of cards that misappropriated customer assets.

          273.    FTX’s paid endorser program was clearly designed to use the positive reputation

   associated with specific celebrities to convince consumers that FTX was a safe place to buy and

   sell cryptocurrency.

          274.    FTX’s brand ambassadors and ad campaigns that utilized those brand ambassadors

   had a critical role in portraying FTX as being ‘safe’ and ‘compliant.’:

                  In Stephen Curry’s FTX commercial, FTX’s alleged safety is quite blatant
              stated when he claims

                  “With FTX, I have everything I need to buy, sell, and trade crypto safely”

              Kevin O’Leary, another FTX brand ambassador stated:

                  “To find crypto investment opportunities that met my own rigorous
                  standards of compliance, I entered into this relationship with FTX. It has
                  some of the best crypto exchange offerings I’ve seen on the market. FTX
                  leverages best-in-class tech to provide a quality trading experience with low
                  fees for both professional and retail investors alike, while at the same time
                  providing the reporting platform that serves both internal and regulatory
                  compliance requirements”

                  Given that FTX continually misappropriated customer assets, didn’t have
              appropriate capital controls or reasonable compliance policies in place, these
              claims weren’t just unfounded; they were downright false.

                 Mr. O’Leary’s assertion that FTX was a compliant exchange is even more
              damaging than that of the typical celebrity, however. This is because Mr.
              O’Leary is known for being a Shark on the TV show Shark Tank whereby
              Shark’s make investments in startups. With those investments comes due


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             diligence. Mrb O’Leary’s endorsement of FTX certainly makes it seem that he
             did appropriate due diligence into FTX, when obviously, whatever due
             diligence that he did was grossly inadequate.

                Mr. O’Leary appears to admit that his own due diligence was inadequate,
             and that he relied on the due diligence of others:

                 “I obviously know all the institutional investors in this deal. We all look like
                 idiots. Let’s put that on the table. We relied on each other’s due diligence,
                 but we also relied on another investment theme that I felt drove a lot of
                 interest in FTX 131“

                Mr. O’Leary is also a strategic investor in Canada’s largest cryptocurrency
             exchange, ‘WonderFi.’ The name is derived from Mr. O’Leary’s nickname,
             ‘Mr. Wonderful.’ Mr. O’Leary’s involvement in WonderFi could naturally lead
             one to believe that he knew how to perform adequate due diligence on
             exchanges, and that he would do so on FTX before investing and acting as a
             brand ambassador.

          275.   Other organizations and individuals, with presumably more to gain, did find red

   flags at FTX and turned down FTX and/or Sam Bankman-Fried’s money. The nonprofits Our

   World Data and MITRE declined offered gifts of $7.5 million and $485,000, respectively, from

   the FTX Future Fund due to undisclosed red flags.132 In addition, CME Group CEO Terry Duffy

   allegedly told Sam Bankman-Fried that he was “an absolute fraud” upon having an initial

   conversation with Mr. Bankman-Fried.133.

          276.   Based upon the information that has been released by FTX’s new CEO John Ray

   as part of the company’s bankruptcy filings, it is clear that anyone who bothered to spend 20




   131
             https://dailyhodl.com/2022/12/09/kevin-oleary-says-ftx-collapse-makes-him-and-other-
   investors-in-the-crypto-exchange-look-like-idiots/
   132
       https://www.moneyweb.co.za/moneyweb-crypto/sam-bankman-frieds-red-flags-were-seen-in-
   all-corners-of-his-empire/ (accessed May 11, 2023).
   133
           https://www.cnbc.com/2022/11/23/absolute-fraud-cmes-terry-duffy-says-he-saw-trouble-
   before-ftx-collapse-.html (accessed May 11, 2023).


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   minutes reviewing FTX’s operations pre-collapse would have identified significant red flags. In

   his first day pleading in support of FTX’s chapter 11 petitions, Mr. Ray noted:

          “Never in my career have I seen such a complete failure of corporate controls and
          such a complete absence of trustworthy financial information as occurred here.
          From compromised systems integrity and faulty regulatory oversight abroad, to the
          concentration of control in the hands of a very small group of inexperienced,
          unsophisticated and potentially compromised individuals, this situation is
          unprecedented.” 134

          277.    Mr. Ray’s pleading contains a number of troubling findings, among them, (1) FTX

   did not have centralized control of its cash; (2) FTX had no dedicated human resources department,

   which has hindered Mr. Ray’s team from preparing a complete list of who worked for the FTX

   Group;(3) a lack of disbursement controls that resulted in employees submitting payment requests

   via on-line chat and these requests being approved by managers responding with personalized

   emojis; (4) corporate funds were used to purchase homes and personal items for employees, and;

   (5) a lack of books and records and the absence of lasting records of decision-making.

          278.    It is hard to imagine that anyone who has done business with FTX, including paid

   endorsers, would not have personally witnessed one or more of the deficiencies identified by Mr.

   Ray. All FTX endorsers have extensive business dealings beyond FTX and surely would be able

   to identify business practices that are unusually problematic. Of course, the same can be said for

   prominent venture capital (VC) firms that invested in FTX.

          279.    Furthermore, many customers were not opting to use FTX because of who their

   investors were. Instead, many customers relied on the testimonials of paid celebrity endorsers and




   134
      https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&ved=2ahUKEwiok
   r3C_-L7AhWsnGoFHRdBC2kQFnoECBAQAQ&url=https%3A%2F%2Fpacer-
   documents.s3.amazonaws.com%2F33%2F188450%2F042020648197.pdf&usg=AOvVaw38wQ
   JwnmP5fFftiyYkNjSG (accessed May 11, 2023).


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   these celebrities knew why they were being compensated. Indeed, the whole point behind paying

   celebrities to endorse a product is to increase sales.

          280.     Thus, celebrities like the Brand Ambassador Defendants have a moral and legal

   obligation to know that what they are promoting is unlikely to cause physical or financial damage

   to customers.

          281.     In addition to the conduct of Defendant Sam Bankman-Fried, as described in this

   Complaint, some of the biggest names in sports and entertainment have either invested in FTX or

   been brand ambassadors for the company. A number of them hyped FTX to their social media

   fans, driving retail consumer adoption of the FTX Platform.

          282.     In March 2021, FTX became the first company in the crypto industry to name an

   arena. This helped lend credibility and recognition to the FTX brand and gave the massive fanbase

   of basketball exposure to the FTX Platform.

          283.     FTX’s explanation for using stars like Brady, Bunchden, and the other Defendants

   was no secret. “We’re the newcomers to the scene,” said then-FTX.US President Brett Harrison,

   referring to the crypto services landscape in the U.S. “The company needs to familiarize consumers

   with its technology, customer service and offerings, while competing with incumbents like

   Coinbase Global Inc. or Kraken,” Mr. Harrison said. “We know that we had to embark on some

   kind of mass branding, advertising, sponsorship type work in order to be able to do that,” he

   said.135

          284.     In other words, the FTX Group needed celebrities like Defendants to continue

   funneling investors into the FTX Ponzi scheme, and to promote and substantially assist in the sale



   135
               https://www.wsj.com/articles/tom-brady-and-gisele-bundchen-to-star-in-20-million-
   campaign-for-crypto-exchange-11631116800?mod=article_inline (accessed May 11, 2023).


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   of unregistered securities, including the YBAs. Below are representative statements and

   advertisements Defendants made to drive the offers and/or sales of the YBAs, which Plaintiff and

   Class Members will supplement as the case progresses and discovery unfolds.

          285.   The promotions should not be viewed in isolation, but rather as a part of a wide-

   ranging conspiracy to promote and sell unregistered securities, and to aid and abet the FTX

   Group’s fraud and conversion perpetrated on Plaintiffs and the Classes.




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           286.    On or around September 10, 2021, FTX tweeted out a list of its promoters who

   were part of the “You In?” campaign, asking its audience whether they are “in” as well.




   M.      The Defendants’ Roles in the Fraud

           287.    Each group of Defendants contributed both to the perpetration of the fraud, and to

   the sale of unregistered securities, in a vital way.



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          288.     The individual role of each Defendant is outlined below, and more fully expounded

   upon within the individual chapter of the complaint in which they are named.

              i.   Defendants Tom Brady and Gisele Bündchen




          289.     Tom Brady was a star quarterback with worldwide name recognition, who many

   consider to be the greatest of all time. He played for the University of Michigan, and then

   professionally with the New England Patriots for 20 seasons and the Tampa Bay Buccaneers for 3

   seasons.

          290.     Gisele Bündchen is a supermodel, fashion icon, and businesswoman who achieved

   worldwide notoriety through her modeling and advertising campaigns, including those with Under

   Armour, Chanel No. 5, and Victoria’s Secret.

          291.     Gisele Bündchen and Tom Brady married in February 2009, and divorced in

   October 2022.

          292.     During the relevant time period, Brady and Bündchen resided in Indian Creek,

   Miami-Dade County, Florida.




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               a) Brady and Bündchen Partnered with FTX to Promote Its Platform.

           293.    In spring 2021, Brady and Bündchen partnered with FTX to provide it with

   spokesperson and marketing services pursuant to a written agreement. Those services included but

   were not limited to posting on social media, making personal appearances, and appearing in

   television and print advertising.

           294.    In exchange for those services, Brady and Bündchen received a substantial total

   compensation package.

           295.    Shortly thereafter, Brady and Bündchen also took equity stakes in FTX Trading

   Ltd. Bündchen was given the title of Environmental and Social Initiatives Head at FTX. Brady and

   Bündchen made numerous statements across platforms to induce individuals to invest in the FTX

   Platform, YBAs and/or FTT.

           296.    Because of their compensation structure, the more success that they had in

   influencing consumers to make investments on the FTX platform, the more Brady and Bündchen

   stood to profit financially.

           297.    Bankman-Fried touted that Bündchen and Brady took an equity stake in the

   company as a means of promotion, including on nationally distributed podcasts. For example,

   Bankman-Fried, as a guest on Unchained on July 2, 2021, discussed how the arrangement came

   about. On the podcast, Bankman-Fried stated that he believed that Brady had designed and

   produced his partnership announcement message with his own team.

           298.    Brady and Bündchen did not disclose the form or number of payments received

   under their agreements to the public when promoting FTX.

           299.    Brady and Bündchen partnered with FTX and provided services in accordance with

   their agreements, and in accordance with their own interests as owners. For example, they posted




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   on social media, appeared in images and videos used to promote FTX, and made personal

   appearances at FTX events. Specific examples of their promotions of FTX are below.

            300.   Brady and Bündchen also joined the company’s $20-million ad campaign in 2021.

            301.   They filmed a commercial together called “FTX. You In?” showing them telling

   acquaintances to join the FTX platform. This ad first aired on national television on September 8,

   2021 and was subsequently re-aired and re-published on television, the internet, and across social

   media.

            302.   The ad ran on NBC during the NFL kickoff game between the Tampa Bay

   Buccaneers and the Dallas Cowboys, played in Tampa Bay, on September 9, 2021. It also ran

   during NFL broadcasts throughout September and October of 2021.

            303.   A version of this ad aired during the 2021 Super Bowl to a nationwide audience.

            304.   They also starred in a second commercial in which Brady is shown executing a

   trade on the FTX platform on his cellular phone. Brady explains, “I mean trading crypto. FTX is

   the safest and easiest way to buy and sell crypto. It’s the best way to get in the game.” Bündchen

   states, “yeah, yeah, trade. We’re telling everyone.” This ad first aired on national television on

   October 18, 2021, and was subsequently re-aired and re-published on television, the internet, and

   across social media.

            305.   Brady appeared in a third commercial almost a year later. In the third commercial,

   Brady is again depicted using the FTX platform on his cellular phone while walking off a football

   field. A man asks, “FTX, that’s the crytpo app right?” Brady responded, “Now it’s for all kinds of

   investing. It’s better. And I like better.” This ad first aired on national television on September 12,

   2022, and was subsequently re-aired and re-published on television, the internet, and across social

   media.




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           306.    None of these three commercials disclose the fact that Brady and Bündchen were

   paid brand ambassadors for FTX or owned equity in FTX Trading Ltd. None disclose the amount

   of type of compensation received by either party.

           307.    The         commercials             may         be        viewed         here:

   https://www.youtube.com/watch?v=_aCGMyrFn-8. A shorter version of the first commercial

   which          aired     during        the          Superbowl        is   available      here:

   https://www.youtube.com/watch?v=4p4z2wsjhmM.




           308.    In approximately April 28, 2022, Bündchen and Brady appeared alongside

   Bankman-Fried on behalf of FTX at the Salt Crypto Bahamas Conference.




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          309.   FTX promoted Brady’s appearance across its social media platforms including

   Twitter.




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         310.   FTX also shared videos of portions of the event across its social media platforms.




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            311.   Brady and Bankman-Fried posted several TikToks during the event, appearing

   together to promote FTX. Those videos are no longer accessible to the public but can be obtained

   in discovery.

            312.   Vogue published an article after the appearance, on April 28, 2022, which quoted

   Bündchen at length discussing her relationship with FTX:

                     As the first face of cryptocurrency exchange FTX, Bündchen stars
            alongside CEO and founder Sam Bankman-Fried in sleek imagery shot by longtime
            collaborator Nino Muñoz. The pictures are striking, but their purpose is substance
            rather than style. They both mark Bündchen’s new role as FTX’s Head of
            Environmental and Social Initiatives, and announce Bankman-Fried’s pledge to
            donate a billion dollars to charitable causes over the next year. “Whenever someone
            is willing to commit to change, I’m willing to help,” shared Bündchen at the SALT
            Crypto conference in Nassau, Bahamas yesterday. “Sam is making such an
            important statement with this, and I’ve found that inspirational.”
            https://www.vogue.com/article/Gisele-Bündchen-ftx-cyrpto-philanthropy-
            campaign-interview

            313.   In that interview, Bündchen described her role with FTX as a partnership: “What

   made me excited about this partnership was the impact they can have. Much more than anything a

   single individual can accomplish on their own.”

            314.   In approximately April 28, 2022, at the Salt Crypto Bahamas Conference, FTX

   launched its first print ad campaign called “In On,” which featured Bündchen alongside Bankman-

   Fried.




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          315.    Ads in this campaign ran across all forms of media, including social media, and

   were both electronically accessible and physically distributed within all 50 states.

          316.    For example, the four-page FTX spread below appeared in The New Yorker.




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          317.    Similar ads from this campaign ran in Vogue (American and International), GQ,

   and Vanity Fair In approximately June 2022. These magazines have worldwide distribution

   networks.

          318.    Bankman-Fried discussed the impact Bündchen could have on the brand in an

   interview with Fast Company, published in approximately April 28, 2022.

                  A staunch utilitarian, Bankman-Fried is also aware of the power of celebrity
          in multiplying impact—hence, he says Bündchen might be the ideal voice for FTX.
          “She has an amazingly positive brand,” says Bankman-Fried. “We’re excited for
          her to help amplify the message, and to get people both in the industry and outside
          of it on board”—this time, perhaps, from the Dior-and-Chanel haute-couture
          demographic. https://www.fastcompany.com/90747008/gisele-Bündchen-hopes-
          to-sell-you-on-cryptos-potential-for-good-in-upcoming-vogue-ads

          319.    FTX re-tweeted promotional material shared by Bankman-Fried and its brand

   ambassadors.




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         320.   In approximately September 1, 2022, FTX engaged in a sweepstakes with Tom

   Brady and a company he co-founded, Autograph, which was promoted across social media

   networks.




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             321.   In approximately November 2022, Brady, Bündchen, and others scrubbed their

   social media accounts to remove promotional content for FTX. As a result, discovery is likely to

   uncover many additional, actionable, statements.136

             322.   Furthermore, certain FTX resources, like its podcast database, are no longer

   publicly accessible, and may reveal further actional statements once obtained.

             323.   The overarching objective of the partnership was for Brady and Bündchen, through

   a series of promotions and media campaigns, to help FTX successfully solicit or attempt to solicit

   investors in FTX’s crypto-related securities from Florida and nationwide.

             324.   As Brady and Bündchen expected and understood when entering their partnerships

   with FTX, their promotions would be widely viewed across the world, including in the U.S. and

   in Florida, where Brady and Bündchen resided, and where FTX had its domestic home office.

             325.   Brady and Bündchen also knew and intended that their promotions would be

   disseminated to consumers in Florida and elsewhere, not just on FTX’s social media outlets, but

   that said promotions would also be linked, published, and reposted across innumerable media

   outlets on the internet and elsewhere.

                b) Brady and Bündchen Had Financial Incentives to Induce Class Members to
                   Invest in FTX and to Trust the Platform.

             326.   Bankruptcy filings show that Tom Brady held 1,144,861 common shares of FTX at

   the time of its collapse. The same fillings show that Gisele Bündchen held around 686,761

   common shares at the time of its collapse.137




   136
         https://www.gawker.com/celebrity/tom-brady-has-scrubbed-his-timeline-of-ftx-tweets
   137
         In re FTX Trading Ltd, 22-cv-11068-JTD (Bankr. D. De.), Dkt. 450.


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          327.    Brady and Bündchen had a financial incentive to induce Plaintiffs to invest with

   FTX. They were paid, at least in part, in FTX stock and/or stock options − the value of which

   depended on the financial success of FTX.

          328.    Further, Brady and Bündchen had every incentive to be effective promoters of FTX

   in order to continue the brand ambassador relationship and continue receiving payment for their

   services.

               c) The Promotions Were Deceptive and Unlawful.

          329.    Brady and Bündchen did not disclose that they were being compensated by FTX

   for promoting the sale of FTX securities.

          330.    Brady and Bündchen made deceptive statements in their promotions, including

   statements like, “The most trusted way to buy & sell crypto,” “FTX is the safest and easiest way

   to buy and sell crypto. It’s the best way to get in the game,” “We’re telling everyone,” and “Now

   it’s for all kinds of investing. It’s better. And I like better.” Brady and Bündchen’s ads, and the

   entire “You In?” campaign, conveyed the messages that everyone – regardless of socioeconomic

   status – would benefit from using FTX.

               d) Brady and Bündchen Knew or Should Have Known They Were Soliciting or
                  Assisting FTX to Solicit Investments in Unregistered Securities and/or that
                  they were aiding and abetting FTX Group’s fraud and/or conversion.

          331.    Given Brady’s and Bündchen’s substantial investment experience and vast

   resources to obtain outside advisors (which Bündchen says she had), they knew or should have

   known of potential concerns about FTX selling unregistered crypto securities and/or that they were

   aiding and abetting FTX Group’s fraud and/or conversion, especially to millions of their followers.

   This is especially true in light of the rampant mismanagement and myriad red flags that the FTX

   Group’s regular business practices set off.



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          332.    In a March 2023 interview, Bündchen told the media that “I’m no different than

   everyone else that trusted the hype.” Bündchen said she believed FTX was a “sound and great

   thing based on what my financial advisers told me.” See https://nypost.com/2023/03/22/gisele-

   Bündchen-says-she-was-blindsided-by-ftx-collapse-wants-justice/.

              e) The Promotions Were Directed at Plaintiffs in Florida, and Customers
                 Nationwide.

          333.    Brady’s and Bündchen’s promotions were published on public social media

   accounts, published in magazines with nationwide distribution, and aired on local and national

   television broadcasts – including during the Super Bowl. They were accessible to plaintiffs

   nationwide, including in Florida.

          334.    Brady’s and Bündchen’s promotions were published on public social media

   accounts, published in magazines with nationwide distribution, and aired on local and national

   television broadcasts – including during the Super Bowl. They were accessible to plaintiffs

   nationwide, including in Florida.

          335.    The partnership between FTX, Brady, and Bündchen specifically targeted Florida

   residents because they were Florida residents and Brady played for a Florida professional sports

   team, the Tampa Bay Buccaneers, during the relevant time period. Their social media followers,

   and fans in general, are likely to be drawn disproportionately from Florida. Likewise, Florida

   media is likely to cover his interviews, promotions, and other activity because he is of interest to

   fans of his team.




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            ii.   Defendant Kevin O’Leary




          336.    Kevin O’Leary is a businessman, investor, and television personality. After

   founded and then subsequently selling a technology company SoftKey, later The Learning

   Company (“TLC”), O’Leary became involved in a variety of investment ventures, founding the

   mutual fund company O’Leary Funds, Inc., founding O’Leary Ventures, an early stage venture

   capital investment company, and launching an exchange traded fund.

          337.    Since 2009, O’Leary has appeared on the investment-focused television program

   Shark Tank, where his nickname, “Mr. Wonderful,” was popularized.

          338.    O’Leary is a sophisticated investor with substantial financial knowledge.

               a) O’Leary Partnered with FTX to Promote Its Platform.

          339.    On August 10, 2021, FTX (US and International) announced that it entered a “long-

   term relationship with entrepreneur, venture capitalist, and Shark Tank investor, Kevin O’Leary.”



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   It further explained that “Mr. O’Leary will be taking an equity stake in both FTX Trading Ltd. &

   West Realm Shires Services Inc. along with being paid in crypto to serve as an ambassador and

   spokesperson for FTX.”138

          340.    The overarching objective of the partnership was for O’Leary, through a series of

   promotions and media campaigns, to help FTX successfully solicit or attempt to solicit investors

   in FTX’s crypto-related securities from Florida and nationwide.

          341.    As O’Leary expected and understood when entering its partnership with FTX, the

   team’s promotions would be widely viewed nationwide, including in Florida, where O’Leary knew

   or should have known FTX had its domestic home office (including because the arena of NBA’s

   Miami Heat had been renamed “FTX Arena”).

          342.    On information and belief, O’Leary also knew and intended that the team’s

   promotions would be disseminated to consumers in Florida and elsewhere not just on FTX’s

   official social media outlets, but that said promotions would also be linked, published, or reposted

   across innumerable media outlets on the internet and elsewhere.

              b) O’Leary Engaged in a Sustained and Aggressive Promotion and Advertising
                 Campaign.

          343.    “Mr. Wonderful,” both a brand ambassador and an FTX shareholder, made several

   public statements designed to induce consumers to invest in the FTX Platform, YBAs and/or FTT.

          344.    “To find crypto investments opportunities that met my own rigorous standards of

   compliance, I entered into this relationship with @FTX_Official,” Mr. O’Leary said on

   Twitter last year. Mr. O’Leary recently deleted the tweet.




   138
            https://www.prnewswire.com/news-releases/ftx-and-kevin-oleary-announce-long-term-
   investment-and-spokesperson-relationship-301352189.html (accessed May 9, 2023).


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               345.   CNBC reported that “O’Leary promoted FTX aggressively on Twitter and online,

   touting his close connection with disgraced founder Sam Bankman-Fried.”139

               346.   Later O’Leary deleted all of his tweets mentioning FTX that were made prior to

   November 12, 2022. 140

               347.   O’Leary has acknowledged that he did commercials for FTX.141

               348.   He also served as a judge for the FTX Charity Hackathon in Miami in March of

   2022.142

               349.   On March 11, 2022, O’Leary appeared on NBC 6 South Florida to explain his

   involvement with FTX and his role in judging the FTX Charity Hackathon alongside co-

   Defendants, Udonis Haslem and David Ortiz.143

               350.   During that appearance, O’Leary was questioned by the anchor, “you just don’t do

   anything— you’re very selective with who you decide to work with, so why did you decide to

   work with the FTX foundation group on this?”144

               351.   O’Leary responded “I love the company. I like its mission. I like what they’re doing

   in terms of innovating and financial services around crypto. They’re one of the largest players

   around the world, and I also use the platform myself to hold my digital currencies. So, you know,



   139
           https://www.cnbc.com/2022/12/08/ftx-spokesman-kevin-oleary-says-he-lost-15-million-
   crypto-payday.html (accessed May 9, 2023).
   140
      https://twitter.com/search?q=(from%3A%40Kevinolearytv)%20ftx&src=typed_query&f=live
   (accessed May 9, 2023).
   141
      https://www.youtube.com/watch?v=pIXq1pfvG0g (acknowledging commercials as part of
   promotional deal at timestamp 2:04) (accessed May 9, 2023).
   142
         https://ftxcharityhackathon.com/ (accessed May 11, 2023).
   143
        https://www.nbcmiami.com/entertainment/6-in-the-mix/shark-tank-star-kevin-oleary-taking-
   part-in-charity-hackathon/2711510/ (accessed May 9, 2023).
   144
         Id.


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   I’m very integrated with them. But this idea, which is Sam’s—and his father Joseph as well is

   involved in it—is terrific. It’s a family mission, and I love companies that have this kind of desire

   to help others, not just with profits. This is what every corporation in America should be doing.”

   145

               352.   The anchor then went on to ask, “Kevin I know that you were a naysayer at one

   point, and now you’re on this train–where was the change of heart, what happened?” 146

               353.   O’Leary responded, “Well, when things change, I change. And what changed was

   the regulator. All of a sudden we saw in different countries, like the United Arab Emirates,

   Switzerland, Germany, and up in Canada, they’re all innovating in crypto. And now we have a

   decree from the President, yesterday, that he thinks we should start looking at this because it’s

   great innovation. We’ve got a bill coming. There’s a lot of momentum towards this because it’s

   financial innovation. I tell everybody the same thing: bitcoin is not a coin, it’s software. Ethereum

   is software. Polygon is software. HBAR is software. if you’re willing to buy Microsoft as a stock

   or you’re willing to buy Alphabet or Google, it’s all software. So why wouldn’t you want to invest

   in this as well? And so, at the end of the day, I think this is great financial innovation, FTX is right

   at the cutting edge of it, and on top of it they want to give back.” 147

               354.   And recently, on October 12, 2022, O’Leary stated confidently that FTX was totally

   compliant and a safe place to hold assets. O’Leary stated that: “I have to disclose I’m a paid

   spokesperson to a FTX and shareholder there, too, cause we mentioned him and I’m a big advocate

   for Sam because he has two parents who are compliance lawyers. If there’s ever a place I could be



   145
         Id.
   146
         Id.
   147
         Id.


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   that I’m not gonna get in trouble it’s going to be in FTX so you know that’s there they’re great

   people but he gets the job in compliance which is why he’s working so hard to get regulation.”148




               355.   He went on to state that “[t]here are a lot of signs right now that point to things

   looking bad. Crypto has taken a big hit and investors are wondering if things will turn around. If

   you follow history and the pattern of things, you know that this is RIGHT ON TRACK and we’ll

   soon see a resurgence with crypto. Do you think we’re entering a Bullish period? Let me know in

   the comments!” 149

                  c) O’Leary Had Financial Incentives to Induce Class Members to Invest in FTX
                     and to Trust the Platform.

               356.   Bankruptcy filings show that O’Leary, through his company O’Leary Productions,

   held 139,000 shares of Class A Common Stock, 25,944 shares of Common Stock, 12,631 Series

   A Preferred Shares, and 6,486 Series B-1 Preferred Shares at the time of its collapse. (In re FTX

   Trading Ltd, 22-cv-11068-JTD (Bankr. D. De.), Dkt. 450).




   148
      See https://www.youtube.com/watch?v=iwD_zWgyUz8 beginning at 17:32 (accessed May 11,
   2023)
   149
         Id.


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            357.   O’Leary reported that he was paid $15 million by FTX for him to act as a

   spokesperson.150 He acknowledged this payment for his service as a paid promoter in written

   testimony provided to the Senate Banking Committee on December 14, 2022.151

            358.   O’Leary had a financial incentive to induce Plaintiffs to invest with FTX. He was

   paid, in substantial part, in FTX stock and/or stock options − the value of which depended on the

   financial success of FTX. O’Leary reported that he lost this payment because of FTX’s

   collapse.152 In his Senate testimony, O’Leary also acknowledged that the collapse of FTX was

   “painful” for “account holders.”153

            359.   Because of his compensation structure, the more success that O’Leary had in

   influencing consumers to make investments on the FTX platform, the more O’Leary stood to profit

   financially.

            360.   Further, O’Leary had every incentive to be an effective promoter of FTX in order

   to continue the ambassador relationship and continue receiving payment for his services.

                d) The Promotions Were Deceptive and Unlawful.

            361.   O’Leary’s extension promotion of FTX was deceptive because it promoted FTX as

   a safe investment.

            362.   O’Leary deceptively promoted FTX as an investment even though he knew or

   should have known that it was not in fact a prudent investment for his followers.



   150
           https://www.cnbc.com/2022/12/08/ftx-spokesman-kevin-oleary-says-he-lost-15-million-
   crypto-payday.html.
   151
         https://www.banking.senate.gov/imo/media/doc/O’Leary%20Testimony%2012-14-221.pdf.
   152
           https://www.cnbc.com/2022/12/08/ftx-spokesman-kevin-oleary-says-he-lost-15-million-
   crypto-payday.html.
   153
         https://www.banking.senate.gov/imo/media/doc/O’Leary%20Testimony%2012-14-221.pdf.


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               363.   O’Leary subsequently admitted, in an interview on CNBC, that he did not do

   enough due diligence regarding his involvement with and promotion of FTX.154 He also admitted

   that he “owes everybody that follows [him]” the data that would be obtained by doing a forensic

   audit of FTX.155

                  e) O’Leary Knew or Should Have Known He was Soliciting or Assisting FTX to
                     Solicit Investments in Unregistered Securities and/or that he was aiding and
                     abetting FTX Group’s fraud and/or conversion.

               364.   Given O’Leary’s substantial investment experience and vast resources to obtain

   outside advisors (which he certainly had), he knew or should have known of potential concerns

   about FTX selling unregistered crypto securities and/or that he was aiding and abetting FTX

   Group’s fraud and/or conversion, especially to millions of his followers. This is especially true in

   light of the rampant mismanagement and myriad red flags that the FTX Group’s regular business

   practices set off, as more fully described hereinabove.

                  f) The Promotions Were Directed at Plaintiffs in Florida, and Customers
                     Nationwide.

               365.   O’Leary has substantial connections to the State of Florida. O’Leary maintains a

   home on Miami Beach, Fla., where he quarantined during the COVID-19 pandemic. 156




   154
         https://www.youtube.com/watch?v=-jo93yUGpQc (video dated December 8, 2022).
   155
         Id.
   156
         https://www.instagram.com/p/B-UUsDVncqo/.


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             366.   In a YouTube video posted on May 11, 2022, O’Leary described living in Miami

   and his search for additional home to purchase: “I’m one of those guys. I’m living in a condo. My

   wife is shopping for a home.”157

             367.   O’Leary has repeatedly returned to Florida for business and investment purposes.

   Recently, he headlined the Ecommerce Experience Evolution conference that took place in Miami

   on February 23, 2023.158

             368.   On February 9, 2022, O’Leary joined “for a Shark-worthy pre-construction Yupix

   virtual tour of the country’s hottest real estate project, Miami’s E11EVEN Residences Beyond.” 159

             369.   O’Leary’s FTX promotions were published on public social media accounts and

   made available by the Internet. They were accessible to plaintiffs nationwide, including in Florida.




   157
         https://www.youtube.com/watch?v=HpWiqglGVGQ.
   158
         https://www.prweb.com/releases/2023/2/prweb19175414.htm
   159
         https://worldredeye.com/2022/02/kevin-oleary-at-e11even-hotel-residences-sales-center/


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          370.   The partnership between FTX and O’Leary specifically targeted residents of

   Florida because he maintains a home in Florida and Florida is a repeated focus of O’Leary’s

   business and investment interests. O’Leary also personally appeared on behalf of FTX at the FTX

   Arena in Miami for the FTX Hackathon and Crypto Summit.




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             iii.   Defendant Udonis Haslem




             371.   Udonis Haslem was the captain of the Miami Heat, NBA team, and a Miami

   legend.

                a) Haslem Partnered with FTX to Promote Its Platform.

             372.   In approximately June 2021, Haslem partnered with FTX to provide it with

   spokesperson and marketing services pursuant to a written agreement. Those services included

   posting on social media, appearing in a commercial, and participating in promotional events.

             373.   In exchange for these services, Haslem received a substantial total compensation

   package. This compensation package included compensation tied to the performance of FTX, such

   as stock, stock options, or tokens. Because of his compensation structure, the more success that

   Haslem had in influencing consumers to make investments on the FTX platform, the more he stood

   to profit financially.

             374.   Haslem did not disclose the form or number of payments received under either

   agreement to the public when promoting FTX.




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              b) Haslem Engaged in a Sustained and Aggressive Promotion and Advertising
                 Campaign.

          375.    Haslem partnered with FTX and provided services in accordance with his

   agreement. For example, he appeared in a commercial for FTX, created and shared content on

   social media, and appeared at FTX events. Specific examples of his promotions of FTX follow:

          376.    In approximately October 21, 2021, Haslem appeared in a commercial for FTX as

   part of the “You In?” campaign, targeting Miami residents. Haslem shared that video on his social

   media channels. Haslem’s commercials ran during network television broadcasts of Miami Heat

   games, and in the arena during games.

          377.    In       the       ad,       which        may         be       viewed         here:

   https://www.youtube.com/watch?v=4sD8uLYzzwM, Haslem states “FTX has arrived in 305. So,

   I just got one question: Are you in, Miami?” Others respond “If he’s in, I’m in.” Haslem concludes

   “Our city. Our team. FTX. You in, Miami?”




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          378.   In approximately October 28, 2021, Haslem advertised an FTX promotion

   soliciting new account sign-ups.




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          379.    In approximately November 2021, Haslem shared an FTX promotion for a trip to

   the Sports Illustrated Awards, where he was to be a presenter.




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         380.   In approximately November 18, 2021, Haslem posted a video of himself discussing

   the FTX Hackathon and encouraging Miami, Broward, and Palm Beach area students to apply.




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          381.   In approximately December 1, 2021, Haslem re-tweeted an announcement from

   FTX regarding the listing of Ethereum NFTs.




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          382.   In approximately February 13, 2022, Haslem appeared in a video on Twitter, which

   he posted to his account, advertising an FTX promotion.




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                                       +




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          383.   In approximately March 12, 2022, Haslem attended the FTX Hackathon Finals and

   Crypto Summit in the FTX Arena, Miami, Florida as a special judge. He promoted the event on

   his social media platforms, including by tagging fellow brand ambassador Defendants Kevin

   O’Leary and David Ortiz.




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          384.   In approximately March 31, 2022, Haslem tweeted a throwback to the Sport

   Illustrated Awards, tagging FTX.




          385.   In approximately April 18, 2022, Haslem shared a video on Twitter advertising a

   promotional effort with FTX.




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          386.    Furthermore, certain FTX resources, like its podcast database, are no longer

   publicly accessible, and may reveal further actional statements once obtained.

          387.    The overarching objective of the partnership was for Haslem, through a series of

   promotions and media campaigns, to help FTX successfully solicit or attempt to solicit investors

   in FTX’s crypto-related securities from Florida and nationwide.

          388.    As Haslem expected and understood when entering into a partnership with FTX,

   his promotions would be widely viewed nationwide, especially in Florida where he resides and

   plays professionally, and where he knew or should have known FTX had its domestic home office.




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             389.   On information and belief, Haslem also knew and intended that his promotions

   would be disseminated to consumers in Florida and elsewhere not just on FTX’s official social

   media outlets, but also that said promotions would be linked, published, or reposted across

   innumerable media outlets on the internet and elsewhere.

                c) Haslem Had Financial Incentives to Induce Class Members to Invest in FTX
                   and to Trust the Platform.

             390.   Bankruptcy filings show that Haslem held 11,446 common shares of FTX at the

   time of its collapse. (In re FTX Trading Ltd, 22-cv-11068-JTD (Bankr. D. De.), Dkt. 450).

             391.   Haslem had a financial incentive to induce Plaintiffs to invest with FTX. He was

   paid, at least in part, in FTX stock and/or stock options − the value of which depended on the

   financial success of FTX.

             392.   Further, Haslem had every incentive to be an effective promoter of FTX in order to

   continue the ambassador relationship and continue receiving payment for his services.

                d) The Promotions Were Deceptive and Unlawful.

             393.   Haslem did not disclose that he was being compensated by FTX for promoting the

   sale of FTX securities.

             394.   Haslem’s advertisements were designed to lead viewers to believe that the

   investment was safe and suitable for everyone, regardless of knowledge level or socioeconomic

   status.

             395.   Haslem also made deceptive statements in his promotions, including statements

   like, he was “100% in” on FTX, despite the fact that he later revealed after the collapse of FTX

   that he had never put any of his own money into the FTX Platform, and was instead paid $15

   million in equity in the FTX Platform instead.




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                e) Haslem Knew or Should Have Known He was Soliciting or Assisting FTX to
                   Solicit Investments in Unregistered Securities and/or that He was Aiding and
                   Abetting FTX Group’s Fraud and/or Conversion.

            396.   Given Haslem’s substantial investment experience and vast resources to obtain

   outside advisors (which he had), he knew or should have known of potential concerns about FTX

   selling unregistered crypto securities and/or that he was aiding and abetting FTX Group’s fraud

   and/or conversion, especially to millions of his followers. This is especially true in light of the

   rampant mismanagement and myriad red flags that the FTX Group’s regular business practices set

   off, as more fully described hereinabove.

            397.   A December 2022 article posted on heatnation.com states that Haslem lost $15

   million, none of which was his own money but rather compensation he had taken for his marketing

   role with the company as equity. The article quotes Haslem as stating: “I didn’t put no money in;

   I took it in equity,” “I feel bad for the people that were hurt and lost money and really got caught

   up in that foolishness.” 160

                f) The Promotions Were Directed at Plaintiffs in Florida, and Customers
                   Nationwide.

            398.   Haslem’s promotions were published on public social media accounts and aired on

   local and national television broadcasts. They were accessible to plaintiffs nationwide, including

   in Florida. Haslem made personal appearances on behalf of FTX in Miami.

            399.   The partnership between FTX and Haslem specifically targeted Florida residents

   because Haslem is Miami’s hometown hero (as recognized during the Sports Illustrated Awards),

   and he has played college and professional sports in the state his entire career. His social media

   followers, and fans in general, are likely to be drawn disproportionately from Florida. Likewise,




   160
         https://heatnation.com/media/udonis-haslem-reveals-ftx-gypped-him-out-of-15m/.


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   Florida media is likely to cover his interviews, promotions, and other activities because he is of

   interest to fans of his team.

              iv.   Defendant David Ortiz




           400.     David Ortiz, also known as “Big Papi,” is a former professional baseball player

   who is regarded as one of the greatest designated hitters of all time. He played for the Minnesota

   Twins from 1997 to 2002, and is most well-known for his time playing for the Red Sox, from 2003

   to 2016. He was elected to the Baseball Hall of Fame in 2022.

           401.     During the relevant time period, Ortiz resided in Pinecrest, Miami-Dade County,

   Florida.

                 a) Ortiz Partnered with FTX to Promote Its Platform.

           402.     In approximately October 2021, Ortiz partnered with FTX as a brand ambassador,

   which included promoting the platform and releasing collections of NFTs through the FTX app.




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          403.    In exchange for promoting FTX, Ortiz received compensation in cryptocurrency

   and NFTs from FTX.




              b) Ortiz Engaged in a Sustained and Aggressive Promotion and Advertising
                 Campaign.

          404.    The overarching objective of the partnership was for Mr. Ortiz, through a series of

   promotions and media campaigns, to help FTX successfully solicit or attempt to solicit investors

   in FTX’s crypto-related securities from Florida and nationwide.

          405.    Ortiz was part of the FTX “You In?” ad campaign, and his ad began running to

   nationwide audiences during the first game of the 2021 World Series.

          406.    In the ad, which can be found here, https://www.ispot.tv/ad/qSlm/ftx-big-papi-is-

   in, Ortiz is watching a game on the television when he receives a phone call from The Moon.

   Inspired by the “moonblast” home run scored on the field, The Moon frantically tells David about

   opportunities to get into cryptocurrency with FTX. David decides it’s an offer he can’t refuse and

   joins fellow sports stars Stephen Curry and Tom Brady on the platform. FTX announces it is the

   official crypto exchange of MLB.




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          407.    FTX served as a title sponsor for the David Ortiz Golf Classic In approximately

   November 2021 and pledged to make contributions to Ortiz’s charity, David Ortiz’s Children’s

   Fund. Ortiz promoted the sponsorship and golf tournament on Twitter and other online pages,

   including on his personal website: https://davidortiz.com/red-sox-legend-david-ortiz-signs-

   multiyear-ftx-deal/ (last visited May 8, 2023).




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         408.   Ortiz also served as a judge for the FTX Hackathon Finals and Crypto Summit In

   approximately March 13, 2022.




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          409.   Despite being orchestrated to appear to ordinary consumers as a genuine and non-

   commercial expression of support by Mr. Ortiz replying that “@FtxHackathon really giving away

   $1m to the best idea . . . that’s doing it real big” (followed by several emojis), in fact, these

   campaigns were carefully orchestrated and contractually required.

          410.   With respect to Mr. Ortiz’s promotional activity and social media comments on this

   date and other dates, Plaintiffs have not yet been able to discover facts bearing on the contacts



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   between Ortiz (directly or through his agents) and FTX’s employees in Florida for purposes of

   receiving instructions about the timing or scripts for these promotions.

          411.      On information and belief, Ortiz scrubbed his social media accounts to remove

   promotional content for FTX. As a result, discovery is likely to uncover many additional actionable

   statements.

                 c) Ortiz Had Financial Incentives to Induce Class Members to Invest in FTX
                    and to Trust the Platform.

          412.      Ortiz had a financial incentive to induce Plaintiff’s to invest with FTX. He was

   paid, at least in part, in FTX cryptocurrency and NFTs – the value of which depended on the

   financial success of FTX.

          413.      Further, Ortiz had every incentive to be an effective promoter of FTX in order to

   continue the ambassador relationship and continue receiving payment for his services.

                 d) The Promotions Were Deceptive and Unlawful.

          414.      Starting in October 2021, Ortiz and FTX launched a series of campaigns designed

   to bring cryptocurrency and investing in the FTX Platform, including YBAs and/or FTT, to the

   masses. Ortiz did not disclose that he was being compensated by the entity offering and selling the

   security for promoting the sale of FTX securities to the masses.

          415.      Ortiz made deceptive statements in his Twitter posts and advertising commercial

   promoting FTX, including statements that he “is in” on FTX.

          416.      Mr. Ortiz and FTX launched a commercial campaign designed to bring

   cryptocurrency and investing in the FTX Platform, including YBAs and/or FTT, to the masses.

   Mr. Ortiz did not properly disclose that he was being compensated by the entity offering and selling

   the security, and in some instances, he intentionally disguised or downplayed the fact that he was

   being paid for promoting FTX.


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          417.    Ortiz Knew or Should Have Known He was Soliciting or Assisting FTX to Solicit

   Investments in Unregistered Securities and/or that He was aiding and abetting FTX Group’s fraud

   and/or conversion.

          418.    Given Ortiz’s substantial investment experience (after retiring from professional

   baseball, he launched a private equity fund with other former professional baseball players) and

   vast resources to obtain outside advisors (which he had), he knew or should have known of

   potential concerns about FTX selling unregistered crypto securities and/or that he was aiding and

   abetting FTX Group’s fraud and/or conversion, especially to millions of his followers. This is

   especially true in light of the rampant mismanagement and myriad red flags that the FTX Group’s

   regular business practices set off, as more fully described hereinabove.

              e) The Promotions Were Directed at Plaintiffs in Florida, and Customers
                 Nationwide.

          419.    Ortiz’s promotions were published on public social media accounts and aired on

   local and national television broadcasts. They were accessed by plaintiffs nationwide, including in

   Florida.

          420.    Ortiz, as a nationally known and famous former professional baseball player, has

   considerable influence on baseball fans nationwide and has a wide social media following, further

   allowing him to direct his unlawful promotions towards plaintiffs in Florida and nationwide.

          421.     The partnership between FTX and Ortiz specifically targeted Florida residents

   because Ortiz was a Florida resident during the relevant time period, and Ortiz’s charity golf event

   which FTX sponsored also took place in Florida. Ortiz also appeared in Florida on FTX’s behalf

   at the FTX Hackathon and Crypto Summit.




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            v.   Defendant Steph Curry




          422.    Steph Curry is an American professional basketball player for the Golden State

   Warriors of the NBA. He is widely regarded as one of the greatest basketball players of all time

   and the greatest shooter in NBA history. This perennial All-Star has been named the NBA Most

   Valuable Player twice, won four NBA championships, and received an NBA Finals MVP Award.

              a) Steph Curry Partnered with FTX to Promote Its Platform.

          423.   In approximately September 7, 2021, FTX partnered with Curry as a brand

   ambassador, through his company SC30 Inc., to provide FTX with spokesperson and marketing

   services. Those services included but were not limited to posting on social media, creating an

   exclusive NFT collection, and appearing in commercial advertising.




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          424.   The overarching objective of the partnership was for Curry, through a series of

   promotions and media campaigns, to help FTX successfully solicit or attempt to solicit investors

   in FTX’s crypto-related securities from Florida and nationwide.

          425.   In exchange for his services, Curry received a substantial total compensation

   package, including an equity stake in FTX. 161 Because of his compensation structure, the more


   161
      https://www.goldenstateofmind.com/2022/11/17/23453998/curry-dressed-like-mime-no-
   reason; https://www.cbssports.com/nfl/news/ftx-collapse-tom-brady-stephen-curry-shohei-
   ohtani-among-sports-figures-named-in-class-action-lawsuit/


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   success that Curry had in influencing consumers to make investments on the FTX platform, the

   more Curry stood to profit financially.

          426.    FTX’s renaming of the “FTX Arena” in 2021 in Downtown Miami for the NBA

   franchise the Miami Heat served as an important centerpiece for FTX’s efforts to form partnerships

   with other celebrities such as Curry.

          427.    FTX’s senior executive responsible for creating, consummating, and implementing

   deals between FTX and Curry was Avinash Dabir, who originally worked for Blockfolio, which

   FTX later acquired, and eventually became FTX’s Vice President of Business Development.

          428.    Since early 2021, FTX maintained an office in Miami that was run by Mr. Dabir,

   who operated from our Miami office to formulate and execute FTX’s important celebrity

   partnerships, including the partnership with Curry.

          429.    On information and belief, the negotiation and execution of Curry’s agreement with

   FTX involved communications between Curry or his authorized representatives (including

   representatives of his company SC30 Inc.) and Mr. Dabir in FTX’s offices in Miami. On

   information in belief, Curry understood the counterparty to his contractual negotiations based its

   domestic operations in Florida.

          430.    Curry also directly or indirectly transacts business in Florida through his company

   SC30 Agency LLC (in which Curry is a member through his family trust), which is a Delaware

   company with the same principal address as SC30 Inc. in California. But Curry’s company SC30

   Agency LLC is registered to do business in Florida and maintains an authorized agent in Plantation,

   Florida.




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                  b) Curry Engaged in a Sustained and Aggressive Promotion and Advertising
                     Campaign.

               431.   Curry partnered with FTX and provided services in accordance with his agreement,

   and in keeping with his own interests as an owner of an equity stake in FTX. For example, Curry

   posted on social media and appeared in images and videos used to promote FTX.

               432.   Curry made numerous statements across platforms to induce individuals to invest

   in the FTX Platform and obtain YBAs and/or FTT.

               433.   Curry did not disclose the form or amount of payments received under his

   agreement to the public when promoting FTX.

               434.   The purpose of Curry being an ambassador was to expand the reach of the crypto

   firm and “tout the viability of cryptocurrency to new audiences around the world,” as FTX said in

   a press release. 162In other words, to drive adoption of the FTX Platform and to facilitate the sales

   of the unregistered FTX Platform, YBAs and/or FTT to unsuspecting and unwitting retail

   consumers.

               435.   “I’m excited to partner with a company that demystifies the crypto space and

   eliminates the intimidation factor for first-time users,” Curry said in a statement, highlighting that

   “first-time,” inexperienced users were among the intended targets of the campaign. 163

               436.   Curry’s foundation, Eat.Learn.Play. also partnered with FTX on charitable

   initiatives. 164

               437.   Additional examples of Curry’s specific promotions of FTX follow:


   162
          https://www.prnewswire.com/news-releases/nba-superstar-stephen-curry-becomes-global-
   ambassador-and-shareholder-of-leading-cryptocurrency-exchange-ftx-through-long-term-
   partnership-301370497.html (accessed May 11, 2023).
   163
         Id.
   164
         Id.; https://fortune.com/2021/09/07/nba-steph-curry-ftx-deal-cryptocurrency-platform/


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               438.     Starting In approximately March of 2022, Curry had his own nationwide ad

   campaign pushing the FTX Platform, known as the “#notanexpert” campaign. 165 Throughout the

   ad, Curry repeatedly denies being cast as an expert in cryptocurrency, culminating in his statement

   that “I’m not an expert, and I don’t need to be. With FTX I have everything I need to buy, sell,

   and trade crypto safely.” 166

               439.     As Curry expected and understood when entered his partnership with FTX, his

   advertisements were widely viewed nationwide, including in Florida, where Curry knew or should

   have known FTX had its domestic home office (including because the arena of NBA’s Miami Heat

   had been renamed “FTX Arena” long before Curry’s FTX promotion campaign).

               440.     On information and belief, Curry also knew and intended that his promotions would

   be disseminated to consumers in Florida and elsewhere not just on FTX’s official social media

   outlets            (where     some       promotional       materials     are      still     accessible:

   https://twitter.com/FTX_Official/status/1508881676436492291), but that said promotions would

   also be linked, published, or reposted across innumerable media outlets on the internet and

   elsewhere.




   165
           https://www.youtube.com/watch?v=gsy2N-XI04o      (accessed             May        11,   2023).
   https://twitter.com/FTX_Official/status/1508881676436492291
   166
         Id.


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          441.    Curry also knew or should have known that the more views, clicks, and exposure

   generated by his promotions about FTX, the more consumers would be influenced to invest in

   FTX’s crypto-related securities.

          442.    Curry also had his own line of NFTs that were only accessible via FTX. Dubbed

   the “2974 Collection,” he partnered with the company to mint 2,974 unique images celebrating

   each of his career three-pointers up to the date he broke the NBA’s all-time record for scoring

   threes. The NFTs were sold for $499 a piece with all proceeds going to his charitable foundation.

          443.    In approximately December 20, 2021, Curry announced his first NFT collection

   exclusively available on the FTX platform. The co-branding promotion was intended to drive

   traffic to FTX and thereby generate consumer investments in FTX crypto-securities. But while

   Curry indicated that sale of “unique art pieces” was solely motivated by charity and “[a]ll profits



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   to charity,” he failed to disclose that, based on his own compensation package from FTX, he also

   stood to financially profit from this and other promotions by driving FTX’s business.




          444.   In approximately March 15, 2022, Curry posted a tweet teasing a special promotion

   for holders of his exclusive FTX NFTs.




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               445.   Curry had merchandising tie-ins with his FTX exclusive NFTs. In approximately

   June 10, 2022, during his NBA Finals Game 4 entrance, Curry unveiled merchandise that was

   available exclusively to Curry’s 2974 Collection NFT holders. This initiative promised to offer

   collection holders unique and one-of-a-kind experiences that connect them with Curry. To

   purchase the gear, customers had to hold their 2974 Collection NFTs in an FTX digital wallet. 167

               446.   The 2974 Collection NFT has produced over $4.4 Million in trading volume on

   the FTX U.S. NFT platform and distributed over 100 NFT memorabilia giveaways. 168



   167
            https://thesource.com/2022/06/11/stephen-curry-drops-surprise-2974-merch-during-nba-
   finals-game-24/
   168
         Id.


                                                   162
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          447.    In addition to these initiatives, as part of the promotional partnership Curry placed

   his brand and public image behind FTX to boost FTX’s profile.

          448.   In approximately October 19, 2021, FTX tweeted a post celebrating the start of the

   NBA regular season, tagged Curry, and included the original announcement video for the

   partnership between FTX and Curry.




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          449.   In approximately December 14, 2021, FTX tweeted a congratulations at Curry for

   the latter’s accomplishment of becoming the all-time three-point scorer in NBA history.




          450.   In approximately June 16, 2022, FTX tweeted a congratulations at Curry and the

   Golden State Warriors for winning the 2022 NBA championship.




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          451.    Curry also amplified and “signal boosted” many stand-alone FTX tweets by

   replying to the posts. In practical effect, this disseminated the FTX posts to the tens of millions of

   people who follow Curry’s social media activity. These seemingly “natural” promotions by Curry

   do not have the same formality of standard advertising, and in some respects, they are more

   insidious.

          452.    For example, in approximately February 13, 2022, Curry tweeted interest in

   participating in the Bitcoin giveaway connected to FTX’s 2022 Super Bowl commercial.




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          453.   Despite being orchestrated to appear to ordinary consumers as a genuine and non-

   commercial expression of support by Curry that “This [FTX sweepstakes] dope! But can I enter

   though?” (adding several emojis), in fact, these campaigns were carefully orchestrated in Florida

   and contractually required. Curry was being compensated for his participation, like a planted

   audience member in a magic show. In fact, these particular FTX promotions coincided with

   Curry’s attendance at the Super Bowl Championship in Los Angeles, whose broadcast was partly

   sponsored by a multi-million-dollar FTX promotional campaign featuring Larry David, which was

   the centerpiece of FTX’s promotional blitz tied to the game.


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          454.   In approximately December 3, 2021, Curry replied to an announcement from FTX

   regarding the listing of Ethereum NFTs. His reply references the fact that he edited the

   announcement video for his partnership with FTX.




          455.   With respect to Curry’s promotional activity and social media comments on this

   date and numerous other dates, Plaintiff has not yet been able to discover facts bearing on the




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   contacts between Curry (directly or through his agents) and FTX’s employees in Florida for

   purposes of receiving instructions or scripts for these promotions.

          456.    Curry also replied to posts announcing other celebrity promotions and

   collaborations. In approximately Oct 27, 2021, Curry welcomed David Ortiz, using his nickname

   “Big Papi,” into the FTX promotional “family.”




          457.    In approximately June 4, 2021, Curry replied to the announcement of the

   partnership between FTX and the e-sports team TSM.




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                c) Curry Had Financial Incentives to Induce Class Members to Invest in FTX
                   and to Trust the Platform.

             458.   As a global ambassador and shareholder of FTX, 169 Curry had a financial incentive

   to induce Plaintiffs to invest with FTX. Curry was paid, at least in part, in FTX stock and/or stock

   options − the value of which depended on the financial success of FTX. 170

             459.   Further, Curry had every incentive to be an effective promoter of FTX to continue

   the ambassador relationship, continue receiving payment for his services, and continue supporting

   his philanthropic activities which partnered with FTX.



   169
         https://twitter.com/FTX_Official/status/1435398083140018182
   170
           https://www.goldenstateofmind.com/2022/11/17/23453998/curry-dressed-like-mime-no-
   reason;       https://www.cbssports.com/nfl/news/ftx-collapse-tom-brady-stephen-curry-shohei-
   ohtani-among-sports-figures-named-in-class-action-lawsuit/


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              d) The Promotions Were Deceptive and Unlawful.

          460.    Curry and FTX launched a commercial campaign designed to bring cryptocurrency

   and investing in the FTX Platform, including YBAs and/or FTT, to the masses. Curry did not

   properly disclose that he was being compensated by the entity offering and selling the security,

   and in some instances, on information and belief he intentionally disguised or downplayed the fact

   he was being paid for promoting FTX.

          461.    Curry made deceptive statements in his promotions, including statements like,

   “With FTX I have everything I need to buy, sell, and trade crypto safely.”

              e) Curry Knew or Should Have Known He was Soliciting or Assisting FTX to
                 Solicit Investments in Unregistered Securities and/or that He was aiding and
                 abetting FTX Group’s fraud and/or conversion.

          462.    Given Curry’s substantial investment experience (through his investment arm

   SC30) and vast resources to obtain outside advisors (which he had), he knew or should have known

   of potential concerns about FTX selling unregistered crypto securities and/or that he was aiding

   and abetting FTX Group’s fraud and/or conversion, especially to millions of his loyal followers

   and fans. When Curry engaged in the promotions, the legal risks of promoting investments in

   cryptocurrency trading platforms were well known. This is especially true in light of the rampant

   mismanagement and myriad red flags that the FTX Group’s regular business practices set off, as

   more fully described hereinabove.

              f) The Promotions Were Directed at Plaintiffs in Florida, and Customers
                 Nationwide.

          463.    Curry’s promotions were published on public social media accounts accessible to

   plaintiffs nationwide, including in Florida.

          464.    Curry, as a nationally known and famous professional basketball player, has

   considerable influence on basketball fans nationwide and has a wide social media following,


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   further allowing him to direct his unlawful promotions towards plaintiffs in Florida and

   nationwide.

          465.   Curry also provided spokesperson services while playing for the Golden State

   Warriors, including while playing against teams from Florida at home in California, and while

   playing against Florida teams in Florida, including but not limited to December 6, 2021, against

   Orlando in San Francisco; January 3, 2022, against Miami in San Francisco; October 27, 2022,

   against Miami in San Francisco; November 1, 2022, against Miami in Miami; November 3, 2022,

   against Orlando in Orlando.

          466.   Curry has further contacts with Florida and, on information, has engaged in

   business activity in Florida through SC30 Agency LLC, which is a Delaware company that shares

   the same principal address as Curry’s company SC30, Inc. and is authorized to transact business

   in Florida. SC30 Agency LLC has a registered agent located in Plantation, Florida.

           vi.   Defendant Golden State Warriors




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             467.   The Golden State Warriors (the “Warriors”) are an American professional

   basketball team in the NBA and based in San Francisco, California. The team plays its home games

   at the Chase Center. They have won four NBA championship titles in the last decade and are one

   of the most recognizable NBA teams in the league.

                a) The Warriors Partnered with FTX to Promote Its Platform.

             468.   On or around December 14, 2021, the Warriors and FTX announced a first-of-its-

   kind cryptocurrency partnership in professional sports, with the unveiling of the FTX logo on the

   court at the Chase Center. As the Warriors’ Official Cryptocurrency Platform and NFT

   Marketplace, the franchise announced it would drop NFTs on FTX.US, beginning in early 2022.

   The partnership between the Warriors and FTX was the first international rights partner for the

   team, granting both the Warriors and FTX a visible market presence, inclusive of logo and likeness,

   internationally. 171

             469.   FTX’s renaming of the “FTX Arena” in 2021 in Downtown Miami for the NBA

   franchise the Miami Heat served as an important centerpiece for FTX’s efforts to form partnerships

   with ambassadors like the Warriors.

             470.   FTX’s senior executive responsible for creating, consummating, and implementing

   deals between FTX and promotors was Avinash Dabir, who originally worked for Blockfolio,

   which FTX later acquired, and eventually became FTX’s Vice President of Business Development.

             471.   Since early 2021, FTX maintained an office in Miami that was run by Mr. Dabir,

   who operated from the Miami office to formulate and execute FTX’s important celebrity

   partnerships, including the partnership with the Warriors.


   171
         https://www.nba.com/warriors/warriors-ftx-partnership-20211214


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               472.   The negotiation and execution of the Warriors agreement with FTX involved

   communications between the Warriors and Mr. Dabir in FTX’s offices in Miami. On information

   and belief, the Warriors understood the counterparty to the contractual negotiations based its

   domestic operations in Florida.

               473.   In announcing the partnership, Warriors President and Chief Operating Officer

   Brandon Schneider said: “Cryptocurrency has a well-established worldwide community and is

   going to continue to be a major part of the sports, media and entertainment industries, . . . In our

   conversations with FTX, we quickly realized our joint desire to innovate around cryptocurrency

   integration and adoption, including the role NFTs play in global fan engagement.” 172

               474.   The deal also included the Warriors’ G League team, the Golden Guardians and

   Warriors Gaming Squad (affiliated esports teams), in-arena signage at Chase Center, and virtual

   floor signage at Warriors games. 173

               475.   The NBA encourages teams to negotiate international sponsorship arrangements

   and shares in the revenue derived from such partnerships. In the 2021-22 season, the NBA’s second

   largest category of sponsorships came from the crypto industry. NBA teams partnered with, among

   others, Crypto.com, Webull, Coinbase, FTX and Socios.

               476.   The deal terms were not made public, but, upon information and belief, the deal

   was a multiyear pact valued north of $10 million total. 174 The Warriors netted another $2 million

   from NFT sales. 175



   172
         Id.
   173
         https://www.instagram.com/p/CYiBaq8JLx7/ (accessed May 11, 2023).
   174
          https://www.cnbc.com/2021/12/14/ftx-to-pay-golden-state-warriors-10-million-for-global-
   rights.html
   175
         Id.


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                b) The Warriors Engaged in a Sustained and Aggressive Promotion and
                   Advertising Campaign.

             477.   The Warriors and FTX launched a partnership designed to bring cryptocurrency

   and investing in the FTX Platform, including YBAs and/or FTT, to the masses of Warriors fans

   across the country and world.

             478.   FTX US President Brett Harrison said at the outset of the partnership: “The FTX

   US NFT Platform will provide a leading, safe and secure venue for the Warriors international fan

   base to access exclusive collectables from the franchise. Alongside the NFT drops, working with

   the Warriors will increase our ability to create a positive change, not only domestically but

   internationally, with one of the most prestigious professional sport franchises in the world.” 176

             479.   One of the main features of the partnership was the Warriors advertising FTX on

   their home court and throughout the area during home basketball games. These advertisements

   could be seen by the fans in the arena and by viewers of the game broadcast. The Warriors offered

   FTX hours of screen time giving their stamp of approval of FTX to viewers and fans in Texas,

   Florida, and across the country.

             480.   The Warriors also promoted FTX through its social media platforms. In

   approximately May 9, 2022, the Warriors tweeted a promotion for their home playoff game against

   the Memphis Grizzlies and noted that the game was presented by FTX. These kinds of “presented

   by” posts were common during the period of the FTX partnership. This promotion also included

   each fan in attendance receiving an NFT Digital Collectible.




   176
         https://www.nba.com/warriors/warriors-ftx-partnership-20211214


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          481.   In approximately April 12, 2022, the Warriors worked with FTX to offer their own

   NFT Collection. The Golden State Warriors 2022 Playoff NFT Collection was made up of 3,000

   NFTs, featuring 12 unique designs randomly assigned when minted on the blockchain on FTX US,

   the team’s Official NFT Marketplace. The NFT collection was minted exclusively on the FTX US

   NFT marketplace. Each NFT sold for $499.99. Fans must have had a FTX US account to mint and

   participate in the 1-of-1 auction. The Playoff NFT is a digital collectible that doubled as an




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   entrance pass into the GSW community on Discord. The NFTs granted fans access to member-

   only benefits, exclusive Warriors swag and white-list access to future NFT drops. 177




             482.   The Warriors partnered with FTX to have physical merchandise as well. For

   example, one of the last FTX-Warriors promotions was a Jordan Poole bobblehead given to the

   first 10,000 fans at a game against the San Antonio Spurs, In approximately November 15, 2022. 178




   177
         https://www.nba.com/warriors/news/warriors-ftx-2022-playoff-nft-collection-20220412
   178
                 https://www.sportsbusinessjournal.com/Daily/Issues/2022/11/15/Marketing-and-
   Sponsorship/Warriors-stop-FTX-promotions-bankruptcy.aspx


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          483.    As the Warriors expected and understood when entering its partnership with FTX,

   the team’s promotions would be widely viewed nationwide, including in Florida, where the

   Warriors knew or should have known FTX had its domestic home office (including because the

   arena of NBA’s Miami Heat had been renamed “FTX Arena”).

          484.    On information and belief, the Warriors also knew and intended that the team’s

   promotions would be disseminated to consumers in Florida and elsewhere not just on FTX’s

   official social media outlets, but that said promotions would also be linked, published, or reposted

   across innumerable media outlets on the internet and elsewhere.




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               c) The Warriors Had Financial Incentives to Induce Class Members to Invest in
                  FTX and to Trust the Platform.

          485.    As an international rights partner of FTX, the Warriors had a financial incentive to

   induce Plaintiffs to invest with FTX. The Warriors had every incentive to be an effective promoter

   of FTX to continue the partnership relationship and receive payouts for the successful sale of the

   Warriors’ NFT Collection.

               d) The Promotions Were Deceptive and Unlawful.

          486.    The Warriors did not disclose that they were being compensated by FTX for

   promoting the sale of unregistered FTX securities.

               e) The Warriors Knew or Should Have Known They Were Soliciting Or
                  Assisting FTX to Solicit Investments In Unregistered Securities and/or that
                  they were aiding and abetting FTX Group’s Fraud and/or Conversion.

          487.    While negotiating with FTX, the Warriors were on notice of the potential legal

   compliance risks associated with the promotion and partnership.

          488.    The NBA itself warned teams that to enter a sponsorship deal with a cryptocurrency

   company, the team needed to ensure regulatory compliance of the crypto product, and obtain NBA

   approval.

          489.    To ensure regulatory compliance, at a minimum, the Warriors must have conducted

   due diligence to understand how FTX was pooling investments in a common enterprise and using

   those assets to generate the promised returns. Otherwise, it would be impossible to ensure FTX

   was not selling or offering to sell securities or perpetrating fraud or conversion on its customers.

   The Warriors disregarded their obligations to themselves and their fans and went for the money

   instead.




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               f) The Promotions Were Directed at Plaintiffs in Florida, and Customers
                  Nationwide.

            490.   The partnership between the Warriors and FTX included in arena and virtual FTX

   signage at home NBA games, as well as national promotions through the media and social media.

   On information and belief, the Warriors knew and intended these promotions would reach people

   in Florida and nationwide, including because they were displayed at games against Florida teams,

   which were covered by Florida media.

            491.   The Warriors provided promotional services while hosting NBA games against

   teams from Florida including but not limited to December 6, 2021, against Orlando in San

   Francisco; January 3, 2022, against Miami in San Francisco; October 27, 2022, against Miami in

   San Francisco. The broadcasts of these games, with a viewership heavily skewed to Florida,

   included promotions of FTX.

            492.   In approximately January 3, 2022, the Warriors hosted the Miami Heat for a regular

   season NBA game. The national broadcast included FTX promotions on the home Warriors court.

   The screenshot shows Defendant Curry shooting the ball with an FTX logo in the corner of the

   court. The promotions are also included in any rebroadcast of the game including highlights of the

   game on YouTube. 179 The YouTube video of the game highlights has been viewed 1.9 million

   times.




   179
         https://www.youtube.com/watch?v=_Qi7twvAfts&ab_channel=NBA


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            493.   In approximately October 27, 2022, the Warriors hosted the Miami Heat for a

   regular season NBA game. The national broadcast included FTX promotions on the home Warriors

   court. The screenshot shows Defendant Curry holds the ball with an FTX logo in the corner of the

   court. 180 The YouTube video of the game highlights has been viewed 2.4 million times.




   180
         https://www.youtube.com/watch?v=e8tT9QcMzsM&ab_channel=NBA


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             494.   Games against Curry and the Warriors are often some of the most viewed games of

   the season for the visiting team. Fans of Florida teams were more likely to tune in against the high-

   profile Warriors than almost any other team. Therefore, the Warriors knew and intended to benefit

   from the attention and viewership of Florida residents whenever they broadcast a game against

   Florida teams like Miami and Orlando.

             vii.   Defendant Shaquille O’Neal

             495.   O’Neal was a professional basketball player from 1992 through 2011, a

   businessman and entrepreneur, and—lately—a paid promoter of FTX.

             496.   At the beginning of his professional career, O’Neal was drafted by the Orlando

   Magic as the first overall pick in the 1992 NBA draft. He remained with the Orlando Magic for

   four years until 1996. 181 While playing for the Orlando Magic, O’Neal won Rookie of the Year

   (1992 – 1993) and led Orlando to the NBA Finals in 1995. 182

             497.   O’Neal later played for the Miami Heat starting in 2004 until midway through the

   2007–08 season, when he was traded to the Phoenix Suns, then to the Cleveland Cavaliers for the

   2009–10 season.183 In 2011, after a season with the Boston Celtics, O’Neal announced his

   retirement from professional basketball.184

             498.   As a former player for two professional franchises in Florida, the Magic and the

   Heat, O’Neal had a tremendous fan base in the state of Florida and was frequently covered by

   Florida media.


   181
         https://www.nba.com/stats/player/406/career (Shaquille O’Neal).
   182
         https://shaq.com/about (accessed May 8, 2023).
   183
         https://www.nba.com/stats/player/406/career (Shaquille O’Neal).
   184
     https://twitter.com/SHAQ/status/75996821360615425 (“im retiring Video: http://bit.ly/kvLtE3
   #ShaqRetires”) (accessed May 8, 2023).


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               499.   Off the basketball court, O’Neal’s career has included acting, music, television, and

   gaming.185 He has maintained his involvement with basketball by serving as an analyst on Inside

   The NBA.186

               500.   O’Neal’s business career includes hosting and promoting events, such as Shaq’s

   Fun House (“Part Music Festival. Part Carnival.”)187; owning restaurants like Big Chicken188;

   and founding the financial guidance and incoming boosting app, the Steady App.189

               501.   O’Neal-owned Big Chicken describes O’Neal own business career as follows:

                       Shaquille O’Neal is one of the world’s most successful athlete-turned-
               businessmen, whose accomplishments both on and off the court have translated into
               a highly sought-after consumer brand. As an entrepreneur, sports analyst, DJ,
               restaurateur, and brand ambassador, Shaquille O’Neal’s signature “Business of
               Fun” mantra resonates throughout each of his countless endeavors. 190

                  a) O’Neal Partnered with FTX to Promote Its Platform.

               502.   In approximately June 1, 2022, Defendant Shaquille O’Neal, former professional

   NBA basketball star, sports analyst, and entrepreneur, unveiled his partnership with FTX, stating

   in a video posted on FTX’s Twitter account that “I’m excited to be partnering with FTX to help

   make crypto accessible for everyone. I’m all in. Are you?” 191




   185
         https://shaq.com/about (accessed May 8, 2023).
   186
         Id.
   187
         https://shaqsfunhouse.com/ (accessed May 8, 2023).
   188
         https://www.bigchicken.com/blue-origin (accessed May 8, 2023).
   189
         https://www.steadyapp.com/about-us (accessed May 8, 2023).
   190
         https://www.bigchicken.com/blue-origin (accessed May 8, 2023).
   191

   https://twitter.com/FTX_Official/status/1532119977381208066?s=20&t=5wTm55FDE6c0cCD9
   vCndYg (accessed May 11, 2023).


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          503.   The overarching objective of the partnership was for O’Neal, through a series of

   promotions and media campaigns, to help FTX successfully solicit or attempt to solicit investors

   in FTX’s crypto-related securities from Florida and nationwide.

          504.   As O’Neal expected and understood when entering its partnership with FTX, the

   team’s promotions would be widely viewed nationwide, including in Florida, where O’Neal knew

   or should have known FTX had its domestic home office (including because the arena of NBA’s

   Miami Heat had been renamed “FTX Arena”).

          505.   On information and belief, O’Neal also knew and intended that the team’s

   promotions would be disseminated to consumers in Florida and elsewhere not just on FTX’s


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   official social media outlets, but that said promotions would also be linked, published, or reposted

   across innumerable media outlets on the internet and elsewhere.

               b) O’Neal Engaged in a Sustained and Aggressive Promotion and Advertising
                  Campaign

            506.   Prior to the official unveiling of his partnership with FTX, in approximately January

   2022, O’Neal unveiled the sponsorship by FTX of Shaq’s Fun House, O’Neal’s recurring “part

   music festival, part carnival” event. On January 5, 2022, O’Neal posted to Instagram regarding the

   Shaq’s Fun House, inviting his millions of followers to “[j]oin [him] at my part music festival, part

   carnival    experience   @ShaqsFunHouse        presented   by   @FTX_Official.” 192     He    tagged

   @FTX_Official in his commentary and included FTX in the image advertising the event.




   192
         https://www.instagram.com/p/CYWysInrVNC/.


                                                   184
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            507.   On January 7, 2022, O’Neal again posted a video to Instagram regarding the Shaq’s

   Fun House Event, which he described as “presented by @FTX_official,” and informed his

   followers that tickets were on sale. 193




            508.   On January 9, 2022—for the third time within one week—O’Neal posted to

   Instagram regarding the Shaq’s Fun House event, which once again featured the sponsorship of

   the event by FTX. 194




   193
         https://www.instagram.com/p/CYcMQKQpJRo/.
   194
         https://www.instagram.com/p/CYhLk1NLZEE/.


                                                  185
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            509.   That same week, O’Neal promoted the Shaq’s Fun House event “presented by

   FTX” on Twitter, as well, tweeting his promotions on January 5 and January 7. 195

            510.   On January 18, 2022, O’Neal again promoted his Shaq’s Fun House event on

   Instagram with a new video, which continued to include the sponsorship by FTX. 196




   195
                https://twitter.com/SHAQ/status/1478768583316590601            (January   5);
   https://twitter.com/SHAQ/status/1479524696932724743 (January 7).
   196
         https://www.instagram.com/p/CY424wSsLAY/.


                                                 186
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            511.   A week later, on January 25, 2022, Shaqsfunhouse—the Instagram account for

   O’Neal’s event—promoting the upcoming event with a post regarding the “Shaq-sized

   @ftx_official Ferris Wheel,” which features the FTX name at the center of the Ferris wheel. The

   same post exhorted followers to “look for FTX QR codes � throughout the night.” 197




   197
         https://www.instagram.com/tv/CZK60ijIoUf/.


                                                187
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            512.   That same day, on January 25, 2022, Shaqsfunhouse posted to Instagram a video

   promoting the upcoming Shaq’s Fun House event, which included video footage of O’Neal himself

   promoting the event, and he noted that the event was presented by FTX. 198




   198
         https://www.instagram.com/tv/CZLPFABoe_9/.


                                                 188
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            513.   On January 28, 2022, Shaqsfunhouse again posted to Instagram a promotion of the

   even, tagging FTX and including FTX multiple times on the promotional poster. 199




   199
         https://www.instagram.com/p/CZSXZgjvpOg/.


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            514.   The day after the event itself FTX posted to Instagram a promotion video featuring

   O’Neal. 200 O’Neal was filmed narrating the introduction to the video himself, saying, “Hey this is

   Shaquille O’Neal. FTX presents Shaq’s Fun House.”




   200
         https://www.instagram.com/tv/CZ4M57DjjoQ/.


                                                  190
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               515.   The video confirms that FTX logos were posted prominently at the event itself. 201




   201
         Id.


                                                     191
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            516.   After the event O’Neal also posted on Instagram to thank his “my friends over at

   FTX for making this the biggest and baddest party of the � Big Weekend!” 202 The images from

   this post also confirm that FTX’s name—and QR codes—were emblazoned across the

   carnivalesque event itself.




   202
         https://www.instagram.com/p/CaBTjzNgUwm/?hl=en.


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            517.   O’Neal shared this same message by twitter as well. 203




   203
         https://twitter.com/SHAQ/status/1493767180495859712.


                                                  194
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            518.   Once again, on March 3, 2022, O’Neal took to Instagram to thank FTX, among

   others, for the Shaq’s Fun House event. 204




   204
         https://www.instagram.com/p/CapxdbJtImf/.


                                                 195
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            519.   O’Neal tweeted a similar message on March 3, 2022, expressing gratitude about

   Shaq’s Fun House Los Angeles “presented by @ftx_official.” 205




   205
         https://twitter.com/SHAQ/status/1499445020562231304.


                                                196
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          520.    On March 29, 2022, O’Neal replied to Stephen Curry’s tweet promoting FTX.

   Initially, FTX itself had tweeted, “Want to learn more about crypto? As the world’s leading crypto

   expert, @stephencurry30 has got you covered...or does he?” Curry responded, “Do I look like a

   crypto expert?! � Thankfully @FTX_Official got me http://ftx.us/notanexpert and @Shaq stop




                                                  197
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   playin...” In turn, O’Neal bolstered Curry’s credibility by responding, “I don’t care what anyone

   says he’s a crypto expert.” 206




            521.   The coordinated promotional activity between FTX and multiple of its celebrity

   promotors on March 29, 2022, is but one example of the carefully orchestrated activity between

   Defendants to accomplish the objective of influencing and soliciting consumers to invest in FTX’s

   crypto-related securities, while making misstatements or material omissions of fact (such as the


   206
         https://twitter.com/SHAQ/status/1508886959728447488.


                                                 198
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   compensation the celebrities were receiving for their promotions, which they purposely and

   deceptively portrayed unplanned, bono fide banter between megastars, which was simply untrue).

            522.   Despite being orchestrated to appear to ordinary consumers as a genuine and non-

   commercial expression of support by O’Neal that “I don’t care what anyone says he’s a crypto

   expert,” in fact, these campaigns were carefully orchestrated and contractually required.

            523.   With respect to O’Neal’s promotional activity and social media comments on this

   date and numerous other dates, Plaintiffs have not yet been able to discover facts bearing on the

   contacts between O’Neal (directly or through his agents) and FTX’s employees in Florida for

   purposes of receiving instructions about the timing or scripts for these promotions.

            524.   On May 4, 2022, O’Neal tweeted at @FTX_Official inquiring whether it had “an

   extra ticket” for FTX Off the Grid, which was happening in Miami. @FTX_Official responded:

   “Absolutely @shaq We got you � http://ftxoffthegrid.com.” O’Neal in turn replied: “I’m in

   @FTX_Official. Got my NFT. See you there.” 207




   207
         https://twitter.com/SHAQ/status/1521960873639784449.


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             525.   After months of promoting FTX’s sponsorship of Shaq’s Fun House, FTX and

   O’Neal announced their formal partnership. On June 1, 2022, FTX tweeted: “We couldn’t keep it

   secret any longer! We’re partnering with...the one...the only... @SHAQ! (a.k.a. Shaqtoshi).”

   O’Neal then re-tweeted this post. 208




   208
         https://twitter.com/FTX_Official/status/1532119977381208066.


                                                 201
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          526.    In the video that FTX tweeted on June 1, 2022—and that O’Neal re-tweeted—

   O’Neal says: “I’m excited to be partnering with FTX to help make crypto accessible for everyone.

   I’m all in. Are you?”




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            527.   That same day, O’Neal tweeted that he had “teamed up with @FTX_Official to

   help make crypto more accessible for everyone.” He provided a code to “earn” $10 if a user

   “trade[s]” $100 and provided a direct link for users to begin their “journey.” 209




   209
         https://twitter.com/SHAQ/status/1532120526788886528.


                                                   203
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            528.    One week later, O’Neal was a guest on Episode 114 of “The FTX Podcast –

   Builders and Innovators in the Cryptocurrency Industry,” which was hosted by Tristan Yver. 210

            529.    The FTX Podcast promoted the episode with the following description:

           Join us for this episode to get a real, genuine heartfelt feel expressed by Shaq throughout
   the conversation & insight to how/why he approaches life & business the way he does. Shaq also
   shares about his crypto project ‘Astrals’ he has with his son & their partnership with Solana!
   Thank you, Shaq, for your time, energy and insight! 211

            530.    On the podcast, O’Neal describes his business philosophy, how he became involved

   with cryptocurrency, and his own personal cryptocurrency project, Astrals, which he began with

   his family.

            531.    On June 8, 2022, the host of the podcast, Tristan Yver, tweeted about the episode,

   which O’Neal subsequently tweeted to his followers: “An @FTX_Official podcast with @SHAQ.

   This one was a lot of fun!” 212

                 c) O’Neal Had Financial Incentives to Induce Class Members to Invest in FTX
                    and to Trust the Platform.

            532.    O’Neal had every incentive to be effective promoters of FTX in order to continue

   the ambassador relationship and continue receiving payment for his services. Indeed, after FTX

   began to collapse, O’Neal defended his involvement with FTX by claiming that he was “just” a

   “paid spokesperson for a commercial.” 213




   210
         https://open.spotify.com/episode/2lq0BHiZb88xNRdZ9wUes4.
   211
         https://open.spotify.com/episode/2lq0BHiZb88xNRdZ9wUes4.
   212
         https://twitter.com/yver__/status/1534572563904573443?cxt=HHwWhsC9mbnn8ssqAAAA.
   213
             https://www.cnbc.com/2022/12/15/shaq-on-crypto-ftx-post-collapse-i-was-just-a-paid-
   spokesperson.html.


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                d) The Promotions Were Deceptive and Unlawful.

             533.   O’Neal’s promotion of FTX was deceptive because it promoted widely FTX, which

   would necessarily entail investment in unregistered securities. Because the FTX Platform, YBAs

   and/or FTT should have been registered as securities but were not, they could not be sold lawfully.

             534.   In promoting the sale of unregistered securities, O’Neal’s post was deceptive to his

   followers and to any viewers of the post.

             535.   O’Neal and FTX launched a commercial campaign designed to bring

   cryptocurrency and investing in the FTX Platform, including YBAs, to the masses. O’Neal did not

   properly disclose that he was being compensated by the entity offering and selling the security,

   and in some instances, on information and belief, he intentionally disguised or downplayed the

   fact that he was being paid for promoting FTX.

             536.   O’Neal’s advertisements were designed to lead viewers to believe that the

   investment was safe and suitable for everyone, regardless of knowledge level or socioeconomic

   status.

                e) O’Neal Knew or Should Have Known He Was Soliciting or Assisting FTX to
                   Solicit Investments in Unregistered Securities and/or that He was Aiding and
                   Abetting FTX Group’s Fraud and/or Conversion.

             537.   Given O’Neal’s substantial investment experience—including his entrepreneurial

   activities ranging from Shaq’s Fun House to Big Chicken—and vast resources to obtain outside

   advisors (which he had), he knew or should have known of potential concerns about FTX selling

   unregistered crypto securities and/or that he was aiding and abetting the FTX Group’s fraud and/or

   conversion, especially promoting FTX to his 30.4 million followers on Instagram and followers

   on other platforms. This is especially true in light of the rampant mismanagement and myriad red

   flags that the FTX Group’s regular business practices set off, as more fully described throughout.




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            538.   In his conversation on Episode 114 of The FTX Podcast, O’Neal explained that one

   of his favorite words from a business book that had guided him is “due diligence.” 214 He explained

   further that when “things that are too good to be true, stay away from it.” Under his philosophy,

   even if “It looks so good, and I want to invest, you just stay away from it.” He also explained that

   his philosophy was that “I like asking questions. If I don’t know something, I’ll ask.”

            539.   With respect to cryptocurrency, O’Neal explained on Episode 114 that he initially

   did not know about cryptocurrency when it became popular, but learned about it and, subsequently,

   he and his family started his own project called Astrals.

            540.   Based on his investment and business experience, investment philosophy, and

   knowledge of cryptocurrency, O’Neal knew or should have known of potential concerns about

   FTX selling unregistered crypto securities and/or that he was aiding and abetting FTX Group’s

   fraud and/or conversion.

                f) The Promotions Were Directed at Plaintiffs in Florida, and Customers
                   Nationwide.

            541.   O’Neal’s promotions were published on public social media accounts and on

   podcast platforms with national distribution. They were accessible to plaintiffs nationwide,

   including in Florida.

            542.   The partnership between FTX and O’Neal specifically targeted Florida residents

   because he conducted his sponsorship campaign, at least in part, from Miami, Fla., played for two

   Florida professional sports teams for substantial periods of his career, and planned and promoted

   events in Florida. His social media followers, and fans in general, are likely to be drawn

   disproportionately from Florida. Likewise, Florida media is likely to cover his interviews,



   214
         https://open.spotify.com/episode/2lq0BHiZb88xNRdZ9wUes4.


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   promotions, and other activities because he is of interest to current and former fans of the Orlando

   Magic and the Miami Heat.

          543.    As part of O’Neal’s promotional campaign for FTX, he appears on Episode 114 of

   “The FTX Podcast,” hosted by Tristan Yver, which was released on June 8, 2022. 215 O’Neal

   recorded the episode with Yver from Miami, Florida, telling Yver on the podcast, “Loosen up

   brother, loosen up . . . You’re in Miami, relax.”

          544.    Yver tweeted about the podcast episode from his @yver__ account, which O’Neal

   then re-tweeted from his @SHAQ account. Yver’s tweet—and O’Neals re-tweet—included a one-

   minute video excerpt of the podcast conversation, which had 54,300 views.




   215
      https://open.spotify.com/episode/2lq0BHiZb88xNRdZ9wUes4 (“Welcome to episode 114 of
   the FTX Podcast with special guest Shaquille O’Neal and your host Tristan Yver! Shaquille is a
   family man, basketball superstar, businessman, TV personality, music artist, crypto project
   entrepreneur, role model & humanitarian.”).


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             545.   O’Neal’s professional involvement with the State of Florida goes back three

   decades, beginning with being drafted to the Orlando Magic in 1992. In addition to his four years

   with the Orlando Magic, O’Neal played for the Miami Heat from 2004 through 2008.

             546.   In 2018, O’Neal began hosting “Shaq’s Fun House,” which describes itself as “Part

   Music Festival. Part Carnival.” 216 The inaugural Fun House was held in Miami in 2018, which



   216
         https://shaqsfunhouse.com/ (accessed May 8, 2023).


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   included O’Neal himself serving as a D.J. (“DJ Diesel”), alongside others. Building on O’Neal’s

   basketball career, Shaq’s Fun House’s inaugural edition included participation from Superbowl

   Champion Rob Gronkowski. 217 Shaq’s Fun House returned to Miami in 2019 and 2020.

            547.   After the 2019 Fun House, Shaq posted to Instagram, inviting his followers who

   “missed the most epic miami music week party of all time” to watch the video online as well. 218




            548.   Before the January 2020 Shaq’s Fun House in Miami, O’Neal posted a video

   including himself to Instagram in order to invite his followers to the Miami event and exhorting

   them to “See [Him] in Miami.” 219




   217
            https://www.sbnation.com/lookit/2018/3/24/17159226/shaq-gronk-fun-house-dance-battle-
   video.
   218
         https://www.instagram.com/p/By_XwXeFyUE/.
   219
         https://www.instagram.com/p/B7TyWemlWyC/.


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            549.   Through the present day, O’Neal continues to conduct his promotional and business

   activities in Florida.

            550.   In February 2020, O’Neal was in Miami for the Super Bowl (“The Big Game”) and

   used this time “when I was in Miami” to post to Instagram to promote insurance sold by The

   General—one of O’Neal’s promotional campaigns. 220




   220
         https://www.instagram.com/p/B8R9GZPFvax/


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            551.   The next month he remained in Florida and posted to Instagram regarding a music

   event occurring in Fort Lauderdale, saying, “Ft lauderdale was crazy last night

   #Springbreak2020.” 221




   221
         https://www.instagram.com/p/B9gcb14F2N9/


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            552.   In June 2020, because of the COVID-19 pandemic, O’Neal co-hosted a joint event,

   “Shaq’s Fun House vs. Gronk Beach,” which was performed in Orlando, Fla., and broadcast

   virtually. In 2021, again because of COVID-19 pandemic, O’Neal hosted a livestreamed “Shaq

   Bowl” from Tampa, instead of a Fun House. He promoted the event on Instagram again. 222




   222
         https://www.instagram.com/p/CKl-SsQDWqW/


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            553.   O’Neal also became involved in political activities in South Florida, posting to

   Instagram a political endorsement for Aramis Ayala, then a candidate for Florida’s Tenth

   Congressional District. 223




   223
         https://www.instagram.com/p/CPo2uhwlsi8/.


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            554.   In 2021 and 2022, O’Neal promoted the Invicta watch brand from South Florida.

   On July 16, 2021, O’Neal was at Sawgrass Mills Mall in Sunrise, Fla., promoting his “#SHAQ

   collection” at the Invicta Store, which he promoted on Instagram on July 14, 2021. 224




   224
         https://www.instagram.com/p/CRUuxbdDnY4/


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            555.   Again, on December 2, 2022, O’Neal was in person at the Sawgrass Mall in South

   Florida to promote the Invicta watch brand. He posted about this appearance that same day on

   Instagram, asking “Whose [sic] ready to meet me at #SawgrassMall in #SouthFlorida TODAY.”225




   225
         https://www.instagram.com/p/ClrI_55O-W9/.


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            556.   In an event occurring on May 6 – 7, 2022, O’Neal performed as “DJ Diesel” in

   Orlando, Florida. O’Neal posted to Instagram on his @djdiesel account to promote the event on

   January 16, 2022. 226




   226
         https://www.instagram.com/p/CYzJMEwJ8gJ/.


                                                216
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          557.   On September 9, 2022, O’Neal performed as “DJ Diesel” in Tallahassee, Fla. 227




   227
      https://www.iheart.com/content/2022-06-23-shaq-is-djing-in-a-city-near-you-this-summer-
   see-the-tour-dates/ (accessed May 9, 2023).


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          558.   On October 31, 2022, O’Neal performed as “DJ Diesel” in Gainesville, Fla. 228




   228
      https://www.iheart.com/content/2022-06-23-shaq-is-djing-in-a-city-near-you-this-summer-
   see-the-tour-dates/ (accessed May 9, 2023).


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             viii.   Defendant Trevor Lawerence




             559.    William Trevor Lawrence was the first overall pick in the 2021 NFL Draft and is

   now the star starting quarterback for the Jacksonville Jaguars. He won a National Championship

   in college at Clemson University and was the highest-rated prospect heading into the NFL Draft—

   leading NFL fans to hope their teams would “Tank for Trevor,” i.e., lose games so they could get

   the number one pick in the Draft and select Lawrence. 229




   229
               https://nypost.com/2020/09/30/what-trevor-lawrence-thinks-of-tank-for-trevor-nfl-draft-
   slogan/


                                                    220
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                a) Lawrence Partnered with FTX to Promote Its Platform.

            560.   In approximately April 2021, Lawrence partnered with FTX—through one of

   FTX’s investment apps Blockfolio—as a brand ambassador, which included posting on social

   media and appearing in promotional and marketing materials.

            561.   In August 2020, FTX announced the acquisition of Blockfolio, then the market’s

   leading mobile news and portfolio tracking app. Coindesk reported that “the deal is a strategic play

   for FTX, whose clientele consists largely of quants and professional traders, to attract more retail

   customers.” 230 The app became known as FTX: Blockfolio at the time of the merger, and

   subsequently transitioned to FTX app. An FTX press release on the name change quotes Bankman-

   Fried as stating: “The rebrand of FTX: Blockfolio to FTX puts the final cap on our acquisition of

   Blockfolio, doubling down on our commitment to being the number one crypto trading platform

   for both retail and institutional users. Rebranding Blockfolio shows our commitment to mobile

   trading, and is just another step in growing our brand on a global scale and will allow us to bring

   new features to market and better the user experience.” 231

            562.   In exchange for these services, Lawrence received a substantial total compensation

   package of “multi-million” dollars. 232 Lawrence received a “significant signing bonus” paid

   completely in cryptocurrency, a first-of-its-kind deal that was heavily promoted in the media. 233




   230
      https://www.coindesk.com/markets/2020/08/25/ftx-exchanges-150m-deal-for-mobile-first-
   blockfolio-is-a-retail-trading-play/
   231
      https://www.prnewswire.com/news-releases/ftx-blockfolio-app-rebrands-to-ftx-
   301343419.html
   232
         https://www.nytimes.com/2021/04/26/business/dealbook/ceo-pay-pandemic.html
   233
     https://www.forbes.com/sites/chriscason/2021/04/26/trevor-lawrence-makes-first-investment-
   move-with-first-of-its-kind-partnership-with-blockfolio/?sh=344e295347ef


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             563.   FTX COO Sina Nader said that Lawrence’s deal with FTX “speaks to increasing

   awareness and mindshare when it comes to what people are aware of in finance. Once you start to

   see names like Trevor Lawrence, and prominent people in entertainment, the taboo is officially

   shattered. People are realizing that crypto is a real thing.” 234

             564.   The overarching objective of the partnership was for Mr. Lawrence, through a

   series of promotions and media campaigns, to help FTX successfully solicit or attempt to solicit

   investors in FTX’s crypto-related securities from Florida and nationwide.

                b) Lawrence Engaged in a Sustained and Aggressive Promotion and
                   Advertising Campaign.

             565.   In approximately April 2021, Lawrence appeared in widespread advertisements

   announcing and promoting his partnership with Blockfolio, garnering substantial attention, and

   reaching a large nationwide audience. 235




   234
         https://decrypt.co/69064/nfl-trevor-lawrence-signs-endorsement-deal-with-blockfolio-ftx
   235
         https://www.colormatics.com/case-study/ftx-trevor-lawrence/


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          566.     In approximately June 16, 2021, Lawrence appeared on “The FTX Podcast.” He

   discussed how the decision factors to go to Clemson paralleled to the FTX Blockfolio Team. 236




   236
                  https://blockpaths.com/the-ftx-podcast-67-trevor-lawrence-the-jacksonville-jaguars-
   quarterback/


                                                   226
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          567.   In approximately October 7, 2021, Lawrence posted and appeared in an

   advertisement promoting FTX sign-ups and linking to Blockfolio’s website. Lawrences said that

   FTX was the “safe” way “to start your journey with cryptocurrency,” and that he was “in.”




                                                227
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           568.    As he expected and understood when entering into his partnership with FTX, Mr.

   Lawrence’s promotions would be viewed nationwide, including in Florida, where Mr. Lawrence

   knew or should have known FTX had its domestic home office (including because the arena of

   NBA’s Miami Heat had been renamed “FTX Arena”).

           569.    On information and belief, Mr. Lawrence also knew and intended that his

   promotions would be disseminated to consumers in Florida and elsewhere not just on FTX’s

   official social media outlets, but that said promotions would also be linked, published, or reposted

   across innumerable media outlets on the internet and elsewhere.

               c) Lawrence Had Financial Incentives to Induce Class Members to Invest in
                  FTX and to Trust the Platform.

           570.    Lawrence had a financial incentive to induce Plaintiff’s to invest with FTX. He was

   paid, at least in part, in FTX cryptocurrency − the value of which depended on the financial success

   of FTX.

           571.    Further, Lawrence had every incentive to be an effective promoter of FTX in order

   to continue the ambassador relationship and continue receiving payment for his services.

               d) The Promotions Were Deceptive and Unlawful.

           572.    Lawrence did not disclose that he was being compensated by FTX for promoting

   the sale of FTX securities.

           573.    Lawrence made deceptive statements in his promotions, including that FTX was

   “the safe and easy way to start your crypto journey” and that FTX was a “long-term partner in the

   space that I could trust.” 237




   237
     https://www.forbes.com/sites/chriscason/2021/04/26/trevor-lawrence-makes-first-investment-
   move-with-first-of-its-kind-partnership-with-blockfolio/?sh=344e295347ef


                                                   229
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              e) Lawrence Knew or Should Have Known He Was Soliciting and/or Assisting
                 FTX to Solicit Investments in Unregistered Securities and/or that He was
                 Aiding and Abetting FTX Group’s Fraud and/or Conversion.

          574.    Given Lawrence’s experience with sponsorship deals (Lawrence also endorsed

   deals with Adidas and Gatorade before being drafted) and vast resources to obtain outside advisers

   (which he had), he knew or should have known of potential concerns about FTX selling

   unregistered crypto securities and/or that he was aiding and abetting FTX Group’s fraud and/or

   conversion, especially to millions of his followers. This is especially true in light of the rampant

   mismanagement and myriad red flags that the FTX Group’s regular business practices set off, as

   more fully described throughout.

              f) The Promotions Were Directed at Plaintiffs in Florida, and Customers
                 Nationwide.

          575.    Lawrence’s promotions were published on public social media accounts and

   displayed on many websites. They were accessible to plaintiffs nationwide, including in Florida.

          576.    The partnership between FTX and Lawrence specifically targeted Florida residents

   because Lawrence is a Florida resident and Jacksonville’s biggest athletic star, as the starting

   quarterback and cornerstone franchise player of the Jacksonville Jaguars (the only major

   professional sports team in Jacksonville). His social media followers, and fans in general, are likely

   to be drawn disproportionately from Florida. Likewise, Florida media is likely to cover his

   interviews, promotions, and other activities because he is of interest to fans of his team. As the

   number-one overall pick in the NFL Draft, and one of the best and most famous players in the

   NFL, Lawrence generates significant attention nationwide, as well.




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           ix.    Defendant Shohei Ohtani




          577.    Shohei Ohtani is a global icon and history-making professional baseball superstar

   from Japan, most widely known for his versatility, playing successfully in the MLB as an

   outfielder, designated hitter, and pitcher. He currently plays for the Los Angeles Angels.




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               a) Ohtani Partnered with FTX to Promote Its Platform.

           578.    In approximately November 2021, Ohtani partnered with FTX to provide it with

   spokesperson and marketing services pursuant to a written agreement. Those services included

   appearing in a commercial and as a spokesperson for the brand.

           579.    Ohtani’s signed on as a long-term global ambassador with both FTX US and FTX

   International. 238




   238
      https://www.prnewswire.com/news-releases/mlb-superstar-shohei-ohtani-joins-ftx-as-global-
   ambassador-through-long-term-partnership-301425911.html (accessed May 11, 2023).


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             580.   In exchange for these services, Ohtani received a substantial total compensation

   package. Ohtani received all of his compensation in equity and cryptocurrencies. Because of his

   compensation structure, the more success that Ohtani had in influencing consumers to make

   investments on the FTX platform, the more Ohtani stood to profit financially.

             581.   In an interview with CNN about the Ohtani partnership, Bankman-Fried stated:

   “We are really excited to give our partners a stake because it means we are aligned. As much as

   we are rooting for them on the field, hopefully they are rooting for us to do well in our arena.” 239

             582.   Ohtani did not disclose the form or amount of payments received under the

   agreement to the public when promoting FTX.

                b) Ohtani Engaged in a Sustained and Aggressive Promotion and Advertising
                   Campaign.

             583.   Ohtani partnered with FTX and provided services in accordance with his

   agreement. For example, he appeared in commercials for FTX and acted as a spokesperson.

   Specific examples of his promotions of FTX follow:

             584.   In approximately November 16, 2021, FTX shared the news of Ohtani’s signing on

   its twitter account.




   239
         https://www.cnn.com/2021/11/16/business/bitcoin-crypto-ftx-ohtani/index.html


                                                   234
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          585.   In approximately January 31, 2022, FTX tweeted about its relationship with Ohtani,

   congratulating Ohtani for being on the cover of a MLB video game.




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          586.   In approximately April 2022, Ohtani appeared in a commercial for FTX which

   poked fun at a contest he ran years prior to come up with his nickname. One character in the

   commercial suggests, “The Great Cryptohani” since “he’s also into crypto, NFTs.” 240



   240
         https://www.thedrum.com/news/2022/04/07/ftx-dubs-mlb-all-star-shohei-ohtani-the-great-
   cryptohtani


                                                 237
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          587.    Ohtani appeared in a second commercial that aired In approximately August 2022

   on regional and national television, which featured the claim that Ohtani “Hits. Pitches. Invests.

   Does it all on the platform that trades it all, FTX.” That ad can be viewed at the following link:

   https://www.youtube.com/watch?v=Is72XSKuUqA.

          588.    In approximately August 1, 2022, FTX tweeted an image of an FTX billboard

   featuring Ohtani.




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          589.   Ohtani also provided spokesperson services while playing for the Los Angeles

   Angels, including while playing against teams from Florida at home, and while playing against

   Florida teams in Florida, including but not limited to April 11-12, 2022 against Miami in Los

   Angeles, May 9-11, 2022 against Tampa Bay in Los Angeles, July 5-6, 2022 against Miami in

   Miami, and August 22-25, 2022 against Tampa Bay in Tampa.




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             590.   Commercials and promotional images were shared and re-broadcast across social

   media. Nationwide network, and local networks such as NBC Miami, routinely covered Ohtani’s

   career. 241




             591.   Because some social media posts have been removed, and some FTX resources are

   not publicly accessible, additional advertisements may be located in discovery.

             592.   The overarching objective of the partnership was for Ohtani, through a series of

   promotions and media campaigns, to help FTX successfully solicit or attempt to solicit investors

   in FTX’s crypto-related securities from Florida and nationwide.


   241
         https://www.nbcmiami.com/tag/shohei-ohtani/.


                                                  240
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          593.    As Ohtani expected and understood when entering his partnership with FTX, his

   promotions would be widely viewed worldwide, including in Florida, where he knew or should

   have known FTX had its domestic home office (including because the arena of the NBA’s Miami

   Heat had been renamed FTX Arena).

          594.    On information and belief, Ohtani also knew and intended that the team’s

   promotions would be disseminated to consumers in Florida and elsewhere not just on FTX’s

   official social media outlets, but also that said promotions would be linked, published, or reposted

   across innumerable media outlets on the internet and elsewhere.

              c) Ohtani Had Financial Incentives to Induce Class Members to Invest in FTX
                 and to Trust the Platform.

          595.    Ohtani had a financial incentive to induce Plaintiffs to invest with FTX. He owned

   an equity stake in FTX, and was paid in cryptocurrency and equity − the value of which depended

   on the financial success of FTX.

          596.    Further, Ohtani had every incentive to be effective promoters of FTX in order to

   continue the ambassador relationship and continue receiving payment for his services.

              d) The Promotions Were Deceptive and Unlawful.

          597.    Ohtani did not disclose that he was being compensated by FTX for promoting the

   sale of FTX securities.

          598.    Ohtani made deceptive statements in his promotions, including statements that he

   “does it all on the platform.”

              e) Ohtani Knew or Should Have Known He Was Soliciting or Assisting FTX to
                 Solicit Investments in Unregistered Securities, and/or that He was Aiding
                 and Abetting FTX Group’s Fraud and/or Conversion.

          599.    Given Ohtani’s experience with sponsorship deals and vast resources to obtain

   outside advisors (which he had), he knew or should have known of potential concerns about FTX


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   selling unregistered crypto securities and/or that he was aiding and abetting FTX Group’s fraud

   and/or conversion, especially to millions of his fans. This is especially true in light of the rampant

   mismanagement and myriad red flags that the FTX Group’s regular business practices set off, as

   more fully described hereinabove.

                 f) The Promotions Were Directed at Plaintiffs in Florida, and Customers
                    Nationwide.

          600.      Ohtani’s promotions were published on public social media accounts and aired on

   local and national television broadcasts. They were accessible to plaintiffs nationwide, including

   in Florida.

          601.      The partnership between FTX and Ohtani specifically targeted Florida residents

   because Ohtani played MLB games in Florida, and against Florida teams in Los Angeles – both of

   which were covered by Florida media – while acting as a brand ambassador for FTX.

            x.      Defendant Naomi Osaka




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                  a) Naomi Osaka Partnered with FTX to Promote Its Platform.

               602.   Defendant Naomi Osaka, a 24-year-old professional tennis player and four-time

   Grand Slam singles champion, became a brand ambassador for FTX with the express purpose of

   “getting more women to start investing in crypto.” 242

               603.   Osaka wore the FTX logo on the kit she wore at tournaments, including the 2022

   Miami Open. 243

               604.   Osaka and FTX launched a commercial designed to bring cryptocurrency and

   investing in the FTX Platform, including YBAs, to the masses. Osaka did not properly disclose

   that she was being compensated by the entity offering and selling the security

               605.   Osaka’s essential objective as an FTX ambassador, for which she was highly

   compensated, was ultimately to assist FTX in its campaign to solicit investments in crypto-related

   securities offered on its platform.

               606.   In exchange for an equity stake in FTX and payments in unspecified amounts of

   cryptocurrency, Osaka directed and produced content in association with the FTX Group designed

   to promote the offer and sale of the unregistered FTX Platform, YBAs and/or FTT securities,

   hoping “she will reach a global audience.” 244




   242
       https://coinmarketcap.com/alexandria/article/naomi-osaka-tennis-star-teams-up-with-ftx-and-
   she-s-getting-paid-in-crypto-too (accessed May 11, 2023).
   243
         Id.
   244
         Id.


                                                    243
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                b) Naomi Osaka Engaged in a Sustained and Aggressive Promotion and
                   Advertising Campaign.

             607.   Osaka confirmed her involvement by tweeting a glitzy new FTX ad to her 1.1

   million          Twitter      followers,      which        can        be       viewed        here:

   https://www.youtube.com/watch?v=w0dLcBDuq5A




             608.   It shows the tennis star competing in a comic-strip. Accompanied by overly

   dramatic music, she says: “They thought they made the rules for us. They thought they could

   control us. They were wrong.”

             609.   The video then cuts to a boardroom full of marketing executives talking about the

   ad in a tongue-in-cheek way — and discussing other ideas… including Osaka heading to the moon.




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   An idea to have a QR code bouncing around the screen (a clear nod to Coinbase’s Super Bowl

   spot) is dismissed for being “boring.”

               610.   They settle on letting Osaka speaking for herself — and play a mock-up of the

   tennis ace giving an interview to a news channel where she says: “I’m Naomi Osaka and I’m proud

   to partner with FTX. Making cryptocurrency accessible is a goal that FTX and I are striving

   towards.” The ad ends with the tagline: “Naomi is in. You in?”

               611.   Osaka, in accord with her partnership agreement with FTX, engaged in a sustained

   and aggressive promotion campaign, specifically targeting vulnerable young woman in a perverse

   attempt to mitigate societal inequality. 245

               612.   As part of this partnership, Osaka was tasked with producing content that would

   “focus on bringing women on the platform” and to “further democratize the space.” 246

               613.   Furthermore, Osaka wore tennis gear with the FTX logo on it following her

   announcement, starting with the 2022 Miami Open, including the during the final.




   245
         https://www.hollywoodreporter.com/business/digital/naomi-osaka-crypto-ftx-1235115487/
   (accessed May 8, 2023).
   246
         Id.


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          614.   After winning her quarter-final and semi-final match, Osaka tweeted pictures of

   herself celebrating, while wearing the tennis gear with the FTX logo.




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             c) Naomi Osaka Had Financial Incentives to Induce Class Members to Invest in
                FTX and to Trust the Platform.

          615.   Osaka had a financial incentive to induce Plaintiffs to invest with FTX. She held an

   equity stake in FTX–the value of which depended on the financial success of FTX.




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          616.    Further, Osaka had every incentive to be an effective promoter of FTX in order to

   continue the ambassador relationship and continue receiving payment for her services.

          617.    Moreover, Osaka received compensation in crypto. The value of cryptocurrencies

   were inextricably linked to the success of FTX trading platform, providing Osaka with even greater

   incentive to ensure the success of FTX.

              d) The Promotions were Deceptive and Unlawful.

          618.    Osaka’s partnership agreement with FTX provided her with an equity stake in FTX.

   Because of her compensation structure, the more success that Osaka had in influencing consumers

   to make investments on the FTX platform, the more Osaka stood to profit financially.

          619.    FTX’s success was, in part, conditional upon Osaka’s ability to use her fame and

   platform to bring vulnerable investors, especially women, into FTX’s fray.




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          620.    Osaka had a great incentive to engage in deceptive and unlawful promotions in

   order to ensure the financial success of FTX.

          621.    Given her resources, access to advisors and outside counsel, and her prior

   investment experience, Osaka knew or should have known that the promotions she engaged in

   were deceptive and unlawful.




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                 e) Naomi Osaka Knew or Should Have Known She was Soliciting or Assisting
                    FTX to Solicit Investments in Unregistered Securities and/or the She was
                    Aiding and Abetting FTX Group’s Fraud and/or Conversion.

          622.      Given Osaka’s substantial investment experience, including with Sweetgreen and

   DraftKings, and the vast resources to obtain outside advisors (which she had), she knew or should

   have known of potential concerns about FTX selling unregistered crypto securities and/or that she

   was aiding and abetting FTX Group’s fraud and/or conversion, especially to millions of their

   followers.

                 f) The Promotions Were Directed at Plaintiffs in Florida, and Customers
                    Nationwide.

          623.      Osaka’s promotions were published on public social media accounts, and aired on

   local and national television broadcasts. They were accessible to plaintiffs nationwide, including

   in Florida.

          624.      Moreover, the partnership between FTX and Osaka specifically targeted Florida

   residents because she began her promotion campaign at the 2022 Miami Open tennis tournament.

          625.      Osaka wore gear with the FTX logo throughout the tournament, including during

   the presentation and acceptance of her runner-up throw following her loss in the finals.

          626.      The overarching objective of the partnership was for Osaka, through a series of

   promotions and media campaigns, to help FTX successfully solicit or attempt to solicit investors

   inf FTX’s crypto-related securities from Florida and nationwide

          627.      As Osaka expected and understood when entering its partnership with FTX, her

   promotions would be widely viewed nationwide, including in Florida, where she knew or should

   have known FTX had its domestic home office (including because the first major tennis event

   where she wore FTX gear was at the 2022 Miami Open, where she lost in the finals).




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             628.   On information and belief, Osaka also knew and intended that her promotions

   would be disseminated to consumers in Florida and elsewhere not just on FTX’s official social

   media outlets, but that said promotions would also be linked, published, or reposted across

   innumerable media outlets on the internet and elsewhere.

             629.   Osaka trained and lived in Florida at the Harold Solomon Tennis Academy and the

   ProWorld Tennis Academy. Her family moved there when she was 15 years old. She competes

   yearly in Miami. 247




   247
         https://www.miamiherald.com/sports/tennis/article250244875.html


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            xi.    Defendant Larry David




               a) Larry David Worked with FTX To Promote its Platform.

           630.    For his part, the legendary comedian and creator of Seinfeld and Curb Your

   Enthusiasm, Larry David, created an ad for the FTX Group called “Don’t Miss Out on Crypto,”

   which aired during the 2022 Super Bowl.

           631.    The ad—the only commercial David has ever appeared in—featured David being a

   skeptic on such historically important inventions as the wheel, the fork, the toilet, democracy, the

   light bulb, the dishwasher, the Sony Walkman, and, of course, FTX, and cautioned viewers, “Don’t

   be like Larry.” The ad can be viewed here: https://www.youtube.com/watch?v=hWMnbJJpeZc

           632.    Larry David was first approached to take part in the FTX Super Bowl commercial

   in the Fall of 2021. 248




   248
      https://variety.com/2022/tv/news/larry-david-super-bowl-commercial-ftx-cryptocurrency-jeff-
   schaffer-1235180358/ (accessed May 8, 2023).


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          633.    Although David “gets asked to do commercials ‘pretty regularly’” he had, until that

   point, declined to appear in any due to creative disagreements between himself, on the one hand,

   and advertisement agencies and executives, on the other.

          634.    However, that all changed after David learned about FTX’s idea. Indeed, David and

   his long-time collaborator “were completely in lockstep with” FTX’s idea of using the contrarian

   comic’s well-known wit and persona to advertise the emerging crypto exchange app and reach a

   wide-pool of potential users.

          635.    Embracing David’s constructed antagonism for cryptocurrency was part of FTX’s

   broader, manipulative marketing strategy. According to Bankman-Fried, FTX wanted to “meet

   people where they are—and that means embracing skepticism.”

              b) Larry David Engaged in a Sustained and Aggressive Advertising Campaign.

          636.    The FTX Super Bowl ad features an exaggerated version of Larry David in various

   historical contexts, deriding inventions such as the wheel, the fork, electricity, the toilet, and

   democracy.

          637.    It concludes with an individual sitting in Larry David’s office holding an iPhone

   with the FTX logo, stating, “like I was saying, it’s FTX, a safe and easy way to get into crypto.”

          638.    David responds “I don’t think so. And I’m never wrong about this stuff. Never.”

          639.    The advertisement concludes with the commercial’s tagline: Don’t Be Like Larry.

          640.    The clear implication from the commercial is to reject David’s hesitancy and invest

   in crypto through FTX’s “safe and easy” online platform.




                                                  256
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          641.    The commercial was extremely popular following its original airing. Following its

   airing, FTX became one of the most retweeted brands during the Super Bowl, and won the “Most

   Comical” honorific from USA Today’s Ad Meter. 249

          642.    Following the commercial, David and his team provided interviews with the New

   York Times and Variety Magazine where they discussed the process of making the commercial and

   their enthusiasm when first approached. 250

              c) Larry David Had Financial Incentives to Induce Class Members to Invest in
                 FTX and to Trust the Platform.

          643.    While David was no doubt excited to showcase his creativity to a broader audience,

   it came at a serious cost. He used his celebrity, fame, and comedic wit to advertise and promote a

   risky financial device to millions of unsophisticated and vulnerable potential investors.

          644.    But David did not care. The vast viewership provided by an event like the Super

   Bowl provided him with a massive crowd of viewers with their eyes glued to their television

   screens.

          645.    David had a financial incentive to induce Plaintiffs to invest with FTX. In exchange

   for his comedic wit and acting services, Mr. David was substantially compensated. Indeed, upon

   information and belief, hiring David almost doubled the already hefty $13 million price tag of a

   prime-time Super Bowl commercial. 251




   249
            https://admeter.usatoday.com/lists/usa-today-ad-meter-replay-ratings-2022-final-results/
   (accessed May 11, 2023).
   250
       See supra 144; https://www.nytimes.com/2022/02/13/business/media/larry-david-super-bowl-
   ftx-crypto.html (accessed May 7, 2023)
   251
        https://www.theblock.co/post/134339/why-larry-david-was-the-perfect-anti-sponsor-of-ftxs-
   super-bowl-ad-according-to-jeff-schaffer (accessed May 8, 2023)


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           646.     Further, David had every incentive to be an effective promoter of FTX in order to

   continue the creative relationship and have more opportunities to work with FTX in the future.

               d) The Promotions were Deceptive and Unlawful.

           647.     Given David’s resources and access to advisors and counsel, he knew or should

   have known that FTX’s platform was built atop a fragile house of cards.

           648.     Because David knew or should have known about FTX’s financial fragility, his

   promotion of the FTX platform as an “easy and safe way to get into crypto” was deceptive and

   unlawful.

               e) Larry David Knew or Should Have Known He was Soliciting or Assisting
                  FTX to Solicit Investments in Unregistered Securities and/or that He was
                  Aiding and Abetting FTX Group’s Fraud and/or Conversion.

           649.     Given David’s investment experience and vast resources to obtain outside advisors

   (which he had), David knew or should have known of potential concerns about FTX selling

   unregistered crypto securities and/or that he was aiding and abetting FTX Group’s fraud and/or

   conversion, especially to millions of his followers. This is especially true in light of the rampant

   mismanagement and myriad red flags that the FTX Group’s regular business practices set off, as

   more fully described hereinabove.

           650.     David agreed to be a part of the advertisement in November 2021, yet failed to

   properly investigate the brand and product he was tasked with promoting to hundreds of millions

   of people. 252




   252
       https://www.nytimes.com/2022/02/13/business/media/larry-david-super-bowl-ftx-crypto.html
   (accessed May 7, 2023)


                                                   258
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              f) The Promotions were Directed at Plaintiffs in Florida, and Customers
                 Nationwide.

          651.    First, as explained above, the deal with David for the Super Bowl commercial was

   created, consummated, implemented, and/or overseen by FTX VP of Business Development Avi

   Dabir, from his base of operations in Miami, Florida. See Exs. A, B.

          652.    The Super Bowl is one of the most watched events in the United States, regularly

   generating close to 100 million viewers through traditional television networks and modern online

   streaming platforms.

          653.    Indeed, the 2022 Super Bowl had 99.18 million television viewers and 11.2 million

   streaming viewers. This provided David and FTX a perfect opportunity to expose over 100 million

   individuals to FTX’s deceitful scheme. 253

          654.    Due to its national reach, millions of Florida residents also watched the 2022 Super

   Bowl. According to Nielsen ratings, for example, the city of Jacksonville, Florida, the most

   populous city in the state, had the tenth highest local market rating in the country. 254

          655.    But it did not stop there. According to the official FTX Twitter account, the

   commercial had been viewed close to 50 million times by April 30, 2022, less than two months

   after it aired on February 13th:




   253
        https://www.sportsmediawatch.com/super-bowl-ratings-historical-viewership-chart-cbs-nbc-
   fox-abc/ (accessed May 8, 2023).
   254
        https://thespun.com/more/top-stories/the-10-u-s-cities-that-had-most-super-bowl-56-viewers
   (accessed May 7, 2023).


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          656.    The ad was (and is to this day) still being shared all across YouTube, ensuring its

   impact months after the original air date. 255

          657.    Furthermore, according to data analytics and software company Edo, Inc., David’s

   ad had a 6.5x greater consumer engagement than the median Super Bowl ad. 256 Consumer

   engagement was also driven by a promotion by FTX, where they promised to give away Bitcoin

   if social media users followed the FTX twitter account and “retweeted the ad.” 257

          658.    Moreover, FTX strategically bought an advertisement slot right before the end of

   the first-half, before the Super Bowl half-time show. This primetime spot ensured that even

   viewers with little to no interest in the game would be tuning in to watch the musical performance,

   which featured an array of hip-hop icons including Snoop Dogg, Dr. Dre, Eminem, and 50 Cent.

          659.    FTX’s plan worked. David’s comedic charm enthralled potential investors, and

   FTX saw a 130% boost in downloads week-over-week on February 13, followed by 80% growth




   255
           https://www.youtube.com/watch?v=hWMnbJJpeZc    (accessed   May   8,                 2023);
   https://www.youtube.com/watch?v=FEX64-2Tphw       (accessed      May   8,                   2023);
   https://www.youtube.com/watch?v=PmhOBkmJjpM (accessed May 8, 2023).
   256
        https://www.globenewswire.com/news-release/2022/02/14/2384508/0/en/Super-Bowl-LVI-
   Sees-Advertising-Boom-as-Marketers-Get-Back-in-the-Game.html (accessed May 8, 2023)
   257
        https://www.globenewswire.com/news-release/2022/02/14/2384508/0/en/Super-Bowl-LVI-
   Sees-Advertising-Boom-as-Marketers-Get-Back-in-the-Game.html (accessed May 8, 2023)


                                                    260
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   the next day. 258 The FTX app jumped up Apple’s App Store download rankings right after the

   Super Bowl. 259

             xii.   Defendant TSM (Team SoloMid)




             660.   TSM is the most valuable esports organization in the world, an elite, holistic gaming

   brand comprised of championship esports teams, world-class influencers, and gaming strategy

   sites that level up the entry-level player all the way to professional. 260 Self-described as a “platform

   of champions,” TSM seeks to provide maximum value through the competitive excellence of its

   teams and the creation of exciting, educational, and entertaining content that deliver the ultimate

   esports and gaming fan experience.




   258
         https://techcrunch.com/2022/02/17/super-bowl-ads-boosted-crypto-app-downloads-by-279-
   led-by-coinbase/ (accessed May 9, 2023).
   259
         https://www.protocol.com/bulletins/coinbase-super-bowl-results (accessed May 8, 2023).
   260
         https://www.crunchbase.com/organization/team-solomid (accessed May 11, 2023).


                                                     261
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              a) TSM Partnered with FTX to Promote its Platform.

          661.    “Esports,” or competitive video gaming, have experienced a meteoric rise in

   popularity over the past few years, particularly with younger audiences. Once considered a niche

   hobby, esports have become a global phenomenon with millions of viewers and participants

   worldwide. The growth of esports has been fueled by several factors, including the proliferation

   of online streaming platforms, the increasing accessibility of gaming technology, and the

   emergence of professional leagues and teams.

          662.    One of the main reasons why esports have become so popular with younger

   audiences are their accessibility. Unlike traditional sports that require specialized equipment and

   physical abilities, esports only require a computer or gaming console and an internet connection.

   This makes it easier for younger people to participate in esports from the comfort of their own

   homes. Additionally, many games that are popular in esports, such as League of Legends and

   Fortnite, are free to play, which further lowers the barrier to entry.

          663.    Another factor that has contributed to the rise of esports is the widespread

   availability of online streaming platforms such as Twitch and YouTube. These platforms have

   made it easier than ever for fans to watch their favorite esports tournaments and events from

   anywhere in the world. They have also provided a platform for amateur players to showcase their

   skills and build a following, which can help them break into the professional scene.

          664.    The emergence of professional leagues and teams has also played a significant role

   in the rise of esports. Major companies such as Activision Blizzard, Riot Games, and Epic Games

   have invested heavily in creating structured leagues and tournaments for their respective games.

   This has helped to professionalize the industry and provide more opportunities for aspiring players

   to make a career in esports. These professional leagues and teams have also attracted major

   sponsors and investors, which has helped to raise the profile of esports even further.


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          665.    When it comes to esports, TSM is an industry leader. Founded in 2009 by Andy

   “Reginald” Dinh, TSM has become one of the most successful esports organizations in the world.

   With teams in games such as League of Legends, Valorant, and Fortnite, TSM has won multiple

   championships and established itself as a titan in the industry.

          666.    TSM is perhaps best known for its role in popularizing esports in the United States.

   TSM was one of the first organizations to bring esports to a mainstream audience in North

   America, and it helped to establish a competitive scene in games such as League of Legends,

   paving the way for other esports organizations and players in the region. TSM’s success and

   popularity has helped to legitimize esports as a legitimate form of entertainment and competition,

   attracting major sponsors and investors to the scene.

          667.    In recent years, TSM made headlines in the esports industry with its

   groundbreaking partnership with FTX. On June 4, 2021, TSM announced a 10-year, $210 million

   naming rights deal with FTX. The deal included requirements for TSM to purchase $1 million of

   FTX’s native security, FTT, which TSM used to pay its employees and players, and options for

   employees to purchase Solana on FTX US exchanges and be reimbursed by FTX. This multi-year,

   multimillion-dollar deal not only highlighted the growing influence of esports but also showcased

   the increasing involvement of cryptocurrency and blockchain technology in the industry. 261

          668.    FTX’s renaming of the “FTX Arena” in 2021 in Downtown Miami for the NBA

   franchise the Miami Heat served an important centerpiece for FTX’s efforts to form partnerships

   with ambassadors like TSM.




   261
      See https://www.prnewswire.com/news-releases/tsm-and-ftx-sign-210-million-naming-rights-
   partnership-largest-in-esports-history-301305740.html (Last visited May 11, 2023); see also
   https://www.washingtonpost.com/video-games/esports/2022/11/16/tsm-ftx-naming-deal-
   suspended/ (Last visited May 11, 2023).


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          669.    FTX’s senior executive responsible for creating, consummating, and implementing

   deals between FTX and promotors was Avinash Dabir, who originally worked for Blockfolio,

   which FTX later acquired, and eventually became FTX’s Vice President of Business Development.

          670.    Since early 2021, FTX maintained an office in Miami that was run by Mr. Dabir,

   who operated from FTX’s Miami office to formulate and execute FTX’s important celebrity

   partnerships, including the partnership with TSM.

          671.    On information and belief, the negotiation and execution of the TSM agreement

   with FTX involved communications between TSM and Mr. Dabir in FTX’s offices in Miami. On

   information in belief, TSM understood the counterparty to the contractual negotiations based its

   domestic operations in Florida.

          672.    The collaboration between TSM and FTX marked one of the largest sponsorships

   deals in esports history. The partnership involved the complete rebranding of TSM, a strong brand

   name synonymous to North American esports, with the team officially becoming “TSM FTX.”

   This partnership between TSM and FTX is significant for several reasons.

          673.    First, it demonstrated the increasing mainstream acceptance of esports as a valuable

   marketing platform to access millions of viewers. FTX recognized the immense reach and

   engagement of esports audiences, particularly among younger demographics, and saw an

   opportunity to align its brand with one of the most successful esports organizations in the world,

   further solidifying the notion that esports had become a lucrative avenue for companies looking to

   connect with younger audiences.

          674.    Second, the collaboration highlighted the growing presence of cryptocurrency and

   blockchain technology in the esports ecosystem. As part of the deal, FTX secured naming rights

   for TSM’s training facility, which was renamed the “FTX Training Center.” FTX’s involvement




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   showcased the potential synergies between esports and cryptocurrency, as both industries catered

   to a tech-savvy and digitally native audience. This partnership also provided FTX with an

   opportunity to reach a younger demographic through the esports audience and a platform for FTX

   to raise awareness about cryptocurrencies and blockchain technology among millions of esports

   fans and participants worldwide.

          675.    Third, with esports fans and participants primarily composed of younger

   individuals born in 1981 and later, the partnership with TSM helped FTX connect with a younger

   demographic that is more receptive to cryptocurrency and blockchain technology. This partnership

   helped to integrate the FTX brand into the TSM ecosystem, providing greater visibility and

   exposure to FTX’s target audience and previously skeptical investors.

          676.    Fourth, the partnership also provided FTX with a platform to educate esports fans

   and participants about cryptocurrency and blockchain technology. FTX conducted educational

   campaigns and promotions during esports events, showcasing the potential benefits of using

   cryptocurrency and blockchain for esports transactions and sponsorships. The partnership allowed

   FTX to establish a foothold in the esports industry and build brand recognition among a tech-savvy

   and digitally native audience.

          677.    Furthermore, TSM’s success in esports helped to increase FTX’s credibility and

   legitimacy as a sponsor and partner. TSM has a large and passionate fanbase, known as the “TSM

   Army,” that is highly engaged and loyal to the brand. By aligning with TSM, FTX was able to tap

   into this fanbase and leverage their enthusiasm to promote FTX’s brand and offerings. This helped

   FTX gain greater credibility and acceptance among esports fans and participants, who tend to be

   skeptical of traditional forms of advertising.




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          678.    In the end, the exposure to younger demographics and tech-forward TSM fans was

   not a positive for either the cryptocurrency or esports industries. TSM had been promoting

   unregistered securities in the name of one of the largest financial fraudsters in recent memory.

   Through this partnership, the champion of cryptocurrency in the gaming industry lost money for

   countless members of the TSM Army. Not only did fans lose their entire investments coffers, but

   any fan that also followed TSM’s lead and purchased the unregistered security FTT has witnessed

   their investment change from $34 per security to slightly over $1 each, as of the date of filing. See

   https://cointelegraph.com/news/ftx-crypto-exchange-seals-210m-naming-rights-deal-for-esports-

   behemoth-tsm/amp (Last accessed May 10, 2023).

              b) TSM Engaged in a Sustained and Aggressive Advertising Campaign.

          679.    On June 3, 2021, for $210 million paid equally on an annual basis over the course

   of 10 years, TSM announced that it was changing its name to TSM FTX.262 The deal was debuted

   with a fancy video describing how the relationship started—TSM’s CEO, Andy Dinh, and FTX’s

   chief executive, Bankman-Fried, have a shared passion for “League of Legends.”263 This was, at

   the time, one of the largest sports deals in existence, made with the most valuable esports company

   in the United States, in the middle of the COVID-19 Pandemic and on the heels of FTX’s FTX

   Arena deal.264 In short, the deal caused FTX Group’s popularity to skyrocket, helping to catapult

   it to the forefront of the nascent crypto exchange industry.




   262
     https://www.nytimes.com/2021/06/04/sports/esports-name-change-tsm-ftx.html (accessed
   May 11, 2023)
   263
      https://www.washingtonpost.com/video-games/esports/2022/11/16/tsm-ftx-naming-deal-
   suspended/ (accessed May 11, 2023)
   264
      Id.; see also https://www.forbes.com/sites/christinasettimi/2020/12/05/the-most-valuable-
   esports-companies-2020/ (accessed May 11, 2023).


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               680.   Esports exploded in popularity, with people stuck at home searching for online

   entertainment and ways to invest and make money, sometimes in unconventional (and risky)

   ways. 265 Interest in video games had increased significantly over the year leading up to the

   announcement—including in esports, where some professional players make millions of dollars

   and vie for championships in leagues devoted to games like Fortnite and League of Legends. 266

   More than 57 million people in North America watched an e-sports event in 2020, according to

   Newzoo, a gaming analytics firm. 267

               681.   As part of its deal with FTX, TSM announced that “TSM FTX will distribute

   cryptocurrency to each of its players and employees” and would purchase “$1 million worth of

   FTT, FTX’s native token” and distribute cryptocurrency to its players and employees. 268 At that

   time, the price per FTT hovered as just under $35—by November 16, 2022, it dropped to under

   $2. 269

               682.   TSM’s success in esports helped to increase FTX’s credibility and legitimacy as a

   sponsor and partner. TSM has a large and passionate fan base, known as the “TSM Army,” that is

   highly engaged and loyal to the brand. By aligning with TSM, FTX was able to tap into this fanbase

   and leverage their enthusiasm to promote FTX’s brand and offerings. This helped FTX gain greater




   265
     https://www.nytimes.com/2021/06/04/sports/esports-name-change-tsm-ftx.html (accessed
   May 11, 2023)
   266
         Id.
   267
         Id.
   268
      https://www.prnewswire.com/news-releases/tsm-and-ftx-sign-210-million-naming-rights-
   partnership-largest-in-esports-history-301305740.html (last accessed May 11, 2023)
   269
      https://www.washingtonpost.com/video-games/esports/2022/11/16/tsm-ftx-naming-deal-
   suspended/ (last accessed May 11, 2023)


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   credibility and acceptance among esports fans and participants, who tend to be skeptical of

   traditional forms of advertising.

               683.   As part of its partnership with FTX, TSM ran promotions like the first ever TSM

   FTX Aurory NFT release deal, where TSM announced on October 1, 2021, the creation of the

   organization’s first-ever collection of NFTs, designed by Aurory, the blockchain-based game and

   NFT ecosystem. 270

               684.   The four individual NFTs were a collaboration with Aurory, a gaming project that

   uses NFTs powered by the cryptocurrency Solana and Serum. 271 The tokens, also known as

   ‘Aurorians,’ are each sporting TSM merch and apparel, including the iconic 2017 LCS-winning

   jersey and the brand-new 2021 version featuring the TSM FTX logo. 272 These exclusive avatars

   have multiple functions both in and out of the game, including acting as a player’s visual identity,

   allowing owners early access to play future game modes before they are made public, exclusive

   access to special modes and rewards, and much more. 273




   270
      https://web.archive.org/web/20220331024235/https://tsm.gg/news/first-ever-tsm-ftx-aurory-
   nft-release-deal-crypto-esports (accessed May 11, 2023).
   271
         Id.
   272
         Id.
   273
         Id.


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           685.    As part of its partnership with FTX, TSM team members actively promoted FTX

   to a broader audience, beyond just the esports community. TSM’s roster of players and content

   creators have a substantial following on social media platforms such as Twitter, Instagram, and

   YouTube, which they utilized to amply promote FTX and its products.

           686.    TSM team members created content promoting FTX's offerings and educational

   campaigns around cryptocurrency and blockchain technology. This content included sponsored

   social media posts, videos, and live streams, which showcased FTX’s logo and brand messaging

   to their followers, helping FTX gain greater visibility and reach among a broader audience, beyond

   just esports fans.

           687.    TSM team members also actively engaged with FTX’s audience through social

   media and other platforms, providing feedback and responding to queries related to cryptocurrency

   and blockchain technology. This helped FTX to build trust and credibility with its audience, as

   TSM team members are widely respected and trusted by their fans.

           688.    TSM team members also used their personal brands to create buzz and excitement

   around FTX’s sponsorship deals with other organizations and sports teams, further extending

   FTX's reach and impact. This approach helped to position FTX as a leader in the sports and

   entertainment industry, and helped to solidify the brand’s place in the minds of consumers and

   investors.

           689.    As TSM expected and understood when entering its partnership with FTX, the

   team’s promotions would be widely viewed nationwide, including in Florida, where TSM knew

   or should have known FTX had its domestic home office (including because the arena of NBA’s

   Miami Heat had been renamed “FTX Arena”).




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          690.    On information and belief, TSM also knew and intended that the team’s promotions

   would be disseminated to consumers in Florida and elsewhere not just on FTX’s official social

   media outlets, but that said promotions would also be linked, published, or reposted across

   innumerable media outlets on the internet and elsewhere.

              c) TSM Had Financial Incentives to Induce Class Members to Invest in FTX
                 and to Trust the Platform

          691.    TSM, as one of the most identifiable esports brands, used its broad global reach to

   advertise and promote a risky financial device to its users—millions of unsophisticated and

   vulnerable potential investors, particularly in the 18-to-34 year age range. 274 It was paid by FTX

   not only to promote the brand through placing FTX logos on jerseys, team branding, and social

   media, but changed its actual name—“the equivalent of the New England Patriots, who play in

   Gillette Stadium, rebranding as the New England Patriots Gillettes.” 275

          692.    TSM had a financial incentive to induce Plaintiffs to invest with FTX. At the time

   FTX and TSM announced their deal, TSM’s CEO Andy Dinh said that the deal “gives us [TSM]

   a strong foothold to really grow our brand globally.” TSM reportedly used its sponsorship funds

   to attract start players with higher salaries and open offices in China, Europe and South America. 276

   Thus, as TSM became more successful, so did FTX. And, of course, FTX’s success helped TSM

   grow its brand.



   274
       https://dataprot.net/statistics/gamer-
   demographics/#:~:text=The%20demographic%20of%20gamers%20that,18%20and%2034%20y
   ears%20old.&text=The%20average%20esports%20fan%20is,older%20member%20of%20Gener
   ation%20Z (last accessed May 11, 2023)
   275
     https://www.nytimes.com/2021/06/04/sports/esports-name-change-tsm-ftx.html (last accessed
   May 11, 2023)
   276
      https://www.sportsbusinessjournal.com/Daily/Issues/2021/06/07/Technology/tsm-esports-
   signs-210-million-sponsorship-with-ftx-crypto-exchange (last accessed May 11, 2023)


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          693.    Further, TSM had every incentive to be an effective promoter of FTX in order to

   continue the symbiotic relationship and have more opportunities to work with FTX in the future.

               d) The Promotions were Deceptive and Unlawful

          694.    Given TSM’s resources and access to advisors and counsel, TSM knew or should

   have known that FTX’s platform was built atop a fragile house of cards.

          695.    Because TSM knew or should have known about FTX’s financial fragility, its

   promotion of the FTX platform as an “easy and safe way to get into crypto” was deceptive and

   unlawful.

               e) TSM Knew or Should Have Known It was Soliciting or Assisting FTX to
                  Solicit Investments in Unregistered Securities and/or that It was Aiding and
                  Abetting FTX Group’s Fraud and/or Conversion.

          696.    Given TSM’s prominence and vast resources to obtain outside advisors (which it

   had), TSM knew or should have known of potential concerns about FTX selling unregistered

   crypto securities and/or that it was aiding and abetting FTX Group’s fraud and/or conversion,

   especially to the tens of millions of its users. This is especially true in light of the rampant

   mismanagement and myriad red flags that the FTX Group’s regular business practices set off, as

   more fully described hereinabove.

          697.    TSM agreed to be a part of the advertisement in June 2021, yet failed to properly

   investigate the brand and product it promoted to tens of millions of people. 277

          698.    To ensure regulatory compliance, at a minimum, TSM must have conducted due

   diligence to understand how FTX was pooling investments in a common enterprise and using those

   assets to generate the promised returns. Otherwise, it would be impossible to ensure FTX was not



   277
       https://www.nytimes.com/2022/02/13/business/media/larry-david-super-bowl-ftx-crypto.html
   (accessed May 7, 2023)


                                                   271
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   selling or offering to sell securities. TSM disregarded their obligations to themselves and their

   fans.

                f) The Promotions were Directed at Plaintiffs in Florida, and Customers
                   Nationwide.

            699.    First, as explained above, the deal with TSM was created, consummated,

   implemented, and/or overseen by FTX VP of Business Development Avi Dabir, from his base of

   operations in Miami, Florida. See Exs. A, B.

            700.    TSM is one of the largest, if not the largest, esports organizations with a global

   reach.

            701.    TSM’s place at the top of the sports industry provided it and FTX a perfect

   opportunity to expose millions of individuals to FTX’s deceitful scheme. 278

            702.    Due to its international reach, millions of Florida residents who are users of TSM

   were exposed to the FTX promotion.

            703.    by the advertisements that Wasserman played a role in, including ones mentioned

   throughout that featured Tom Brady and Stephen Curry.

            xiii.   Digital Creators Defendants

            704.    Digital Creators Defendants partnered with FTX to promote its platform to

   investors.

            705.    Crypto firms like FTX turned to celebrity and social media endorsers to position

   themselves as the “safe” option among cryptocurrency exchanges. The FTX advertising campaign

   is particularly pernicious because it implicitly acknowledges cryptocurrency’s problems while



   278
        https://www.sportsmediawatch.com/super-bowl-ratings-historical-viewership-chart-cbs-nbc-
   fox-abc/ (accessed May 8, 2023).


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   holding FTX out as the “safe” place to invest in cryptocurrency, which were proven untrue, as

   FTX turned out to be a house of cards that misappropriated customer assets.

          706.    FTX’s paid endorser program was patently designed to use the positive reputation

   associated with specific YouTube and other social network influencers to convince consumers that

   FTX was a safe place to buy and sell cryptocurrency. As Mr. Sibenik explains, FTX’s brand

   ambassadors had a critical role in portraying FTX as being “safe” and “compliant.” Ex. A ¶ 44–

   49.

          707.    FTX not only deployed well-known celebrities such as Stephen Curry and Kevin

   O’Leary as brand ambassadors, id., but it also engaged in aggressive global digital marketing,

   particularly through influencer “crypto marketing” on YouTube and other social networks.

          708.    “Crypto marketing” is the execution of marketing and advertising efforts with the

   goal of raising awareness, acquiring users, or driving growth for a cryptocurrency or blockchain-

   related product. Popular crypto marketing strategies include influencer marketing, community

   growth, social media management, and grassroots digital marketing, and tout great results and

   valuable case studies, specifically with promoting cryptocurrency. 279

          709.    Social media “influencers” are individuals who have amassed a large following on

   platforms such as Instagram, YouTube, and TikTok, and use their influence to promote products,

   services, and ideas. Social media influencers are characterized by a huge number of highly loyal

   and engaged social media followers, who share a rapport with their fans and are perceived as

   everyday people who are experts in their niches.




   279
      Ultimate Cryptocurrency Marketing Strategy Guide for 2022 | Coinbound (last accessed March
   15, 2023).


                                                  273
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          710.    Unlike mainstream celebrities, influencers do not shroud their lives in an air of

   mystery and present themselves as real-life consumers who share authentic and valuable

   information with their followers. 280 They create content that resonates with their followers, often

   by sharing their personal experiences, lifestyle choices, and preferences. By doing so, they

   establish a sense of authenticity and relatability with their audience, which can be incredibly

   compelling.

          711.    Influencer marketing thus involves collaborating with a social media influencer to

   increase brand visibility and strengthen a brand’s reputation. When executed correctly, it helps

   win more customers from target audiences and earn more revenue. What differentiates influencer

   marketing from other types of celebrity marketing is that it is perceived as more authentic and

   trustworthy, because, owing to an influencer’s rapport with their fans, their recommendations are

   not dismissed as fake and sponsored endorsements. Id. Instead, their followers often swear by the

   recommendations made by their favorite influencer. Id. Because their audience trusts them, the

   audience are more likely to follow their recommendations, which can lead to increased sales for

   the products they promote.

          712.    While influencer digital marketing is more expensive than other types of paid

   media, studies done on the subject show that the majority of marketing teams have found the return

   of investment (“ROI”) on influencer marketing to be higher than that of other forms of online

   growth tactics. 281 According to a recent study, influencer marketing delivers an ROI of $6.5 for




   280
      The Rise of Influencer Marketing: All You Need to Know | Shane Barker (last accessed March
   15, 2023).
   281
      Everything You Need to Know About Crypto Influencer Marketing (coinbound.io) (last
   accessed March 15, 2023).


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   every $1 spent. This is far higher than the ROI of other forms of digital marketing. 282 Digital

   content creators also can more precisely target their marketing efforts by using highly sophisticated

   analytic tools such as Google Analytics to measure their site’s traffic, where its coming from, and

   who is visiting their sites. 283

               713.   As such, digital marketing through social media is extremely effective at

   influencing consumer decisions. According to a survey from the National Association of

   Professional Financial Advisors (NAPFA), more than one-quarter of Gen Zers learn about finance

   from social media. The survey results also show that more than one-third (39%) of Americans

   under 65 receive their financial advice from social media. 284 When it comes to where they are

   getting financial advice, YouTube is one the most popular platforms for Gen Z (63%) and

   Millennials (71%) to discuss financial planning and investment in cryptocurrency. 285 More than

   60% of the respondents who received their information online say they have acted on that

   advice. 286




   282
     Id; The Rise of Influencer Marketing: All You Need to Know | Shane Barker (last accessed
   March 15, 2023).
   283
      Ultimate Cryptocurrency Marketing Strategy Guide for 2022 | Coinbound (last accessed March
   15, 2023).
   284
          https://www.napfa.org/social-media-survey (last accessed March 15, 2023).;
   http://s3.napfa.cql-
   aws.com.s3.amazonaws.com/files/Consumer/NAPFA%20Fall%202021%20Full%20Report.pdf
   285
             https://www.thebalancemoney.com/8-personal-finance-influencers-you-should-know-
   6544780 (last accessed March 15, 2023); https://www.napfa.org/social-media-survey (last
   accessed March 15, 2023).
   286
         Id.


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          714.    YouTube, which allows for long-form video content which can exist in perpetuity,

   is one of the most effective social media channels for targeting cryptocurrency audiences and has

   found its way into the daily routine of millions of cryptocurrency enthusiasts worldwide. 287

          715.    Many of the most famous finance and money social media influencers collaborated

   with FTX, working under the umbrella of Defendant, Creators Agency, a talent management for

   digital creators. Creators Agency touts its expansive reach, claiming to have reached “millions,”

   including 2.94B+ YouTube views and 27M+ YouTube Subscribers. Though not all Creative

   Agency clients endorsed FTX, many of the talent it manages–including certain of the Defendants–

   netted hundreds of thousands, if not millions of dollars from signed contracts procured and/or

   facilitated by the agency.

          716.    For their part, the Defendants, Graham Stephan, and Tom Nash, who prior to FTX’s

   collapse promoted FTX as a safe investment to their legions of followers, have now scrubbed their

   YouTube channels of all video clips endorsing FTX and praising Sam Bankman-Fried. In their

   place, the YouTube Influencers have substituted mea culpas and apology videos acknowledging

   their significant role in promoting FTX and causing billions of dollars of investor losses. 288




   287
      Everything You Need to Know About Crypto Influencer Marketing (coinbound.io) (last
   accessed March 15, 2023).
   288
        https://markets.businessinsider.com/news/stocks/personal-finance-influencers-sponsored-by-
   ftx-say-sorry-to-fans-2022-11         (last      accessed        March         15,       2023);
   https://www.marketwatch.com/story/my-bad-the-youtube-financial-influencer-network-paid-to-
   pump-ftx-11669066275 (last accessed March 15, 2023); https://www.yahoo.com/now/social-
   media-influencers-fed-bankman-
   150327348.html?guccounter=1&guce_referrer=aHR0cHM6Ly93d3cuZ29vZ2xlLmNvbS8&guc
   e_referrer_sig=AQAAAFrNFPdXzgk_rsYJLmGipe0izPCSeyp9dftZXdh3UKccPhgIT5hGLIBUr
   4EomSeyDd8qFMKHI2U6E-
   SjCbOo3Z95op0l0nkbEJQI8zAioDqWsrUB20ugMHs7VihR81OwoUOwlbB9vCuN1IhofQkBji
   MacwXy6b3F7ASrvOGN3pgb (last accessed March 15, 2023);


                                                   276
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            717.    Similarly, Defendant Graham Stephan had built a loyal fanbase on YouTube by

   sharing financial advice. After aggressively promoting FTX, he posted a video titled “My response

   to FTX” to his YouTube channel (with over 4.22 million subscribers) on November 28, 2022 in

   which he states: “FTX US has been a recurring sponsor here on the channel since spring of this

   year. . . I can’t even begin to share how devastated and sorry I am. . . I made the mistake of working

   with a platform who operates within an industry that does not already have proper consumer

   protections in place. . . [O]n the most basic level, I made the mistake of assuming that Sam

   Bankman-Fried’s image had anything to do with his credibility. . . I fell into his trap of effective

   altruism.” 289

            718.    Defendant Tom Nash, who apparently posted a video following FTX’s bankruptcy

   in which he claimed to only have worked with FTX US, which he falsely represented in the video

   to be “100% operational, nothing is going on with FTX US,” has since taken down that video,

   along with several other videos in which he gave full-throated endorsements of FTX.

            719.    Endorsements by the Defendants are even more dangerous, because of their broad

   public reach. People are more likely to watch YouTube than network television. Micro-celebrities

   and social media influencers thus can have outsized influence on their audience, particularly those

   that espouse financial advice. FTX capitalized on this dynamic, and sponsored several of those

   content creators, particularly on YouTube.

            720.    Other organizations and individuals, with presumably more to gain, did find red

   flags at FTX and turned down FTX and/or Sam Bankman-Fried’s money. The nonprofits Our



   289
         https://www.youtube.com/watch?v=jcy9PyMvNqc (accessed March 15, 2023)




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   World Data and MITRE declined offered gifts of $7.5 million and $485,000, respectively, from

   the FTX Future Fund due to undisclosed red flags. 290 In addition, CME Group CEO Terry Duffy

   allegedly told SBF that he was “an absolute fraud” upon having an initial conversation with him.291

          721.    Based upon the information that has been released by FTX’s new CEO, John Ray

   as part of the company’s bankruptcy filings, anyone who bothered to spend 20 minutes reviewing

   FTX’s operations pre-collapse would have identified significant red flags. In his first day pleading

   in support of FTX’s chapter 11 petitions, Mr. Ray noted:

          722.    Never in my career have I seen such a complete failure of corporate controls and

   such a complete absence of trustworthy financial information as occurred here. From compromised

   systems integrity and faulty regulatory oversight abroad, to the concentration of control in the

   hands of a very small group of inexperienced, unsophisticated and potentially compromised

   individuals, this situation is unprecedented. 292

          723.    Mr. Ray’s pleading contains a number of troubling findings, among them: 1) FTX

   did not have centralized control of its cash, 2) FTX had no dedicated human resources department,

   which has hindered Mr. Ray’s team from preparing a complete list of who worked for the FTX

   Entities, 3) A lack of disbursement controls that resulted in employees submitting payment

   requests via on-line chat and these requests being approved by managers responding with

   personalized emojis, 4) Corporate funds were used to purchase homes and personal items for


   290
       https://www.moneyweb.co.za/moneyweb-crypto/sam-bankman-frieds-red-flags-were-seen-in-
   all-corners-of-his-empire/ (accessed March 15, 2023).
   291
           https://www.cnbc.com/2022/11/23/absolute-fraud-cmes-terry-duffy-says-he-saw-trouble-
   before-ftx-collapse-.html (accessed March 15, 2023).
   292
     https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&ved=2ahUKEwiokr
   3C                _-L7AhWsnGoFHRdBC2kQFnoECBAQAQ&url=https%3A%2F%2Fpacer-
   documents.s3.amazonaws.com%2F33%2F188450%2F042020648197.pdf&usg=AOvVaw38wQ
   JwnmP5fFftiyYkNjSG (accessed March 15, 2023).


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   employees, and 5) A lack of books and records and the absence of lasting records of decision-

   making.

          724.    It is hard to imagine that anyone who has done business with FTX, including paid

   endorsers, would not have personally witnessed one or more of the deficiencies identified by Mr.

   Ray. All FTX endorsers have extensive business dealings beyond FTX and surely would be able

   to identify business practices that are unusually problematic.

          725.    Instead, tens of thousands of customers relied on the testimonials of paid endorsers

   such as the Defendants who knew why they were being compensated. Indeed, the whole point

   behind paying influencers to endorse a product is to increase sales. Thus, influencers have a moral

   and legal obligation to know that what they are promoting is unlikely to cause physical or financial

   damage to customers.

          726.    In addition to the conduct of SBF, as described in this Complaint, some of the

   biggest names in sports and entertainment have either invested in FTX and/or been paid to serve

   as brand ambassadors for the company. Several of them hyped FTX to their social media fans,

   driving retail consumer adoption of the FTX Platform.

          727.    In April 2021, FTX became the first company in the crypto industry to name an

   arena. This helped lend credibility and recognition to the FTX brand and gave the massive fanbase

   of basketball exposure to the FTX Platform.

          728.    FTX’s explanation for using social media influencers -- micro-celebrities in their

   own right -- and stars like Tom Brady and supermodel Gisele Bunchden was no secret: “We’re the

   newcomers to the scene,” said then-FTX.US President Brett Harrison, referring to the crypto

   services landscape in the U.S. “The company needs to familiarize consumers with its technology,

   customer service and offerings, while competing with incumbents like Coinbase Global Inc. or




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   Kraken,” Mr. Harrison said. “We know that we had to embark on some kind of mass branding,

   advertising, sponsorship type work in order to be able to do that,” he said. 293

           729.   In other words, the FTX Entities needed influencers like Defendants to continue

   funneling investors into the FTX Ponzi scheme, and to promote and substantially assist in the sale

   of the YBAs, which are unregistered securities.

   N.      Material Ties to Florida

           730.   The connections to Florida in this consolidated case are numerous.

           731.   According to the Declaration of Dan Friedberg, attached as Exhibit A, FTX

   maintained an office in Miami, Florida, since early 2021, long before FTX eventually announced

   the move of its Domestic headquarters to Brickell in late 2022. Id., ¶ 20. Since early 2021, FTX’s

   Miami office was run by Mr. Avinash Dabir, FTX’s Vice President of Business Development. Id.

   Friedberg met with Mr. Dabir often and is very familiar with Mr. Dabir and his activities. Id.

           732.   Mr. Dabir, from the Miami office, focused on formulating and executing FTX’s

   important celebrity partnerships. Id., ¶ 21. Mr. Dabir was the senior FTX executive responsible for

   creating, consummating, and implementing deals between FTX and other Partners, such as Major

   League Baseball, the MLB Umpire’s Association, TSM, the Mercedes Formula 1 team, Tom

   Brady, Stephen Curry, the Golden State Warriors, Naomi Osaka, Larry David, and Shohei Ohtani.

   Id., ¶ 23.

           733.   It was Mr. Dabir’s idea to expend significant resources on FTX’s sports and

   celebrity-based partnerships. Id., ¶ 22. Mr. Dabir specifically started by suggesting FTX form a

   Partnership with the Miami Heat and the naming rights to the Miami Arena. Id. FTX announced



   293
               https://www.wsj.com/articles/tom-brady-and-gisele-bundchen-to-star-in-20-million-
   campaign-for-crypto-exchange-11631116800?mod=article_inline (accessed March 15, 2023).


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   the Partnership in March 2021, and included FTX purchasing the naming rights of the Miami Heat

   stadium for 19 years in a deal worth approximately $135 million. Id.

          734.    Mr. Dabir deserves much of the credit for the collaboration with Mr. David that

   resulted in the award-winning Super Bowl FTX commercial that aired with the Super Bowl in

   2022. Id., ¶ 24. Crucially, all FTX employees or agents who were involved in the Larry David

   Super Bowl commercial ultimately reported to Avi Dabir, who had final approval of all aspects of

   the commercial from his base of operations in Miami.

          735.    Released on March 31, 2022, Mr. Dabir appeared on the popular cryptocurrency

   podcast The Joe Pomp Show, where he was interviewed by Mr. Pompliano for over half an hour

   on specifically the efforts he undertook and oversaw from his FTX base of operations in Miami,

   Florida, to create, consummate, and implement, among other things, the FTX arena deal and the

   Larry David Superbowl commercial. A transcript of the podcast is attached as Exhibit B.

          736.    Mr. Dabir begins by introducing himself as “Vice President of Business

   Development at FTX, so I handle a lot of our sports partnerships as well as doing some of the

   interesting things in real estate as well.” Ex. B at 2. He then explains that “the end goal” is really

   how does FTX “acquire more users.” Id., at 9. After first acknowledging and agreeing with Mr.

   Pompliano that FTX was at that point the “leaders” in the sports partnership category and that “it

   started with Miami Heat Arena,” Mr. Dabir explained that he led the effort to obtain the FTX

   Arena deal because he “had previously worked at the NBA” and that he identified Miami because

   it had “a great market,” a “multicultural, great team,” and the “Crypto Buzz was like growing here

   in Miami.” Id., at 2–3.

          737.    Mr. Dabir also explained that it was crucial “to get approval from a local

   government, plus the Heat and the NBA who had their own diligence teams looking into” the FTX




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   Arena deal because it “really sort of validated not only just FTX but the cryptocurrency industry

   in general.” Id., at 4.

             738.   Mr. Dabir went into detail about his dealings with Tom Brady and Giselle

   Bündchen and how the individual FTX Brand Ambassador partnership deals worked. Id., 9.

   Importantly, not only was Mr. Dabir directly involved in negotiating and consummating the

   individual FTX Brand Ambassador partnership deals from his base in Miami, he also explains that

   Defendants Brady and Bündchen were instrumental in bringing other FTX Brand Ambassadors

   into the fold, such as Defendant Curry. Id.

             739.   In addition to coordinating the promoter campaigns from Miami, Florida, FTX

   announced it was moving its official U.S. headquarters from Chicago to Miami in 2022. 294 This

   move happened before FTX declared bankruptcy.

             740.   The promotional campaigns came from the brain trust of FTX in Miami, but many

   of the promotions also took place in Florida as a cryptocurrency hub.

             741.   FTX served as a title sponsor for the David Ortiz Golf Classic in Florida on or about

   November 2021 and pledged to make contributions to Ortiz’s charity, David Ortiz’s Childrens

   Fund. Ortiz promoted the sponsorship and golf tournament on Twitter and other online pages,

   including on his personal website: https://davidortiz.com/red-sox-legend-david-ortiz-signs-

   multiyear-ftx-deal/ (last visited May 8, 2023).

             742.   In March of 2022, Defendants O’Leary, Haslem, and Ortiz served as judges for the

   FTX Charity Hackathon at the crypto summit hosted by FTX in Miami. 295




   294
             https://www.coindesk.com/business/2022/09/27/crypto-exchange-ftx-is-moving-its-us-
   headquarters-from-chicago-to-miami/ (accessed July 18, 2023).
   295
         https://ftxcharityhackathon.com/ (accessed May 11, 2023).


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             743.   On March 11, 2022, Mr. O’Leary appeared on NBC 6 South Florida to explain his

   involvement with FTX and his role in judging the competition. 296 During that appearance, Mr.

   O’Leary praised the company saying “I love the company. I like its mission. I like what they’re

   doing in terms of innovating and financial services around crypto.” Id.

             744.   In March of 2022, Ms. Osaka began her FTX promotion campaign at the 2022

   Miami Open tennis tournament. Osaka wore gear with the FTX logo throughout the tournament,

   including during the presentation and acceptance of her runner-up throw following her loss in the

   finals.

             745.   On April 18, 2022, Mr. Haslem, a star for and captain of the Miami Heat, shared a

   video on Twitter advertising a promotional effort with FTX that promised a giveaway to Miami

   area small businesses.




   296
        https://www.nbcmiami.com/entertainment/6-in-the-mix/shark-tank-star-kevin-oleary-taking-
   part-in-charity-hackathon/2711510/ (accessed May 9, 2023).


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          746.    As part of Mr. O’Neal’s promotional campaign for FTX, he appears on Episode

   114 of “The FTX Podcast,” hosted by Tristan Yver, which was released on June 8, 2022. 297 O’Neal

   recorded the episode with Yver from Miami, Florida, telling Yver on the podcast, “Loosen up

   brother, loosen up . . . You’re in Miami, relax.”

          747.    Mr. O’Neal also promoted FTX in Miami with his Astrals project, announcing in

   the official Discord on August 29, 2022, using an emoji of Shaq’s face, that they funded an Astrals

   marketing event at Solana Miami, and “[w]e will be in attendance with the likes of Solana Pay,

   FTX, Ledger, MagicEden, Phantom and more!”. 298




   297
      https://open.spotify.com/episode/2lq0BHiZb88xNRdZ9wUes4 (“Welcome to episode 114 of
   the FTX Podcast with special guest Shaquille O’Neal and your host Tristan Yver! Shaquille is a
   family man, basketball superstar, businessman, TV personality, music artist, crypto project
   entrepreneur, role model & humanitarian.”).
   298
      https://discord.com/channels/928105025392214027/928185412961308792/10138788637570
   58120 (accessed May 15, 2023).


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          748.    Between July 5 and 6 of 2022, Mr. Ohtani played in two games against Miami in

   Miami, and between August 22 and 25 of 2022, Mr. Ohtani played four games against Tampa Bay

   in Tampa.

          749.    In November of 2022, Mr. Curry played in two NBA games against Florida teams

   in Florida. On November 1, 2022, Mr. Curry played against Miami in Miami and on November 3,

   2022, against Orlando in Orlando.

          750.    Furthermore, Defendants Brady, Bündchen, O’Leary, Haslem, Lawrence, and Ortiz

   resided in Florida while working for FTX. Other Defendants including Defendants Curry, Ohtani,

   and Osaka competed in professional sports while in Florida working for FTX.

                                  CLASS ACTION ALLEGATIONS

          751.    As detailed below in the individual counts, Plaintiffs bring this lawsuit on behalf of

   themselves and all others similarly situated, pursuant to Rule 23(a), (b)(2), (b)(3), and/or (c)(4) of

   the Federal Rules of Civil Procedure.

   A.     Class Definitions

          752.    Plaintiffs Vozza, Rupprecht, Winter, and Kavuri seek to represent the following

   International Classes and Plaintiffs Orr, Cabo, Henderson, Livieratos, Chernyavsky, Podalsky,

   Shetty, Ezeokoli, Norris, Garrison, Huang, and Papadakis seek to represent the following Classes:

                  (1) International Class: All persons or entities residing outside the

                      United States who, within the applicable limitations period,


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                      purchased or held legal title to and/or beneficial interest in any

                      fiat or cryptocurrency deposited or invested through an FTX

                      Platform, purchased or enrolled in a YBA, or purchased FTT.

                  (2) Nationwide Class: All persons or entities in the United States

                      who, within the applicable limitations period, purchased or held

                      legal title to and/or beneficial interest in any fiat or

                      cryptocurrency deposited or invested through an FTX Platform,

                      purchased or enrolled in a YBA, or purchased FTT.

   Excluded from the Classes are MDL Defendants and their officers, directors, affiliates, legal

   representatives, and employees, the FTX Group and their officers, directors, affiliates, legal

   representatives, and employees, any governmental entities, any judge, justice, or judicial officer

   presiding over this matter and the members of their immediate families and judicial staff.



          753.    Plaintiffs reserve the right to modify or amend the definition of the proposed

   Classes, or to include additional classes or subclasses, before or after the Court determines whether

   such certification is appropriate as discovery progresses. Plaintiffs seek certification of the Classes

   in part because all offers of the FTX Platform, YBAs and/or FTT to Plaintiffs and the Class

   Members (in which MDL Defendants each materially assisted, substantially participated, and/or

   personally participated) were made by FTX from their principal place of business in Miami,

   Florida, and thus every single offer to sell cryptocurrency, the FTX Platform, YBAs and/or FTT

   stems from a transactional occurrence that emanated from the State of Florida.




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   B.     Numerosity

          754.    The Classes are comprised of thousands, if not millions, of consumers globally, to

   whom FTX offered and/or sold cryptocurrency, the FTX Platform, YBAs and/or FTT. Moreover,

   thousands, if not millions, of consumers worldwide have executed trades on the FTX Platform

   within the applicable limitations period. Membership in the Classes are thus so numerous that

   joinder of all members is impracticable. The precise number of class members is currently

   unknown to Plaintiffs but is easily identifiable through other means, such as through FTX’s

   corporate records or self-identification.

   C.     Commonality/Predominance

          755.    This action involves common questions of law and fact, which predominate over

   any questions affecting individual class members. These common legal and factual questions

   include, but are not limited to, the following:

              (a) whether Bankman-Fried, the FTX Insiders, and/or FTX committed fraud;

              (b) whether the MDL Defendants agreed with Bankman-Fried, the FTX Insiders,

                  and/or FTX to commit fraud;

              (c) whether the MDL Defendants had the requisite degree of knowledge of Bankman-

                  Fried’s, the FTX Insiders’, and/or FTX’s fraud;

              (d) whether the FTX Platform, YBAs and/or FTT were unregistered securities under

                  federal, Florida, California, or other law;

              (e) whether MDL Defendants’ participation and/or actions in FTX’s offerings and

                  sales of the FTX Platform, YBAs and/or FTT violate the provisions of applicable

                  securities law;

              (f) the type and measure of damages suffered by Plaintiffs and the Class;



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              (g) whether MDL Defendants’ practices violate the FDUTPA, the California Unfair

                  Competition Law, or other state consumer-protection statutes;

              (h) whether Plaintiffs and Class members have sustained monetary loss and the proper

                  measure of that loss;

              (i) whether Plaintiffs and Class members are entitled to injunctive relief;

              (j) whether Plaintiffs and Class members are entitled to declaratory relief; and

              (k) whether Plaintiffs and Class members are entitled to consequential damages,

                  punitive damages, statutory damages, disgorgement, and/or other legal or equitable

                  appropriate remedies as a result of MDL Defendants’ conduct.

   D.     Typicality

          756.    Plaintiffs’ claims are typical of the claims of the members of the Classes because

   all members were injured through the uniform misconduct described above, namely that Plaintiffs

   and all class members were offered and/or sold FTX’s FTX Platform, YBAs and/or FTT because

   of MDL Defendants’ actions and/or participation in the offering and sale of these unregistered

   securities, that MDL Defendants aided and abetted the fraud and conversion perpetrated by

   Bankman-Fried, the FTX Insiders, and/or FTX, or that MDL Defendants agreed with Bankman-

   Fried, the FTX Insiders, and/or FTX to commit fraud. Plaintiffs are advancing the same claims

   and legal theories on behalf of themselves and all such members. Further, there are no defenses

   available to any MDL Defendant that are unique to Plaintiffs.

   E.     Adequacy of Representation

          757.    Plaintiffs will fairly and adequately protect the interests of the members of the

   Class. Plaintiffs have retained counsel experienced in complex consumer and securities class

   action litigation, and Plaintiffs intend to prosecute this action vigorously. Plaintiffs have no adverse



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   or antagonistic interests to those of the Classes. Plaintiffs anticipate no difficulty in the

   management of this litigation as a class action. To prosecute this case, Plaintiffs have chosen the

   undersigned law firms, which have the financial and legal resources to meet the substantial costs

   and legal issues associated with this type of consumer class litigation.

   F.     Requirements of Fed. R. Civ. P. 23(b)(3)

          758.    The questions of law or fact common to Plaintiffs’ and each Class member’s claims

   predominate over any questions of law or fact affecting only individual members of the Classes.

   All claims by Plaintiffs and the unnamed members of the Classes are based on the common course

   of conduct by the MDL Defendants (1) in marketing, offering, and/or selling the FTX Platform,

   YBAs and/or FTT, which are unregistered securities, (2) in receiving secret undisclosed

   compensation for their promotion of the FTX Platform, (3) in aiding and abetting fraud and/or

   conversion by Bankman-Fried, FTX and the FTX Insiders, and/or (4) in agreeing with Bankman-

   Fried, the FTX Insiders, and/or FTX to commit fraud.

          759.    The common course of conduct by the MDL Defendants includes, but is not limited

   to their promotion, offer, sale, solicitation, material assistance, substantial participation in, and/or

   personal participation in the offer or sale of the FTX Platform, YBAs, and/or FTT, and/or their

   aiding and abetting of the FTX Group’s Ponzi scheme, fraud, and/or conversion of billions of

   dollars of customer assets.

          760.    Common issues predominate when, as here, liability can be determined on a class-

   wide basis, even when there will be some individualized damages determinations.

          761.    As a result, when determining whether common questions predominate, courts

   focus on the liability issue, and if the liability issue is common to the Classes as is in the case at

   bar, common questions will be held to predominate over individual questions.



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   G.     Superiority

          762.    A class action is superior to individual actions for the proposed Classes, in part

   because of the non-exhaustive factors listed below:

              (a) Joinder of all Class members would create extreme hardship and inconvenience for

                  the affected customers as they reside nationwide and throughout the state;

              (b) Individual claims by Class members are impracticable because the costs to pursue

                  individual claims exceed the value of what any one Class member has at stake. As

                  a result, individual Class members have no interest in prosecuting and controlling

                  separate actions;

              (c) There are no known individual Class members who are interested in individually

                  controlling the prosecution of separate actions;

              (d) The interests of justice will be well served by resolving the common disputes of

                  potential Class members in one forum;

              (e) Individual suits would not be cost effective or economically maintainable as

                  individual actions; and

              (f) The action is manageable as a class action.

   H.     Requirements of Fed. R. Civ. P. 23(b)(2)

          763.    The MDL Defendants have acted and refused to act on grounds generally applicable

   to the Classes by engaging in a common course of conduct of aiding and abetting the offering

   and/or selling of the FTX Platform, YBAs and/or FTT, which are unregistered securities, and

   violating state consumer-protection laws, thereby making appropriate final injunctive relief or

   declaratory relief with respect to the classes as a whole.




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          764.    The MDL Defendants have acted and refused to act on grounds generally applicable

   to the Classes by engaging in a common course of conduct of uniformly identical and uniform

   misrepresentations and omissions in receiving secret undisclosed compensation for their

   promotion of the FTX Platform, thereby making appropriate final injunctive relief or declaratory

   relief with respect to the classes as a whole.

   I.     Requirements of Fed. R. Civ. P. 23(c)(4)

          765.    As it is clear that one of the predominant issues regarding the MDL Defendants’

   liability is whether the FTX Platform, YBAs and/or FTT that FTX offered and/or sold are

   unregistered securities, utilizing Rule 23(c)(4) to certify the Class for a class wide adjudication on

   this issue would materially advance the disposition of the litigation as a whole.

          766.    As it is clear that another predominant issue regarding the MDL Defendants’

   liability is whether they have violated the consumer protection and securities laws of Florida in

   making identical and uniform misrepresentations and omissions regarding the functionality of the

   FTX Platform, and/or in receiving secret undisclosed compensation for their promotion of the FTX

   Platform, utilizing Rule 23(c)(4) to certify the Classes for a class wide adjudication on this issue

   would materially advance the disposition of the litigation as a whole.

   J.     Nature of Notice to the Proposed Class.

          767.    The names and addresses of all Class Members are contained in the business

   records maintained by FTX and are readily available to FTX. The Class Members are readily and

   objectively identifiable. Plaintiffs contemplate that notice will be provided to Class Members by

   e-mail, mail, and published notice.




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                                          CAUSES OF ACTION

                                               COUNT ONE

                            Violations of the Florida Statute Section 517.07,
                           The Florida Securities and Investor Protection Act
                          (Plaintiffs Individually and on behalf of the Classes)

           768.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 above,

   as if fully set forth herein.

           769.    Section 517.07(1), Fla. Stat., provides that it is unlawful and a violation for any

   person to sell or offer to sell a security within the State of Florida unless the security is exempt

   under Fla. Stat. § 517.051, is sold in a transaction exempt under Fla. Stat. § 517.061, is a federally

   covered security, or is registered pursuant to Ch. 517, Fla. Stat.

           770.    Section 517.211 extends liability to any “director, officer, partner, or agent of or

   for the seller, if the director, officer, partner, or agent has personally participated or aided in making

   the sale, is jointly and severally liable to the purchaser in an action for rescission, if the purchaser

   still owns the security, or for damages, if the purchaser has sold the security.”

           771.    The FTX Platform, YBAs and/or FTT sold and offered for sale to Plaintiffs are

   each a security pursuant to Fla. Stat. § 517.021(22)(a).

           772.    The FTX Platform, YBAs and/or FTT sold and offered for sale to Plaintiffs were

   not:

           a.      exempt from registration under Fla. Stat. § 517.051;

           b.      a federal covered security;

           c.      registered with the Office of Financial Regulations (OFR); or

           d.      sold in a transaction exempt under Fla. Stat. § 517.061.

           773.    The FTX Entities sold and offered to sell the unregistered YBAs to Plaintiffs.




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           774.    The Defendants are agents of the FTX Entities pursuant to Fla. Stat. § 517.211.

           775.    The FTX Entities, with the Defendants’ material assistance, offered and sold the

   unregistered YBAs to Plaintiffs and the members of the Class. As a result of this assistance, the

   Defendants violated Fla. Stat. § 517.07 et seq. and Plaintiffs and members of the Class sustained

   damages as herein described.

                                             COUNT TWO

              For Violations of the Florida Deceptive and Unfair Trade Practices Act,
                                 § 501.201, Florida Statutes, et seq.
                       (Plaintiffs Individually and on behalf of the Classes)

           776.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 above,

   as if fully set forth herein.

           777.    This cause of action is brought pursuant to the Florida Deceptive and Unfair Trade

   Practices Act, section 501.201, Fla. Stat., et seq. (“FDUTPA”). The stated purpose of the FDUTPA

   is to “protect the consuming public . . . from those who engage in unfair methods of competition,

   or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”

   § 501.202(2), Fla. Stat.

           778.    Plaintiffs and Class members are consumers as defined by section 501.203, Fla.

   Stat. Defendants are engaged in trade or commerce within the meaning of the FDUTPA.

           779.    Florida Statute section 501.204(1) declares unlawful “[u]nfair methods of

   competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

   conduct of any trade or commerce.”

           780.    The Defendants’ unfair and deceptive practices as described herein were consumer-

   oriented and are objectively materially likely to mislead–and have materially misled–consumers

   acting reasonably in the circumstances.




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           781.    The Defendants have violated the FDUTPA by engaging in the unfair and deceptive

   practices as described herein, which offend public policies and are immoral, unethical,

   unscrupulous and injurious to consumers.

           782.    Plaintiffs and consumers in the Classes have been aggrieved by the Defendants’

   unfair and deceptive practices and acts of false advertising by paying into the Ponzi scheme that

   was the FTX Platform and in the amount of their lost investments.

           783.    The harm suffered by Plaintiffs and consumers in the Classes was directly and

   proximately caused by the deceptive and unfair practices of the Defendants, as more fully

   described herein.

           784.    Pursuant to sections 501.211(2) and 501.2105, Fla. Stat., Plaintiffs and consumers

   in the Classes make claims for actual damages, attorneys’ fees, and costs.

           785.    The Defendants still utilize many of the deceptive acts and practices described

   above. Plaintiffs and the other members of the Classes have suffered and will continue to suffer

   irreparable harm if the Defendants continue to engage in such deceptive, unfair, and unreasonable

   practices. Section 501.211(1) entitles Plaintiffs and the Classes to obtain both declaratory or

   injunctive relief to put an end to the Defendants’ unfair and deceptive scheme.

                                            COUNT THREE

                                             Civil Conspiracy
                          (Plaintiffs Individually and on behalf of the Classes)

           786.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 above,

   as if fully set forth herein.

           787.    The FTX Entities and the Defendants made numerous misrepresentations and

   omissions to Plaintiffs and Class Members about the FTX Platform to promote false confidence in

   and to drive consumers to invest in what was ultimately a Ponzi scheme. This mislead customers


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   and customers with the false impression that any cryptocurrency assets held on the FTX Platform

   were safe and were not being invested in unregistered securities.

           788.    The FTX Entities entered into one or more agreements with each of the Defendants

   with the purpose of making these misrepresentations and/or omissions to induce Plaintiffs and

   consumers to invest in the YBAs and/or use the FTX Platform.

           789.    The Defendants engaged in unlawful acts with the FTX Entities, namely, the

   misrepresentations and omissions made to Plaintiffs and the Classes and the sale of unregistered

   securities.

           790.    The Defendants’ conspiracy substantially assisted or encouraged the wrongdoing

   conducted by the FTX Entities; further, the Defendants had knowledge of such fraud and/or

   wrongdoing, because of their experience and relationship with the FTX Entities, as described

   above and as such, knew that the representations made to Plaintiffs were deceitful and fraudulent.

           791.    The Defendants’ conspiracy with the FTX Entities to commit fraud caused damages

   to Plaintiffs and the Classes in the amount of their lost investments.

                                            COUNT FOUR

                                     Aiding and Abetting Fraud
               (Plaintiffs Individually and on behalf of the Global Classes, or in the
           alternative, Plaintiffs Garrison, Lindeen, Podalsky, Chernyavsky, and Piano
            Individually and on behalf of the Nationwide Classes, or in the alternative,
              Plaintiffs Podalsky, Lindeen, and Chernyavsky on behalf of the Florida
                                             Subclasses)

           792.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 as if

   fully set forth herein.

           793.    The FTX Insiders and FTX Group made numerous misrepresentations and

   omissions to Plaintiffs and Class Members about the FTX Platform to induce confidence and to

   drive consumers to invest in cryptocurrency through the FTX Platform, and to deposit funds into


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   what was ultimately a fraudulent house of cards. Defendants actively joined these efforts by

   misleading customers and prospective customers with the false impression that cryptocurrency

   assets held on the FTX Platform were safe and with material omissions regarding how investor

   funds would be used. Bankman-Fried, the FTX Insiders, and the FTX Group knew these statements

   to be false.

               794.   Plaintiffs and the Class members reasonably relied upon Bankman-Fried, the FTX

   Insiders, and the FTX Group’s material misrepresentations and omissions to invest in

   cryptocurrency through the FTX Platform to their detriment.

               795.   Defendants participated in, substantially assisted, and facilitated Bankman-Fried’s,

   the FTX Insiders’, and the FTX Group’s fraudulent misconduct, with knowledge that such fraud

   was cheating investors. For example, while either knowing or consciously disregarding Bankman-

   Fried’s and the FTX Group’s and Insiders’ misconduct and red flags, Defendants still promoted

   and/or solicited the FTX Platform, YBAs, and/or FTT, to Plaintiffs and the Classes as described

   hereinabove, making the various misrepresentations and omissions as set forth hereinabove.

               796.   Defendants substantially benefitted from Bankman-Fried’s, the FTX Insiders’, and

   FTX Group’s scheme, as described herein.

               797.   Plaintiffs and the Class members suffered damages as a direct and proximate result

   of each of Defendants aiding and abetting the fraudulent scheme, in an amount to be determined

   at trial.

                                                COUNT FIVE

                                       Aiding and Abetting Conversion
                    (Plaintiffs Individually and on behalf of the Global Classes, or in the
               alternative, Plaintiffs Garrison, Lindeen, Podalsky, Chernyavsky, and Piano
                Individually and on behalf of the Nationwide Classes, or in the alternative,




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              Plaintiffs Podalsky, Lindeen, and Chernyavsky on behalf of the Florida
                                            Subclasses)

           798.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 as if

   fully set forth herein.

           799.    The funds deposited by Class Members into the FTX Platform were personal

   property of the Plaintiffs and Class Members. Bankman-Fried and FTX Group wrongfully

   interfered with Plaintiffs’ possessory interest in a specific, identifiable sum of money. The amount

   that each plaintiff had in their FTX account that they could not withdraw.

           800.    Plaintiffs’ funds were their own. They each had a possessory interest in the sum of

   money they invested in the FTX Platform.

           801.    Defendants, based on their knowledge of the FTX Group’s operations obtained

   through due diligence, ongoing monitoring, and partnership, acquired knowledge of FTX’s

   conversion of Plaintiffs’ funds.

           802.    Notwithstanding this knowledge, and by reason of the conduct described herein,

   Defendants substantially aided, abetted, and/or participated with FTX in the conversion of funds

   that belonged to Plaintiffs.

           803.    Defendants’ actions, in combination with the actions of FTX, are a proximate cause

   of actual damages to Plaintiffs and class members. Defendants are jointly and severally liable for

   participating in the conversion of Plaintiffs’ funds.

                                                 COUNT SIX

                                             Declaratory Judgment
                                     (Federal Declaratory Judgment Act)
                             (Plaintiffs Individually and on behalf of the Classes)

           804.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 as if

   fully set forth herein.



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           805.       There is a bona fide, actual, present and practical need for the declaratory relief

   requested herein; the declaratory relief prayed for herein deal with a present, ascertained or

   ascertainable state of facts and a present controversy as to a state of facts; contractual and statutory

   duties and rights that are dependent upon the facts and the law applicable to the facts; the parties

   have an actual, present, adverse and antagonistic interest in the subject matter; and the antagonistic

   and adverse interests are all before the Court by proper process for final resolution.

           806.       Plaintiffs and the members of the Classes have an obvious and significant interest

   in this lawsuit.

           807.       Plaintiffs and members of the Classes purchased YBAs, based in part on justifiable

   reliance on the Defendants’ misrepresentations and omissions regarding the FTX Platform as

   further described hereinabove.

           808.       If the true facts had been known, including but not limited to that the YBAs are

   unregistered securities, the FTX Platform does not work as represented, and Defendants were paid

   exorbitant sums of money to peddle FTX to the nation, Plaintiffs and the Classes would not have

   purchased YBAs in the first place.

           809.       Thus, there is a justiciable controversy over whether the YBAs were sold illegally,

   and whether the Defendants illegally solicited their purchases from Plaintiff and the Class.

           810.       Plaintiff and the Class seek an order declaring that the YBAs were securities that

   the FTX Platform did not work as represented, and Defendants were paid exorbitant sums of

   money to peddle FTX to the nation.




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            THE CALIFORNIA CLAIMS, AS AN ALTERNATIVE TO THE NATIONWIDE
                                    CLAIMS

                                            COUNT SEVEN

            For Violations of the Unfair Competition Law Business & Professions Code
                                           § 17200, et seq.
                          (In the alternative, Plaintiff Piano Individually
                            and on behalf of the California Subclasses)

           811.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 above,

   as if fully set forth herein.

           812.    California’s Unfair Competition Law, Business & Professions Code §§ 17200 et

   seq. (the “UCL”) prohibits acts of unlawful and unfair competition, including any “unlawful,

   unfair or fraudulent business act or practice,” any “unfair, deceptive, untrue or misleading

   advertising” and any act prohibited by Business & Profession Code §17500.

           813.    Defendants have committed business acts and practices that violate the UCL by

   aiding and abetting the breaches of fiduciary duties, fraudulent and unfair conduct, and unlawful

   conduct. Defendants’ conduct as alleged above constitutes unlawful competition in that, for the

   reasons set forth above, said acts and practices violate the Corporations Code.

           814.    The conduct of Defendants as alleged above also constitutes unfair competition in

   that, for the reasons set forth above, the acts and practices offend public policy and are unethical,

   oppressive, and unscrupulous, and are substantially injurious to the public.

           815.    Defendants’ conduct was a proximate cause of the injuries to Plaintiffs and the

   California Class alleged herein, and it caused and continues to cause substantial injury to Plaintiffs

   and the members of the California Class. By reason of the foregoing, Defendants should be

   required to pay restitution to Plaintiffs and members of the California Class.




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                                             COUNT EIGHT

                               Violations of the California Securities Law
                                     Cal. Corp. Code §§ 25110 et seq.
                             (In the alternative, Plaintiff Piano individually
                               and on behalf of the California Subclasses)

           816.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 above,

   as if fully set forth herein.

           817.    Section 25110 of the California Securities Law (“CSL”) prohibits the offer or sale

   by any person in California of securities that are not qualified through registration. CSL section

   25503 affords a statutory cause of action to victimized investors for violations of section 25110.

   Additionally, section 25504.1 extends liability under Section 25503 to any person who materially

   assists in a violation of section 25110 and makes them jointly and severally liable with any other

   person liable under section 25503.

           818.    Defendants materially assisted and/or personally participated with the FTX Group

   in the offering and selling of the FTX Platform, the YBAs and/or FTT Tokens Securities in

   California without being properly registered or qualified for offer or sale either with any federal

   or California regulator in violation of section 25503. 52

           819.    Moreover, CSL section 25210(b) provides: “No person shall, … on behalf of an

   issuer, effect any transaction in, or induce or attempt to induce the purchase or sale of, any security

   in this state unless [a licensed] broker-dealer and agent have complied with any rules as the

   commissioner may adopt for the qualification and employment of those agents.”


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           Plaintiffs contend that secondary liability for materially assisting a strict liability violation
   of the qualification requirements of a violation pursuant to section 255030 does not require proof
   that MDL Defendants intended “to deceive or defraud.” However, Plaintiffs in the alternative
   contend that even if so, MDL Defendants’ knowledge of and participation in FTX Group’s non-
   compliance with the CSL establishes their intent to deceive investors regarding the FTX Platform,
   the YBAs and/or FTT Tokens.


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           820.    Defendants breached section 25210(b) by encouraging the FTX Group to offer and

   sell the FTX Platform, YBAs and/or FTT Tokens Securities despite the fact that such securities

   were not qualified under the CSL.

           821.    Additionally, CSL section 25501.5 affords a statutory cause of action to victimized

   investors for violations of Section 25210(b).

           822.    Defendants are accordingly joint and severally liable to Plaintiffs for recessionary

   damages under section § 25504.1.

           823.    Plaintiffs hereby conditionally tender their FTX Group Securities in accordance

   with section § 25503.

                                             COUNT NINE

                                        Aiding and Abetting Fraud
                             (In the alternative, Plaintiff Piano Individually
                               and on behalf of the California Subclasses)

           824.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 as if

   fully set forth herein.

           825.    The FTX Insiders and FTX Group made numerous misrepresentations and

   omissions to Plaintiffs and Class Members about the FTX Platform to induce confidence and to

   drive consumers to invest in cryptocurrency through the FTX Platform, and to deposit funds into

   what was ultimately a fraudulent house of cards. Defendants misled customers and prospective

   customers with the false impression that cryptocurrency assets held on the FTX Platform were safe

   and with material omissions regarding how investor funds would be used. Bankman-Fried, the

   FTX Insiders, and the FTX Group knew these statements to be false.




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               826.   Plaintiffs and the Class members reasonably relied upon Bankman-Fried, the FTX

   Insiders, and the FTX Group’s material misrepresentations and omissions to invest in

   cryptocurrency through the FTX Platform to their detriment.

               827.   Defendants participated in, substantially assisted, and facilitated Bankman-Fried’s,

   the FTX Insiders’, and the FTX Group’s fraudulent misconduct, with knowledge that such fraud

   was cheating investors. For example, while either knowing or consciously disregarding Bankman-

   Fried’s and the FTX Group’s and Insiders’ misconduct and red flags, Defendants still promoted

   and/or solicited the FTX Platform, YBAs, and/or FTT, to Plaintiffs and the Classes as described

   hereinabove, making the various misrepresentations and omissions as set forth hereinabove.

               828.   Defendants substantially benefitted from Bankman-Fried’s, the FTX Insiders’, and

   FTX Group’s scheme.

               829.   Plaintiffs and the Class members suffered damages as a direct and proximate result

   of each of Defendants’ aiding and abetting the fraudulent scheme, in an amount to be determined

   at trial.

                                                COUNT TEN

                                       Aiding and Abetting Conversion
                               (In the alternative, Plaintiff Piano Individually
                                 and on behalf of the California Subclasses)


               830.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 as if

   fully set forth herein.

               831.   The funds deposited by Class Members into the FTX Platform were personal

   property of the Plaintiffs and Class Members. Bankman-Fried and FTX Group wrongfully

   interfered with Plaintiffs’ possessory interest in a specific, identifiable sum of money. The amount

   that each plaintiff had in their FTX account that they could not withdraw.


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           832.    Plaintiffs’ funds were their own. They each had a possessory interest in the sum of

   money they invested in the FTX Platform.

           833.    Defendants, based on their knowledge of the FTX Group’s operations obtained

   through due diligence, ongoing monitoring, and partnership, acquired knowledge of FTX’s

   conversion of Plaintiffs’ funds.

           834.    Notwithstanding this knowledge, and by reason of the conduct described herein,

   Defendants substantially aided, abetted, and/or participated with FTX in the conversion of funds

   that belonged to Plaintiffs.

           835.    Defendants’ actions, in combination with the actions of FTX, are a proximate cause

   of actual damages to Plaintiffs and class members. Defendants are jointly and severally liable for

   participating in the conversion of Plaintiffs’ funds.

                                           COUNT ELEVEN

                                             Civil Conspiracy
                             (In the alternative, Plaintiff Piano Individually
                               and on behalf of the California Subclasses)

           836.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 above,

   as if fully set forth herein.

           837.    The FTX Group and Defendants made numerous misrepresentations and omissions

   to Plaintiffs and Class Members about the FTX Platform in order to induce confidence and to drive

   consumers to invest in what was ultimately a Ponzi scheme, misleading customers and prospective

   customers with the false impression that any cryptocurrency assets held on the FTX Platform were

   safe and with material misrepresentations and/or omissions regarding how customer funds would

   be used. Defendants knew these statements to be false.




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           838.    The FTX Group entered into one or more agreements with Defendants with the

   purpose of making these misrepresentations and/or omissions to induce Plaintiff and consumers to

   invest in the YBAs, FTT and/or use the FTX Platform. Defendants each stood to benefit financially

   from assisting with this fraud as each would receive the financial and other benefits described

   hereinabove.

           839.    Defendants engaged in unlawful acts with the FTX Group, namely, the

   misrepresentations and omissions made to Plaintiffs and the Classes and the sale of unregistered

   securities as further described hereinabove.

           840.    Defendants’ conspiracy substantially assisted or encouraged the wrongdoing

   conducted by the FTX Group; further, Defendants had knowledge of such fraud and/or

   wrongdoing, because of their experience and relationship with the FTX Group, as described above

   and as such, knew that the representations made to Plaintiffs were deceitful and fraudulent.

   Accordingly, each of the Defendants knew that the material misrepresentations and omissions

   relating to the safety of the FTX Platform would result in injury to FTX’s customers, including

   Plaintiffs and the Class members.

           841.    Defendants’ conspiracy with the FTX Group to commit fraud caused damages to

   Plaintiffs and the Classes in the amount of their lost investments.

                           IN THE ALTERNATIVE, THE OKLAHOMA CLAIMS

                                          COUNT TWELVE

                         Violations of the Oklahoma Consumer Protection Act
                                  Okla. Stat. Ann. tit. 15, § 751 et seq.
                          (In the alternative, Plaintiff Garrison individually
                              and on behalf of the Oklahoma Subclasses)

           842.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 above,

   as if fully set forth herein.


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             843.   This cause of action is brought pursuant to the Oklahoma Consumer Protection Act

   (“OCPA”)section 751 et seq.

             844.   The Oklahoma Consumer Protection Act provides that an “unfair trade practice” is

   “any practice which offends established public policy or if the practice is immoral, unethical,

   oppressive, unscrupulous or substantially injurious to consumers.” § 752(14). It declares unlawful

   any unfair or deceptive trade practice “as defined in section 752.” § 753(20).

             845.   Plaintiffs and Class members are persons as defined by section 752(1). Defendants

   are engaged in a “consumer transaction” as defined by section 752(2), and as described more fully

   herein.

             846.   Defendants have violated the OCPA by engaging in the unfair and deceptive

   practices as described herein, which offend public policies and are immoral, unethical,

   unscrupulous and injurious to consumers.

             847.   Plaintiffs and consumers in the Class have been aggrieved by Defendants’ unfair

   and deceptive practices in the amount of their lost investments.

             848.   The harm suffered by Plaintiffs and consumers in the Class was directly and

   proximately caused by the deceptive and unfair practices of Defendants’, as more fully described

   herein.

             849.   Pursuant to section 761.1 of the OCPA, Plaintiffs and consumers in the Class make

   claims for actual damages, attorneys’ fees and costs.




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                                           COUNT THIRTEEN

                      Violations of the Oklahoma Uniform Securities Act of 1980
                                   Okla. Stat. Tit. 71, §§ 1-101 et seq.
                          (In the alternative, Plaintiff Garrison individually
                              and on behalf of the Oklahoma Subclasses)

           850.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 above,

   as if fully set forth herein.

           851.    71 Section 1-301 of the Oklahoma Securities Act (“OSA”) makes it unlawful to sell

   a security in Oklahoma unless the security is registered, exempted, or the security is a covered

   security as defined in the act.

           852.    The FTX Platform, YBAs and/or FTT Tokens are each a security pursuant to 71

   Okla. Stat. § 1-102(32), as described more fully herein.

           853.    As a result of these actions, Defendants violated section 1-102(32) and are liable to

   Plaintiffs pursuant to section 1-509 for both primary and secondary violations of Oklahoma

   securities law, as described more fully hereinabove.

                                           COUNT FOURTEEN

                                         Aiding and Abetting Fraud
                             (In the alternative, Plaintiff Garrison individually
                                 and on behalf of the Oklahoma Subclasses)

           854.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-767 as if

   fully set forth herein.

           855.    The FTX Insiders and FTX Group made numerous misrepresentations and

   omissions to Plaintiffs and Class Members about the FTX Platform to induce confidence and to

   drive consumers to invest in cryptocurrency through the FTX Platform, and to deposit funds into

   what was ultimately a fraudulent house of cards. Defendants misled customers and prospective

   customers with the false impression that cryptocurrency assets held on the FTX Platform were safe



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   and with material omissions regarding how investor funds would be used. Bankman-Fried, the

   FTX Insiders, and the FTX Group knew these statements to be false.

               856.   Plaintiffs and the Class members reasonably relied upon Bankman-Fried, the FTX

   Insiders, and the FTX Group’s material misrepresentations and omissions to invest in

   cryptocurrency through the FTX Platform to their detriment.

               857.   Defendants participated in, substantially assisted, and facilitated Bankman-Fried’s,

   the FTX Insiders’, and the FTX Group’s fraudulent misconduct, with knowledge that such fraud

   was cheating investors. For example, while either knowing or consciously disregarding Bankman-

   Fried’s and the FTX Group’s and Insiders’ misconduct and red flags, Defendants still promoted

   and/or solicited the FTX Platform, YBAs, and/or FTT, to Plaintiffs and the Classes as described

   hereinabove, making the various misrepresentations and omissions as set forth hereinabove.

               858.   Defendants substantially benefitted from Bankman-Fried’s, the FTX Insiders’, and

   FTX Group’s scheme, as described herein.

               859.   Plaintiffs and the Class members suffered damages as a direct and proximate result

   of each of Defendants aiding and abetting the fraudulent scheme, in an amount to be determined

   at trial.

                                           PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs pray for a judgment on behalf of themselves and the Classes:

               a.     Certifying the Class as requested herein;

               b.     Awarding actual, direct and compensatory damages;

               c.     Awarding restitution and disgorgement of revenues;

               d.     Awarding declaratory relief as permitted by law or equity, including declaring the

                      Defendants’ practices as set forth herein to be unlawful;


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         e.     Awarding injunctive relief as permitted by law or equity, including enjoining the

                Defendants from continuing those unlawful practices as set forth herein, and

                directing the Defendants to identify, with Court supervision, victims of their

                conduct and pay them all money they are required to pay;

         f.     Awarding statutory, punitive, and multiple damages, as appropriate;

         g.     Awarding attorneys’ fees and costs; and

         h.     Providing such further relief as may be just and proper.

                                   DEMAND FOR JURY TRIAL

         Plaintiffs hereby demand a jury trial as to all claims so triable.




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                                   CERTIFICATE OF SERVICE


           I HEREBY CERTIFY that on August 11, 2023, a true and correct copy of the foregoing

    was sent via electronic mail to counsel for Defendants.



                                                        /s/ Adam M. Moskowitz
                                                            Adam M. Moskowitz



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